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                                               UNITED STATES BANKRUPTCY COURT
                                                 NORTHERN DISTRICT OF TEXAS
                                                    WICHITA FALLS DIVISION

                                                           WITNESS AND EXHIBIT LIST

     Main Case No: 24-70089-swe11                                           Name of Debtor:     High Plains Radio
                                                                                                Network, LLC

                                   WITNESSES:1
      1. Debtor representative Monte Spearman                               Judge:            Scott W. Everett
      2.                                                                    Courtroom Deputy:
      3.                                                                    Hearing Date:     April 4, 2024
      4.
      5. Any witnesses designated by any other party.                       Hearing Time:       10:30 a.m.
      6. Any rebuttal witnesses as may be necessary.                        Party’s Name:
                                                                            Attorney’s Name:    Jeff Carruth
                                                                            Attorney’s Phone:   713-341-1158
                                                                            Attorney’s email:   jcarruth@wkpz.com
                                                                            Nature of           See list below.
                                                                            Proceeding:


     List regarding Nature of the Proceeding:

     Docket # 11 – Emergency Motion to Use Cash Collateral
     Docket # 12 – Emergency Motion to Pay Prepetition Wages
     Docket # 13 – Motion to Maintain Bank Accounts




 1
   Movant reserves the right to amend and/or supplement this designation prior to the hearing(s), and to seek relief
 from the Court as might be necessary.


 WITNESS AND EXHIBIT LIST — Page 1
 WE list 20240404 hearing 4893-9336-6964 v.1.docx[1]/4878-5466-8212, v. 1
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                                                                            EXHIBITS




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    Dated: November 29, 2022                                        Respectfully submitted:

                                                                    WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                                                    By:    /s/ Jeff Carruth
                                                                       JEFF CARRUTH (TX SBN: 24001846)
                                                                       2608 Hibernia, Suite 105
                                                                       Dallas, TX 75204-2514
                                                                       Telephone: (713) 341-1158
                                                                       Fax: (713) 961-5341
                                                                       E-mail: jcarruth@wkpz.com

                                                                    PROPOSED ATTORNEYS FOR
                                                                    HIGH PLAINS RADIO NETWORK, LLC,
                                                                    DEBTOR AND DEBTOR IN POSSESSION


                                 CERTIFICATE OF SERVICE
 The undersigned hereby certifies that a true and correct copy of the foregoing was served on
 April 4, 2024 to all ECF users who have appeared in this case to date, and/or as set forth below.

       /s/ Jeff Carruth
 JEFF CARRUTH




 WITNESS AND EXHIBIT LIST — Page 3
 WE list 20240404 hearing 4893-9336-6964 v.1.docx[1]/4878-5466-8212, v. 1
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                                                            EXHIBITS - HPRN -- "H###"
                                                            ** = included with pleading
   TAB##            EXH##                                            Description                                Offer       Object
                    H ___
      1              001          ucc1 recap **
      2              002          sos ucc1 report **
      3              003          budget 001 **
      4              004          ucc1 docs combined **
      5              005          payroll recap **
      6              006          bank account recap **
      7              007          utilities list **
      8              008          bank balance recap
      9              009          station status
      10             010          budget 001 - one station per tab (same as H003)
      11             011          budget 002 - 13 wk
                     012          [reserved]
                     013          [reserved]
                     014          [reserved]
                     015          [reserved]
                     016          [reserved]
                     017          [reserved]
                     018          [reserved]
                     019          [reserved]
                     020          [reserved]
                                  Any items on file in main case and/or any adversary
                                  proceeding
                                  Any exhibit designated by any other party.
                                  Rebuttal exhibits as necessary.
C:\Users\jcarruth\ND Office Echo\VAULT-C9SL7ZTY\[HPRN exhibit list 001 4879-4343-5187 v.2.xlsx]exhlistHPRN001




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               A                              B                                            C                                                 D                                        E
 1                                                                                                 EXHIBIT H001
 2                                                              Preliminary collateral / cash collateral analysis - NO ADMISSION OF LIABILITY

                                                                                                                                                                        Potential Interest in Accounts
           File Date                    UCC File ##                                Secured Party                              Short Description of Collateral
                                                                                                                                                                             or Cash Collateral
 3
            11/20/2019 19-0043956542                              Midland States Bank                                  Particular equipment (lease/finance)                          No
 4                     21-00201202
 5          11/25/2019 19-0044608678                              US Bank Equipment Finance                            Particular equipment (lease/finance)                           No
 6           12/3/2019 19-0045700985                              Bryn Mawr Equipment Finance Inc.                     Particular equipment (lease/finance)                           No
 7            6/1/2020 20-0021729184                              First State Bank Athens                              Assignment of a note receivables.                              No
 8           7/16/2020 20-0036016290                              SBA                                                  Blanket lien - full description                           Yes (note 1)
 9           8/25/2020 20-0044757968                              CT Corp. Sys. (as rep)                               Particular equipment (lease/finance)                           No
 10          8/31/2020 20-0045702555                              Hitachi Capital America Corp.                        Particular equipment (lease/finance)                           No
 11         11/10/2021 21-0050185870                              US Bank Equipment Finance                            Particular equipment (lease/finance)                           No
 12         11/24/2021 21-0052429500                              CT Corp. Sys. (as rep)                               Particular equipment (lease/finance)                           No
 13         11/29/2021 21-0053543376                              CT Corp. Sys. (as rep)                               Particular equipment (lease/finance)                           No
 14          12/1/2021 21-0053337519                              Corp. Serv. Co. (as rep)                             Particular equipment (lease/finance)                           No
 15         12/28/2021 21-0058331679                              Blue Ridge Financial                                 Particular equipment (lease/finance)                           No
 16          2/24/2022 22-0009168432                              Meridian Equipment Finance LLC                       Particular equipment (lease/finance)                           No
 17          2/27/2022 22-0010082055                              Corp. Serv. Co. (as rep)                             Particular equipment (lease/finance)                           No
 18           3/9/2022 22-0011706382                              Ailco Equipment Fin. Group Inc.                      Particular equipment (lease/finance)                           No
 19          3/16/2022 22-0013152440                              Corp. Serv. Co. (as rep)                             Particular equipment (lease/finance)                           No
 20          3/22/2022 22-0014189754                              Marlin Leasing Corp.                                 Particular equipment (lease/finance)                           No
 21           9/8/2022 22-0044368019                              Corp. Serv. Co. (as rep)                             Particular equipment (lease/finance)                           No
             5/10/2023 23-0020445070                              Channel Partners Capital                             "All assets of the Debtor."                       Yes, but terminated (note 2)
 22                    24-00215084
 23          1/24/2024 24-0003254767                              Zula Com LLC                                         All assets - complete description.                   Yes (insider / related)
 24
      Note 1: Balance is only approximately $65,000.
 25
      Note 2: The UCC-1 list from the Texas SOS includes the Channel Partners UCC-1 but does not list the termination; hence the listing here even tough this UCC-1 is
      terminated and other terminated and/or lapsed UCC-1s were omitted from this list.
 26
 27 C:\Users\jcarruth\ND Office Echo\VAULT-C9SL7ZTY\[exh h001 - ucc1 recap 4869-5120-5299 v.1.xlsx]ucc1recap01




4/1/2024, 10:31 PM                                                                                       Page 1 of 1                          exh h001 - ucc1 recap 4869-5120-5299 v.1.xlsx, ucc1recap01
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JANE NELSON                                                                  EXHIBIT H002

                                                     Debtor Name Search
 This debtor name search was performed on 03/05/2024 02:49 PM with the following search parameters:
 DEBTOR NAME: HIGH PLAINS RADIO NETWORK
 CITY: [Not Specified]


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            18-0038630584 Financing Statement 11/01/2018 10:42 AM 1     11/01/2023
                 19-00112445      Termination              03/29/2019 08:32 AM 1           n/a

 Debtor            HIGH PLAINS RADIO NETWORK, L.L.C.               3218 QUINCY ST
                                                                   PLAINVIEW, TX, 79072
 Secured Party     FINANCIAL AGENT SERVICES                        P.O. BOX 2576
                                                                   SPRINGFIELD, IL, 62708


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            19-0003855728 Financing Statement 02/01/2019 09:30 AM 1     02/05/2024

 Debtor             HIGH PLAINS RADIO NETWORK LLC                  3218 QUINCEY
                                                                   PLAINVIEW, TX, 79072
 Debtor             MONTE LEE SPEARMAN                             3218 QUINCEY
                                                                   PLAINVIEW, TX, 79072
 Secured Party      FIRST STATE BANK                               P O BOX 471
                                                                   ATHENS, TX, 75751


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            19-0007245725 Financing Statement 02/28/2019 02:27 PM 1     02/29/2024

 Debtor             HIGH PLAINS RADIO NETWORK LLC                  3218 QUINCEY
                                                                   PLAINVIEW, TX, 79072
 Debtor             MONTE LEE SPEARMAN                             3218 QUINCEY
                                                                   PLAINVIEW, TX, 79072
 Secured Party      FIRTS STATE BANK, ATHENS                       P O BOX 471
                                                                   ATHENS, TX, 75751


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            19-0032986715 Financing Statement 08/29/2019 09:19 AM 1     08/29/2024
                 20-00107566      Termination              03/19/2020 10:46 AM 1           n/a

 Debtor            HIGH PLAINS RADIO NETWORK LLC                  3218 QUINCY ST
                                                                  PLAINVIEW, TX, 79072
 Secured Party     FINANCIAL AGENT SERVICES                       P.O. BOX 2576
                                                                  SPRINGFIELD, IL, 62708


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            19-0043956542 Financing Statement 11/20/2019 03:47 PM 1     11/20/2024
                 21-00201202      Assignment               05/14/2021 05:00 PM 1          n/a

 Debtor        HIGH PLAINS RADIO NETWORK, L.L.C.             3218 QUINCY STREET
                                                             PLAINVIEW, TX, 79073-1906
 Secured       C T CORPORATION SYSTEM, AS                    330 N BRAND BLVD, SUITE 700;
 Party         REPRESENTATIVE                                ATTN: SPRS
                                                            EXHIBIT H002 - PAGE 1
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                                                                         91203
 Secured       MIDLAND STATES BANK                           1801 PARK 270 DRIVE, SUITE
 Party                                                       200
                                                             ST. LOUIS, MO, 63146


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            19-0044608678 Financing Statement 11/25/2019 07:02 PM 1     11/25/2024

 Debtor           HIGH PLAINS RADIO NETWORK, L.L.C.             3218 QUINCY ST
                                                                PLAINVIEW, TX, 79072-1906
 Secured Party U.S. BANK EQUIPMENT FINANCE                      1310 MADRID STREET
                                                                MARSHALL, MN, 56258


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            19-0045700985 Financing Statement 12/03/2019 05:00 PM 3     12/03/2024

 Debtor           HIGH PLAINS RADIO NETWORK, L.L.C.                3218 QUINCY STREET
                                                                   PLAINVIEW, TX, 79072
 Secured Party    BRYN MAWR EQUIPMENT FINANCE, INC.                801 LANCASTER AVENUE
                                                                   BRYN MAWR, PA, 19010


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            20-0010752522 Financing Statement 03/19/2020 10:26 AM 1     03/19/2025
                 21-00531746      Termination              12/01/2021 10:33 AM 1        n/a

 Debtor            HIGH PLAINS RADIO NETWORK, L.L.C.               3218 QUINCY ST
                                                                   PLAINVIEW, TX, 79072
 Secured Party     FINANCIAL AGENT SERVICES                        P.O. BOX 2576
                                                                   SPRINGFIELD, IL, 62708


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            20-0021729184 Financing Statement 06/01/2020 01:52 PM 1     06/02/2025

 Debtor            HIGH PLAINS RADIO NETWORK LLC               PO BOX 1478
                                                               PLAINVIEW, TX, 79073-1478
 Secured Party     FIRST STATE BANK                            PO BOX 471
                                                               ATHENS, TX, 75751


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            20-0036016290 Financing Statement 07/16/2020 07:29 PM 1     07/16/2025

 Debtor          HIGH PLAINS RADIO NETWORK, LLC               3218 QUINCY STREET
                                                              PLAINVIEW, TX, 79072
 Secured         U.S. SMALL BUSINESS                          1545 HAWKINS BLVD, SUITE
 Party           ADMINISTRATION                               202
                                                              EL PASO, TX, 79925


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 DEBTOR NAME: HIGH PLAINS RADIO NETWORK
 CITY: [Not Specified]


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            20-0044757968 Financing Statement 08/25/2020 08:36 AM 1     08/25/2025

 Debtor        HIGH PLAINS RADIO NETWORK, L.L.C.             PO BOX 1478
                                                             PLAINVIEW, TX, 79073
 Secured       C T CORPORATION SYSTEM, AS                    330 N BRAND BLVD, SUITE 700,
 Party         REPRESENTATIVE                                ATTN: SPRS
                                                             GLENDALE, CA, 91203


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            20-0045702555 Financing Statement 08/31/2020 11:42 AM 1     09/02/2025

 Debtor          HIGH PLAINS RADIO NETWORK,               2651 CO RD 191
                 L.L.C.                                   LITTLEFIELD, TX, 79339
 Secured         HITACHI CAPITAL AMERICA CORP.            7808 CREEKRIDGE CIRCLE, STE
 Party                                                    250
                                                          EDINA, MN, 55439


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            21-0050185870 Financing Statement 11/10/2021 07:02 PM 1     11/11/2026

 Debtor           HIGH PLAINS RADIO NETWORK, L.L.C.             3218 QUINCY ST
                                                                PLAINVIEW, TX, 79072-1906
 Secured Party U.S. BANK EQUIPMENT FINANCE                      1310 MADRID STREET
                                                                MARSHALL, MN, 56258


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            21-0052429500 Financing Statement 11/24/2021 02:57 PM 1     11/24/2026

 Debtor        HIGH PLAINS RADIO NETWORK, L.L.C.             2300 COUNTRY RD 40
                                                             PLAINVIEW, TX, 79072
 Secured       C T CORPORATION SYSTEM, AS                    330 N BRAND BLVD, SUITE 700,
 Party         REPRESENTATIVE                                ATTN: SPRS
                                                             GLENDALE, CA, 91203


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            21-0053543376 Financing Statement 11/29/2021 05:00 PM 2     11/29/2026

 Debtor        HIGH PLAINS RADIO NETWORK, L.L.C.             725 FM 2013
                                                             FRIONA, TX, 79035
 Secured       C T CORPORATION SYSTEM, AS                    330 N BRAND BLVD, SUITE 700;
 Party         REPRESENTATIVE                                ATTN: SPRS
                                                             GLENDALE, CA, 91203


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            21-0053337519 Financing Statement 12/01/2021 03:15 PM 1     12/01/2026

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              L.L.C.                                        PLAINVIEW, TX, 79073-1478
 Secured      CORPORATION SERVICE COMPANY,                  PO BOX 2576
 Party        AS REPRESENTATIVE                             UCCSPREP@CSCINFO.COM
                                                            SPRINGFIELD, IL, 62708


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            21-0058331679 Financing Statement 12/28/2021 05:00 PM 2     12/28/2026

 Debtor           HIGH PLAINS RADIO NETWORK,                    2300 COUNTRY ROAD 40
                  L.L.C.                                        PLAINVIEW, TX, 79072
 Secured          BLUE BRIDGE FINANCIAL, LLC                    11921 FREEDOM DR. SUITE
 Party                                                          1130
                                                                RESTON, VA, 20190


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            22-0009168432 Financing Statement 02/24/2022 06:39 AM 1     02/24/2027

 Debtor            HIGH PLAINS RADIO NETWORK, L.L.C.                 PO BOX 1478
                                                                     PLAINVIEW, TX, 79073
 Secured Party     MERIDIAN EQUIPMENT FINANCE LLC                    9 OLD LINCOLN HIGHWAY
                                                                     MALVERN, PA, 19355


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            22-0010082055 Financing Statement 02/27/2022 09:39 PM 2     03/01/2027

 Debtor       HIGH PLAINS RADIO NETWORK,                    PO BOX 1478
              L.L.C.                                        PLAINVIEW, TX, 79073
 Secured      CORPORATION SERVICE COMPANY,                  PO BOX 2576
 Party        AS REPRESENTATIVE                             UCCSPREP@CSCINFO.COM
                                                            SPRINGFIELD, IL, 62708


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            22-0011706382 Financing Statement 03/09/2022 08:30 AM 1     03/09/2027

 Debtor           HIGH PLAINS RADIO NETWORK, L.L.C.                  808 MAIN STREET
                                                                     ALTUS, OK, 73522
 Secured          AILCO EQUIPMENT FINANCE GROUP,                     W222N833 CHEANEY
 Party            INC.                                               ROAD
                                                                     WAUKESHA, WI, 53186


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TEXAS SECRETARY of STATE
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                                                     Debtor Name Search
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 DEBTOR NAME: HIGH PLAINS RADIO NETWORK
 CITY: [Not Specified]


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            22-0013152440 Financing Statement 03/16/2022 09:59 AM 1     03/16/2027

 Debtor       HIGH PLAINS RADIO NETWORK,                 PO BOX 1478
              L.L.C.                                     PLAINVIEW, TX, 79073
 Secured      CORPORATION SERVICE COMPANY,               PO BOX 2576
 Party        AS REPRESENTATIVE                          UCCSPREP@CSCINFO.COM
                                                         SPRINGFIELD, IL, 62708


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            22-0014189754 Financing Statement 03/22/2022 05:00 PM 2     03/22/2027

 Debtor           HIGH PLAINS RADIO NETWORK, L.L.C.             207 WEST GRAND AVENUE
                                                                FREDERICK, OK, 73542
 Secured Party    MARLIN LEASING CORP                           300 FELLOWSHIP RD
                                                                MOUNT LAUREL, NJ, 08054


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            22-0044368019 Financing Statement 09/08/2022 10:47 AM 1     09/08/2027

 Debtor       HIGH PLAINS RADIO NETWORK,                 PO BOX 1478
              L.L.C.                                     PLAINVIEW, TX, 79073
 Secured      CORPORATION SERVICE COMPANY,               PO BOX 2576
 Party        AS REPRESENTATIVE                          UCCSPREP@CSCINFO.COM
                                                         SPRINGFIELD, IL, 62708


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            23-0020445070 Financing Statement 05/10/2023 08:30 AM 1     05/10/2028

 Debtor            HIGH PLAINS RADIO NETWORK, L.L.C.             3218 QUINCY ST
                                                                 PLAINVIEW, TX, 79072
 Secured Party     CHANNEL PARTNERS CAPITAL                      11100 WAYZATA BLVD
                                                                 MINNETONKA, MN, 55305


 Order View Filing Number Filing Type         Filing Date         Pages Lapse Date
            24-0003254767 Financing Statement 01/24/2024 02:57 PM 2     01/23/2029

 Debtor       HIGH PLAINS RADIO NETWORK,                 3218 QUINCY
              L.L.C.                                     PLAINVIEW, TX, 79072
 Debtor       ZULA COM, LLC                              205 SOUTH 25 MILE AVENUE
                                                         HEREFORD, TX, 79045
 Debtor       SPEARMAN LAND AND                          PO BOX 1478
              DEVELOPMENT LLC                            PLAINVIEW, TX, 79073
 Secured      CORPORATION SERVICE COMPANY,               P.O. BOX 2576
 Party        AS REPRESENTATIVE                          UCCSPREP@CSCINFO.COM
                                                         SPRINGFIELD, IL, 62708


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            24-0012016773 Financing Statement 02/14/2024 05:08 PM 5                              02/13/2029

 Debtor        HIGH PLAINS RADIO NETWORK, LLC    3218 QUINCY ST PO BOX 1478
                                                 PLAINVIEW, TX, 79073
 Debtor        PROFIT PROGRAMMING OF NORTHERN PO BOX 1928
               TEXAS, LLC                        LYONS,, CO, 80540
 Debtor        PROFIT PROGRAMMING, LLC           P.O. BOX 2690
                                                 ESTES PARK, CO, 80517
 Debtor        HIGH PLAINS RADIO NETWORK, L.L.C. PO BOX 1478
                                                 PLAINVIEW, TX, 79073
 Debtor        SPEARMAN LAND AND DEVELOPMENT PO BOX 1478
               LLC                               PLAINVIEW, TX, 79073
 Debtor        MK, INC.                          P.O. BOX 2690
                                                 ESTES PARK, CO, 80517
 Debtor        SPEARMAN PROPERTIES, LLC          P.O. BOX 2690
                                                 ESTES PARK, CO, 80517
 Debtor        SPEARMAN COMPANY                  P.O. BOX 2690
                                                 ESTES PARK, CO, 80517
 Debtor        ZULA COM, LLC                     PO BOX 1655
                                                 HEREFORD, TX, 79045
 Debtor        HIGH PLAINS RADIO NETWORK LLC     223 RUSSELL ST
                                                 MOUNTAIN HOME, AR, 72653
 Debtor        SPEARMAN LIVESTOCK, LLC,          P.O. BOX 2690
                                                 ESTES PARK, CO, 80517
 Debtor        PROFIT PROGRAMMING MRB, LLC       P.O. BOX 2690
                                                 ESTES PARK,, CO, 80517
 Debtor        PROFIT PROGRAMMING OF NORTHERN P.O. BOX 2690
               NEVADA, LLC                       ESTES PARK, CO, 80517
 Debtor        PROFIT PROGRAMMING OF FARGO,      P.O. BOX 2690
               LLC                               ESTES PARK, CO, 80517
 Debtor        HIGH PLAINS RADIO NETWORK LLC     808 N. MAIN
                                                 ST., ALTUS, OK, 73521
 Debtor        HIGH PLAINS RADIO NETWORK LLC     223 RUSSELL ST
                                                 MOUNTAIN HOME, AR, 72653
 Debtor        MONTE LEE SPEARMAN                4837 SILVERWOOD DRIVE
                                                 JOHNSTOWN, CO, 80534
 Secured       C T CORPORATION SYSTEM, AS        330 N BRAND BLVD, SUITE 700;
 Party         REPRESENTATIVE                    ATTN: SPRS
                                                 GLENDALE, CA, 91203


 Records 21 to 26 of 26 scroll << Previous           Next >>       OR proceed to page                   of 4 pages GO
 Select All Filings:
  Order Selected Filings      Order Certificate    New Search



Instructions:
    Press 'New Search' if you wish to perform another web inquiry.
    Press 'Previous' or 'Next' to scroll through the results of this inquiry.
    Enter the page number and click 'GO' button to view the desired page.
    Press 'Order Search Certificate' if you wish to order a search certificate with the parameters entered for this web inquiry.
    If you wish to order only selected filings for this debtor, check by the filings and press 'Order Selected Filings'.
    Checked filings will be retained from page to page as you scroll through the results of this inquiry.
    If an order for a search certificate or selected filings is placed against this web inquiry, the web inquiry fee will be waived.
    Check 'Select All Filings' and press 'Order Selected Filings' if you wish to order copies of all filings and full filing history for
the results of this web inquiry.
    To view a particular filing document, click on the image under 'View' for the desired document.
                                                            EXHIBIT H002 - PAGE 8
https://direct.sos.state.tx.us/ucc_order/ucc_order-dns.asp?spage=dns-o                                                                 2/2
                                                                                                                            Case 24-70089-swe11               Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                          Desc Main
                                                                                                                                                                   Document     Page 15 of 76




                                                                                                                                                                                                                                                                                                           EXHIBIT H003

                                                                                                                                                                       EXHIBIT H003
                           Operations Budget                   Altus      Month %                      Operations Budget                              Hereford     Month %                                        Operations Budget                                  Palestine    Month %                        Operations Budget                         Helena      Month %
                         1 Office - 4 FM Stations             SW Okla      Line                 1 Office - 4 FM & 1 AM Stations                      West Texas     Line                                   1 Office - 2 FM & 3 AM Stations                           East Texas    Line                             1 Office - 3 FM                      KJMT - KFFA    Line
                            Type of Expense                    4 FM        Item                         Type of Expense                              4 FM - 1 AM    Item                                            Type of Expense                                 2 FM - 3 AM    Item                           Type of Expense                        WDMS 3 FM      Item
           KYEB - KVWC Tower Lease - Titan Systems                  1,200     3.2%   KKYN & KRIA Tower Lease - Lift Systems                                    700     1.9%                  KYYK Tower Lease - American                                                    1,600     2.9%     KFFA Tower Rent - Titan Tower All Exp                             1,200     3.2%
                                                                        0     0.0%   KGRW Tower Lease - City of Friona                                         500     1.3%                  KWRD Tower Lease - Titan                                                         700     1.3%     Mtn. Home Tower & Office Lease                                      600     1.6%
                                                                        0     0.0%   KNNK Tower Lease - South Plains Com                                       750     2.0%                  KCKL & KLVQ Tower Lease - Titan                                                1,500     2.7%                                                                           0     0.0%
           KYEB - KVWC Tower Electric - TXU                           800     2.1%   KKYN & KRIA Tower Electric - Swisher Elec.                                500     1.3%                  KYYK & KNET Utility - Reliant                                                    300     0.5%                                                                           0     0.0%
                                                                        0     0.0%   KZZN Tower Electric - Xcel                                                300     0.8%                  KCKL & KLVQ Utility - TXU                                                        500     0.9%                                                                           0     0.0%
                                                                        0     0.0%                                                                               0     0.0%                  Office Apartment Expense                                                       1,000     1.8%                                                                           0     0.0%
           Office Int-Phones - Bluepeak                               300     0.8%                                                                               0     0.0%                  Office Int-Phones - Optimum & Etex & BrtSpd                                      900     1.6%     Office Int-Phones - Optimum                                         900     2.4%
           Equipment Insurance - Liberty Mutual                     1,200     3.2%   Equipment Insurance - Liberty Mutual                                    1,500     4.0%                  Equipment Insurance - Liberty Mutual                                           1,500     2.7%     Property & Equipment Ins GNVL - SouthGroup                          900     2.4%
           Internet Feed Service - SecureNet                          100     0.3%   Internet Feed Service - SecureNet                                         100     0.3%                  Internet Feed Service - SecureNet                                                100     0.2%     Internet Feed Service - SecureNet                                   100     0.3%
           Natural Gas - Summit                                       100     0.3%   Natural Gas - Atmos                                                       100     0.3%                  Natural Gas - None                                                                 0     0.0%     Natural Gas - Black Hills Gas                                       100     0.3%
           Office Electric - Altus                                    500     1.3%   Office Electric - Xcel                                                    300     0.8%                  Office Electric - Reliant & SWEPC                                              1,000     1.8%     Office Electric - NAEC - Entergy - Entergy                        1,400     3.8%
           Office Water - Trash - Sewer - Altus                       100     0.3%   Office Water - Trash - Sewer - Hereford                                   120     0.3%                  Office Water - Trash - Sewer - Pal & Hend                                        200     0.4%     Office Water - Trash - Sewer - Helena & GNVL                        160     0.4%
           Office Lease                                             2,500     6.7%   Office Lease                                                            2,500     6.7%                  Office Lease - 2 Offices                                                       5,000     9.0%     Office Lease                                                      2,500     6.7%
           Real Property Tax - Altus                                  300     0.8%   Real Property Tax - Hrfd & Ltfd                                           600     1.6%                  Real Property Tax - Palestine & Henderson                                        700     1.3%     Real Property Tax - Helena                                          300     0.8%
           Personal Property Tax - All Counties                       100     0.3%   Personal Property Tax - All Counties                                      100     0.3%                  Personal Property Tax - All Counties                                             100     0.2%     Personal Property Tax - All Counties                                100     0.3%
           Leases - Utilities - Insurance - Property Tax           7,200     19.3%   Leases - Utilities - Insurance - Property Tax                           8,070    21.6%                  Leases - Utilities - Insurance - Property Tax                                 15,100    27.3%     Leases - Utilities - Insurance - Property Tax                     8,260    22.1%
           Cell Services - $80 Per Station - Verizon                  320     0.9%   Cell Services - $80 Per Station - Verizon                                 400     1.1%                  Cell Services - $80 Per Station - Verizon                                        400     0.7%     Cell Services - $80 Per Station - Verizon                           240     0.6%
           Programming & Automation - Arrakis Adobe                   100     0.3%   Programming & Automation - Arrakis Adobe                                  100     0.3%                  Programming & Automation - Arrakis Adobe                                         100     0.2%     Programming & Automation - Arrakis Adobe                            300     0.8%
           Sales & Sports Travel - $80 Per Station                    320     0.9%   Sales & Sports Travel - $80 Per Station                                   400     1.1%                  Sales & Sports Travel - $80 Per Station                                          400     0.7%     Sales & Sports Travel - $80 Per Station                             240     0.6%
           FCC Annual Fees - FM $2400                                 800     2.1%   FCC Annual Fees - FM $2400 - AM $600                                      850     2.3%                  FCC Annual Fees - FM $2400 - AM $600                                             550     1.0%     FCC Annual Fees - FM $2400                                          600     1.6%
           Royalties - ASCAP @ $160 Ea.                               640     1.7%   Royalties - ASCAP @ $160 Ea.                                              800     2.1%                  Royalties - ASCAP @ $160 Ea.                                                     800     1.4%     Royalties - ASCAP @ $160 Ea.                                        480     1.3%
                       BMI @ $160 Ea.                                 640     1.7%               BMI @ $160 Ea.                                                800     2.1%                              BMI @ $160 Ea.                                                       800     1.4%                 BMI @ $160 Ea.                                          480     1.3%
                       GMR @ $25 Ea.                                  100     0.3%               GMR @ $25 Ea.                                                 125     0.3%                              GMR @ $25 Ea.                                                        125     0.2%                 GMR @ $25 Ea.                                            75     0.2%
                       SESAC @ $25 Ea.                                100     0.3%               SESAC @ $25 Ea.                                               125     0.3%                              SESAC @ $25 Ea.                                                      125     0.2%                 SESAC @ $25 Ea.                                          75     0.2%
                       Sound Exchange @ $100 Each Feed                200     0.5%               Sound Exchange @ $100 Each Feed                               200     0.5%                              Sound Exchange @ $100 Each Feed                                      200     0.4%                 Sound Exchange @ $100 Each Feed                         300     0.8%
           Programming - Travel - Broadcast - Royalties            3,220      8.6%   Programming - Travel - Broadcast - Royalties                            3,800    10.2%                  Programming - Travel - Broadcast - Royalties                                   3,500     6.3%     Programming - Travel - Broadcast - Royalties                      2,790     7.5%
           Sports Mgr - Kathy                                         800     2.1%   Sports Mgr - Johnny                                                     1,000     2.7%                  Sports Mgr - Paul                                                              1,200     2.2%     MS Prod Talent - Scott - Mtn Hm                                   1,500     4.0%
           Production Affidavits & FCC Quarterly - Jacob              300     0.8%   MS Prod Talent - Chris - Plainview                                      1,000     2.7%                  MS Prod Talent - Stephanie - Athens                                            2,500     4.5%     MS Prod Talent - Leon - Helena                                    1,500     4.0%
           MS Prod Talent - Cal - Altus                             2,000     5.4%   MS Prod Talent - Jeri - Hereford                                        1,000     2.7%                  MS Prod Talent - Mark - Henderson                                              1,250     2.3%     MS Prod Talent - Johnny - Greenville                              1,000     2.7%
                                                                        0     0.0%                                                                               0     0.0%                  MS Prod Talent - Kat - Palestine                                               2,500     4.5%                                                                           0     0.0%
           Sports Ancers @ $100 Per Mth Per Station                   400     1.1%   Sports Ancers @ $200 Per Mth Per Station                                1,000     2.7%                  Sports Ancers @ $200 Per Mth Per Station                                       1,000     1.8%     Sports Ancers @ $200 Per Mth Per Station                            600     1.6%
           Office & Traffic Mgr - Tracie                            1,750     4.7%   Office & Traffic Mgr - Tracie                                           1,750     4.7%                  Office & Traffic Mgr - Tasha                                                   1,750     3.2%     Office & Traffic Mgr - Tasha                                      1,750     4.7%
           Sales Mgr Local - Trudy                                  1,500     4.0%   Sales Mgr Local - Jeri                                                  1,000     2.7%                  Sales Mgr Local - Stephanie - Athens                                           3,000     5.4%     Sales Mgr Local - Johnny - Greenville                             2,000     5.4%
           Sales Rep #1 Altus - Niki                                  500     1.3%   Sales Rep #1 Hereford -                                                   500     1.3%                  Sales Mgr Local - Kenny - Henderson                                            2,000     3.6%     Sales Mgr Local - Deward - Helena                                 1,000     2.7%
           Sales Rep #2 Frederick - Jennifer                          500     1.3%   Sales Rep #2 Friona -                                                     500     1.3%                  Sales Mgr Local - Thor - Palestine                                             1,000     1.8%     Sales Mgr Local -        - Mtn. Hm.                               1,000     2.7%
           Sales Rep #3 Vernon -                                      500     1.3%   Sales Rep #3 Littlefield -                                                500     1.3%                  Sales Rep #1 -           - Athens                                                500     0.9%                                                                           0     0.0%
                                                                        0     0.0%                                                                               0     0.0%                  Sales Rep #2 - Erminia - Henderson                                               500     0.9%                                                                           0     0.0%
                                                                        0     0.0%                                                                               0     0.0%                  Sales Rep #3 -           - Palestine                                             500     0.9%                                                                           0     0.0%
           Engineering - Mike                                         750     2.0%   Engineering - Mike                                                        750     2.0%                  Engineering - Mike                                                               750     1.4%     Engineering - Mike                                                  750     2.0%
           Agency Sales Mgr. - Tiffany                              1,000     2.7%   Agency Sales Mgr. - Tiffany                                             1,000     2.7%                  Agency Sales Mgr. - Tiffany                                                    1,000     1.8%     Agency Sales Mgr. - Tiffany                                       1,000     2.7%
           Property Maint. - Gentry                                 1,000     2.7%   Property Maint. - Gentry                                                1,000     2.7%                  Property Maint. - Gentry                                                       1,000     1.8%     Property Maint. - Gentry                                          1,000     2.7%
           Promotions Mgr. - Kristi                                   500     1.3%   Promotions Mgr. - Kristi                                                  500     1.3%                  Promotions Mgr. - Kristi                                                         500     0.9%     Promotions Mgr. - Kristi                                            500     1.3%
           Gen. Sales Mgr. - Monte                                  1,000     2.7%   Gen. Sales Mgr. - Monte                                                 1,000     2.7%                  Gen. Sales Mgr. - Monte                                                        1,000     1.8%     Gen. Sales Mgr. - Monte                                           1,000     2.7%
           Employee Tax Match 10%                                   1,250     3.3%   Employee Tax Match 10%                                                  1,250     3.3%                  Employee Tax Match 10%                                                         2,195     4.0%     Employee Tax Match 10%                                            1,460     3.9%
           Payroll                                                13,750     36.8%   Payroll                                                                13,750    36.8%                  Payroll                                                                       24,145    43.6%     Payroll                                                         16,060     43.0%
           Corporate Expenses                                      1,250      3.3%   Corporate Expenses                                                      1,250     3.3%                  Corporate Expenses                                                             1,250     2.3%     Corporate Expenses                                                1,250     3.3%
           Fees - Misc. - Other - ROUND OFF                         5,680    15.2%   Fees - Misc. - Other - ROUND OFF                                        4,230    11.3%                  Fees - Misc. - Other - ROUND OFF                                               2,105     3.8%     Fees - Misc. - Other - ROUND OFF                                  2,740     7.3%
                                 Monthly Total                    31,100    100.0%                         Monthly Total                                    31,100   100.0%                                          Monthly Total                                         46,100   100.0%                           Monthly Total                             31,100    100.0%

              Commissions Added at 20% of the Monthly Total        6,220    16.7%       Commissions Added at 20% of the Monthly Total                          6,220          16.7%              Commissions Added at 20% of the Monthly Total                               9,220   16.7%        Commissions Added at 20% of the Monthly Total                   6,220       16.7%

                          Combined Monthly Total                  37,320                            Combined Monthly Total                                    37,320                                           Combined Monthly Total                                       55,320                            Combined Monthly Total                             37,320

                           Combined Annual Total                 447,840                             Combined Annual Total                                  447,840                                             Combined Annual Total                                      663,840                             Combined Annual Total                            447,840



                All Stations - Combined Monthly Total OPEX       167,280                                         C:\Users\jcarruth\ND Office Echo\VAULT-C9SL7ZTY\[HPRN OPEX Updated MLS 032624 Sent to JC 040124 4876-1947-6659 v.1.xlsx]Mthly Operating Expenses 032624



                      All Stations - Annual Total OPEX         2,007,360




4/1/2024 11:37 PM                                                                                                                                                                  Page 1 of 1                                                                                           HPRN OPEX Updated MLS 032624 Sent to JC 040124 4876-1947-6659 v.1.xlsx, Mthly Operating Expenses 032624
Case 24-70089-swe11         Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                        Desc Main
Uniform Commercial Code          Document     Page 16 of 76
                                                                                                Jane Nelson
P.O. Box 13193
Austin,Texas 78711-3193                                                                     Secretary of State

                                                                                            EXHIBIT H004
                               Office of the Secretary of State

Texas UNIFORM COMMERCIAL CODE Copy Acknowledgment
                                                                                              March 27, 2024
                                                                                                  Page 1 of 2

Document Number: 1348272640003

Images printed on March 26, 2024


The Texas Secretary of State's Office has received and processed your request.

Filing Number         Filing Type                                                              Page Count
24-00215453 86        Financing Statement                                                               2
24-0012016773         Financing Statement                                                               5
24-0003254767         Financing Statement                                                               2
23-0020445070         Financing Statement                                                               2
22-0044368019         Financing Statement                                                               1
22-0014189754         Financing Statement                                                               2
22-0013152440         Financing Statement                                                               1
22-0011706382         Financing Statement                                                               1
22-0010082055         Financing Statement                                                               2
22-0009168432         Financing Statement                                                               1
21-0058331679         Financing Statement                                                               2
21-0053543376         Financing Statement                                                               2
21-0053337519         Financing Statement                                                               1
21-0052429500         Financing Statement                                                               1
21-0050185870         Financing Statement                                                               1
20-0045702555         Financing Statement                                                               1
20-0044757968         Financing Statement                                                               1
20-0036016290         Financing Statement                                                               1
20-0021729184         Financing Statement                                                               1
20-0010752522         Financing Statement                                                               2
19-0045700985         Financing Statement                                                                3
19-0044608678         Financing Statement                                                               1
19-0043956542         Financing Statement                                                               2
19-0032986715         Financing Statement                                                               2
19-0007245725         Financing Statement                                                               1
19-0003855728         Financing Statement                                                               1
18-0038630584         Financing Statement                                                               2

                                   EXHIBIT H004 - Page 1
                            Come visit us on the Intemet@https://www.sos.texas.gov/
Phone: 512-475-2703                               Fax: 512-475-2812                   Dial: 7-1-1 for Relay Services
Case 24-70089-swe11         Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18   Page 2
                                                                              Desc
                                                                              Page 2Main
                                                                                     of 2
                                                                                     of2
                                 Document     Page 17 of 76

                                                              Total Pages:
                                                              Total Pages:      44
                                                                                44

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                                   EXHIBIT H004 - Page 2
            Case 24-70089-swe11
INFORMATION REQUEST
                                                   Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                        Desc Main
                                                        Document     Page 18 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT REQUESTOR (optional)
 Weycer, Kaplan, Pulaski & Zuber, PC 7139619045
B. E-MAIL CONTACT AT FILER (optional)
  jcarruth@wkpz.com
C. RETURN TO: (Name and Address)
        Weycer, Kaplan, Pulaski & Zuber, PC
                                                                                            DOCUMENT NUMBER: 1348272640003
        24 Greenway Plaza Ste 2050
                                                                                            ORDER DATE: 03/26/2024   10:18 PM
        Houston, TX 77046-1104
                                                                                            IMAGE GENERATED ELECTRONICALLY FOR WEB ORDER
        USA
                                                                                            THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

     DEBTOR'S NAME to be searched: Provide only one Debtor name (1 a or 1b) (use exact full name; do not omit, modify or abbreviate any part of the
1.
     Debtor's name)
     1a. ORGANIZATION'S NAME
OR

     1b. INDIVIDUAL'S SURNAME                     FIRST PERSONAL NAME                        ADDITIONAL NAME(S)/INITIAL(S)                             SUFFIX


2. INFORMATION OPTIONS relating to UCC filings and other notices on file in the filing office that include the Debtor name identified in item 1:
  a_ LISTING RELATING TO DEBTOR AT SPECIFIED CITY AND STATE ONLY - Filing office requested to furnish a search report listing all financing
2
     statements, related records, and other notices on file in filing office that include the Debtor's name identified in item 1 and show that Debtor's address in
     the city, state, and country indicated here:
     CITY                                                                                    STATE                                    COUNTRY


  b_ INFORMATION REQUEST RESPONSE WITH FULL COPIES (CERTIFIED) - Filing office requested to furnish a search report listing all financing
2
     statements, related records, and other notices, showing date and time of filing and name and address of each Secured Party named therein, and also
     furnish an exact CERTIFIED COPY of ALL reported records (including all attachments)
2c. INFORMATION REQUEST RESPONSE WITHOUT COPIES - Filing office requested to furnish a search report (as described in 2b) listing all reported
     records, but to furnish NO COPIES of reported records
2d. INFORMATION REQUEST RESPONSE WITH PARTIAL COPIES (CERTIFIED) - Filing office requested to furnish a search report (as described in 2b)
     and also to furnish an exact CERTIFIED COPY of the FIRST PAGE ONLY of all reported records
  _ SPECIFIED COPIES ONLY - Filing office requested to furnish an exact copy of each page of the financing statements, related records, and other notices
3
p    (including all attachments) that are identified below by record number. Certain filing offices require additional identifying information - please complete if
     required
     r CERTIFIED COPY REQUEST - Filing office requested to furnish CERTIFIED copies per request indicated in this item 3
     Record Number               Date Record Filed (if required)           Type of Record and Additional Identifying Information (if required)
     18-0038630584
     19-0003855728
     19-0007245725
     19-0032986715
     19-0043956542
     19-0044608678
     19-0045700985
     20-0010752522
     20-0021729184
 _ LISTING RELATING TO SECURED PARTY - Filing office requested to furnish a search report listing all financing statements, related records, and other
4
   notices (regardless of Debtor name) on file in filing office that include the Secured Party's name identified in item 4a or 4b. If a specified city, state, and
   country is being requested (optional), show that Secured Party's address in item 4c
   4a. ORGANIZATION'S NAME
OR

     4b. INDIVIDUAL'S SURNAME                     FIRST PERSONAL NAME                        ADDITIONAL NAME(S)/INITIAL(S)                             SUFFIX


     4c. CITY                                                                                STATE                                    COUNTRY


5.   DELIVERY INSTRUCTIONS (request will be filled by mail to address shown in item C unless otherwise instructed here):
     5a.  FAX Delivery - Filing office requested to fax results of this Information Request to fax number indicated here:
     5b.rPick Up
     5c.rother
PAGE: 2
Record Number                                          Record Number                                          Record Number
20-0036016290                                          20-0044757968                                          20-0045702555
21-0050185870
                                                             EXHIBIT H004 - Page 3
                                                       21-0052429500                                          21-0053337519
         Case 24-70089-swe11   Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18   Desc Main
21-0053543376                         Document
                                 21-0058331679   Page 19 of 76 22-0009168432
22-0010082055                    22-0011706382                  22-0013152440
22-0014189754                    22-0044368019                  23-0020445070
24-0003254767                    24-0012016773                  24-0021545386




FILING OFFICE COPY




                                      EXHIBIT H004 - Page 4
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                         Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                             Desc Main
                                                                              Document     Page 20 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     csc
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                             FILING NUMBER: 18-0038630584
     Corporation Service Company                                                                                          FILING DATE: 11/01/2018     10:42AM
     251 LITTLE FALLS DRIVE                                                                                               DOCUMENT NUMBER: 846915490001
                                                                                                                          FILED: Texas Secretary of State
     Wilmington, DE 19808
                                                                                                                          IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        1a. ORGANIZATION'S NAME
          HIGH PLAINS RADIO NETWORK, L.L.C.
  OR
         1b. INDIVIDUAL'S SURNAME                                         FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


1c. MAILING ADDRESS                                                       CITY                                                    STATE        POSTAL CODE                COUNTRY
 3218 Quincy St                                                            Plainview                                              TX            79072                     USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        2a. ORGANIZATION'S NAME

  OR
         2b. INDIVIDUAL'S SURNAME                                         FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


2c. MAILING ADDRESS                                                       CITY                                                    STATE        POSTAL CODE                COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          FINANCIAL AGENT SERVICES
  OR
         3b. INDIVIDUAL'S SURNAME                                         FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


3c. MAILING ADDRESS                                                       CITY                                                    STATE        POSTAL CODE                COUNTRY
 P.O. Box 2576                                                             Springfield                                            IL            62708                         USA
4. COLLATERAL: This financing statement covers the following collateral:
"Accounts, chattel paper, general intangibles, and instruments. Secured Party
has purchased future receivables and/or sale proceeds from Debtor. The sale of
the future receivables and/or sale proceeds of the Debtor is intended to be a
sale and not an assignment for security. Debtor is prohibited from incurring any
debt, transferring future receivables or sale proceeds to any other person or
granting any security interests in its accounts receivable or other assets until
Secured Party has received all amounts due under this Agreement." The secured
party named in this record is acting in a representative capacity for purposes
of forwarding notices & inquiries regarding this record. For more information,
please contact the secured party at the address listed above or at
[UCCSPREP@CSCINFO.COM].




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is   r                           r being administered by a Decedent's Personal Representative
                                                                         held in a Trust (see UCC1Ad, item 17 and Instructions)
6a. Check QDJy if applicable and check QDJy one box:                                                6b. Check QDJy if applicable and check QDJy one box.
r Public-Finance Transaction r Manufactured-Home Transaction r A Debtor is a Transmitting Utility r Agricultural Lien r Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                          Lessee/Lessor      r   Consignee/Consignor        P Seller/Buyer     Bailee/Bailor   Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
  [154368502]

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                                                                                    EXHIBIT H004 - Page 5
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                      Desc Main
                                                                            Document     Page 21 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     First State Bank 903 675-5165
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)
   First State Bank                                                                                                       FILING NUMBER: 19-0003855728
   P.O. BOX 471                                                                                                           FILING DATE: 02/01/2019     09:30 AM
 130 EAST CORSICANA STREET                                                                                                DOCUMENT NUMBER: 865451290002
                                                                                                                          FILED: Texas Secretary of State
   Athens, TX 75751
                                                                                                                          IMAGE GENERATED ELECTRONICALLY FOR WEB FILING
   USA                                                                                                                    THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       1a. ORGANIZATION'S NAME
          HIGH PLAINS RADIO NETWORK LLC
    OR
         1b. INDIVIDUAL'S SURNAME                                          FIRST PERSONAL NAME                                       ADDITIONAL NAME(S)/INITIAL(S)                   SUFFIX


1c. MAILING ADDRESS                                                        CITY                                                      STATE            POSTAL CODE                    COUNTRY
    3218 QUINCEY                                                            PLAINVIEW                                                    TX            79072                         USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       2a. ORGANIZATION'S NAME

    OR
         2b. INDIVIDUAL'S SURNAME                                          FIRST PERSONAL NAME                                       ADDITIONAL NAME(S)/INITIAL(S)                   SUFFIX
          SPEARMAN                                                          MONTE                                                        LEE
2c. MAILING ADDRESS                                                        CITY                                                      STATE            POSTAL CODE                    COUNTRY
    3218 QUINCEY                                                            PLAINVIEW                                                    TX            79072                         USA
3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          FIRST STATE BANK
    OR
         3b. INDIVIDUAL'S SURNAME                                          FIRST PERSONAL NAME                                       ADDITIONAL NAME(S)/INITIAL(S)                   SUFFIX


3c. MAILING ADDRESS                                                        CITY                                                      STATE            POSTAL CODE                    COUNTRY
    POBOX471                                                                ATHENS                                                       TX            75751                         USA
4. COLLATERAL: This financing statement covers the following collateral:

ASSIGNMENT OF NOTE RECEIVABLE FROM FOR THE LOVE OF THE GAME BROADCASTING LLC AND
TERRY RAY SLAVENS, INDIVIDUAL OBA KWBY RADIO, DATED OCTOBER 1, 2015 IN THE
PRINCIPAL AMOUNT OF $450,000.00, PAYABLE TO HIGH PLAINS RADIO NETWORK LLC

ASSIGNMENT OF NOTE RECEIVABLE FROM FOR THE LOVE OF THE GAME BROADCASTING LLC AND
TERRY RAY SLAVENS, INDIVIDUAL OBA KWBY RADIO, DATED JANUARY 1, 2014 IN THE
PRINCIPAL AMOUNT OF $450,000.00, PAYABLE TO HIGH PLAINS RADIO NETWORK LLC




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is r   held in a Trust (see UCC1Ad, item 17 and Instructions) r   being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                                  6b. Check QDJy if applicable and check QDJy one box.
r    Public-Finance Transaction r          Manufactured-Home Transaction r                A Debtor is a Transmitting Utility         r   Agricultural Lien r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                       Lessee/Lessor       r     Consignee/Consignor       r   Seller/Buyer        Bailee/Bailor      Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
    20030840 - MONTE SPEARMAN

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                                                                                  EXHIBIT H004 - Page 6
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                          Desc Main
                                                                            Document     Page 22 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     FIRST STATE BANK- MALAKOFF BRANCH 9034891188
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                             FILING NUMBER: 19-0007245725
     FIRST STATE BANK- MALAKOFF BRANCH                                                                                    FILING DATE: 02/28/2019     02:27 PM
     PO BOX 1089                                                                                                          DOCUMENT NUMBER: 871507720003
                                                                                                                          FILED: Texas Secretary of State
     Malakoff, TX 75148
                                                                                                                          IMAGE GENERATED ELECTRONICALLY FOR WEB FILING
     USA                                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       1a. ORGANIZATION'S NAME
          HIGH PLAINS RADIO NETWORK LLC
  OR
         1b. INDIVIDUAL'S SURNAME                                          FIRST PERSONAL NAME                                         ADDITIONAL NAME(S)/INITIAL(S)                     SUFFIX


1c. MAILING ADDRESS                                                        CITY                                                        STATE           POSTAL CODE                       COUNTRY
 3218 QUINCEY                                                               PLAINVIEW                                                   TX              79072                            USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       2a. ORGANIZATION'S NAME

  OR
         2b. INDIVIDUAL'S SURNAME                                          FIRST PERSONAL NAME                                         ADDITIONAL NAME(S)/INITIAL(S)                     SUFFIX
          SPEARMAN                                                          MONTE                                                       LEE
2c. MAILING ADDRESS                                                        CITY                                                        STATE           POSTAL CODE                       COUNTRY
 3218 QUINCEY                                                               PLAINVIEW                                                   TX              79072                            USA
3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          FIRTS STATE BANK, ATHENS
  OR
         3b. INDIVIDUAL'S SURNAME                                          FIRST PERSONAL NAME                                         ADDITIONAL NAME(S)/INITIAL(S)                     SUFFIX


3c. MAILING ADDRESS                                                        CITY                                                        STATE           POSTAL CODE                       COUNTRY
 POBOX471                                                                   ATHENS                                                      TX              75751                            USA
4. COLLATERAL: This financing statement covers the following collateral:
Assignment of Note Receivable from For The Love of the Game Broadcasting LLC and
Terry Ray Slavens, Individual dba KWBY Radio, dated October 1, 2015 in the
principal amount of $450,000.00, payable to High Plains Radio Network LLC

Assignment of Note Receivable from For The Love of the Game Broadcasting LLC and
Terry Ray Slavens, Individual dba KWBY Radio, dated January 1, 2014 in the
principal amount of $450,000.00, payable to High Plains Radio Network LLC




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is r
6a. Check QDJy if applicable and check QDJy one box:
                                                                       held in a Trust (see UCC1Ad, item 17 and Instructions)   r   being administered by a Decedent's Personal Representative
                                                                                                                                        6b. Check QDJy if applicable and check QDJy one box.
r   Public-Finance Transaction         r   Manufactured-Home Transaction r                A Debtor is a Transmitting Utility           r   Agricultural Lien   r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                       Lessee/Lessor       r     Consignee/Consignor       r   Seller/Buyer         Bailee/Bailor         Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:



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                                                                                  EXHIBIT H004 - Page 7
                  Case 24-70089-swe11
UCC FINANCING STATEMENT AMENDMENT
                                                                   Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                                  Desc Main
                                                                        Document     Page 23 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
      csc
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                            FILING NUMBER: 19-00112445
      Corporation Service Company                                                                                        FILING DATE: 03/29/2019     08:32 AM
      251 LITTLE FALLS DRIVE                                                                                             DOCUMENT NUMBER: 878206090001
                                                                                                                         FILED: Texas Secretary of State
      Wilmington, DE 19808
                                                                                                                         IMAGE GENERATED ELECTRONICALLY FOR XML FILING
      USA                                                                                                                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1a. INITIAL FINANCING STATEMENT FILE NUMBER
                                                                 1b . r This FINANCING STATEMENT AMENDMENT is to be filed [for record] (or recorded) in the REAL ESTATE RECORDS.
 18-0038630584                                                   Filer: attach Amendment Addendum (Form UCC3Ad) and provide Debtor's name in item 13

2.   WTERMINATION: Effectiveness of the Financing Statement identified above is terminated with respect to the security interest(s) of the Secured Party authorizing this Termination Statement
3. r   ASSIGNMENT (full or partial): Provide name of Assignee in item 7a or 7b and address of Assignee in item 7c and also name of Assignor in item 9.
For partial assignment, complete item 7 and 9 and also indicate affected collateral in item 8

4. r CONTINUATION:              Effectiveness of the Financing Statement identified above with respect to the security interest(s) of Secured Party authorizing this Continuation Statement is continued for the
additional period provided by applicable law

5.   r
    PARTY INFORMATION CHANGE:
Check one of these two boxes. This Change affects Debtor Qir Secured Party of record. AND Check one of these three boxes to:
   CHANGE name and/or address: Complete item 6a or 6b; and item      ADD name: Complete item 7a or 7b,          DELETE name: Give record name
   7a or 7b and item 7c                                              and item 7c                                to be deleted in item 6a or 6b.
6. CURRENT RECORD INFORMATION: Complete for Party Information Change - provide only one name (6a or 6b)
          6a. ORGANIZATION'S NAME


     OR
          6b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                                               ADDITIONAL NAME(S)/INITIAL(S)                          SUFFIX



7. CHANGED OR ADDED IN FORMATION: Complete for Assignment or Party Information Change - provide only one name (7a or 7b) (use exact, full name; do not omit, modify, or abbreviate any
part of the Debtor's name)
          7a. ORGANIZATION'S NAME


     OR
          7b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                                               ADDITIONAL NAME(S)/INITIAL(S)                          SUFFIX


7c. MAILING ADDRESS                                              CITY                                                              STATE           POSTAL CODE                            COUNTRY



8.   r COLLATERAL CHANGE:
Indicate collateral:
                                            Also check one of these four boxes:   r   ADD collateral   r   DELETE collateral   r   RESTATE covered collateral   r   ASSIGN collateral




9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only one name (9a or 9bJ (name of Assignor, if this is an Assignment)
If this is an Amendment authorized by a DEBTOR, check here          and provide name of authorizing Debtor
           9a. ORGANIZATION'S NAME


     OR
           FINANCIAL AGENT SERVICES
          9b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                                               ADDITIONAL NAME(S)/INITIAL(S)                          SUFFIX



10. OPTIONAL FILER REFERENCE DATA:


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                                                                                  EXHIBIT H004 - Page 8
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                         Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                             Desc Main
                                                                              Document     Page 24 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     csc
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                             FILING NUMBER: 19-0032986715
     Corporation Service Company                                                                                          FILING DATE: 08/29/2019     09:19 AM
     251 LITTLE FALLS DRIVE                                                                                               DOCUMENT NUMBER: 910210260001
                                                                                                                          FILED: Texas Secretary of State
     Wilmington, DE 19808
                                                                                                                          IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        1a. ORGANIZATION'S NAME
          HIGH PLAINS RADIO NETWORK LLC
  OR
         1b. INDIVIDUAL'S SURNAME                                         FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


1c. MAILING ADDRESS                                                       CITY                                                    STATE        POSTAL CODE                COUNTRY
 3218 Quincy St                                                            Plainview                                              TX            79072                     USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        2a. ORGANIZATION'S NAME

  OR
         2b. INDIVIDUAL'S SURNAME                                         FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


2c. MAILING ADDRESS                                                       CITY                                                    STATE        POSTAL CODE                COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          FINANCIAL AGENT SERVICES
  OR
         3b. INDIVIDUAL'S SURNAME                                         FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


3c. MAILING ADDRESS                                                       CITY                                                    STATE        POSTAL CODE                COUNTRY
 P.O. Box 2576                                                             Springfield                                            IL            62708                         USA
4. COLLATERAL: This financing statement covers the following collateral:
"Accounts, chattel paper, general intangibles, and instruments. Secured Party
has purchased future receivables and/or sale proceeds from Debtor. The sale of
the future receivables and/or sale proceeds of the Debtor is intended to be a
sale and not an assignment for security. Debtor is prohibited from incurring any
debt, transferring future receivables or sale proceeds to any other person or
granting any security interests in its accounts receivable or other assets until
Secured Party has received all amounts due under this Agreement." The secured
party named in this record is acting in a representative capacity for purposes
of forwarding notices & inquiries regarding this record. For more information,
please contact the secured party at the address listed above or at
[UCCSPREP@CSCINFO.COM].




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is   r                           r being administered by a Decedent's Personal Representative
                                                                         held in a Trust (see UCC1Ad, item 17 and Instructions)
6a. Check QDJy if applicable and check QDJy one box:                                                6b. Check QDJy if applicable and check QDJy one box.
r Public-Finance Transaction r Manufactured-Home Transaction r A Debtor is a Transmitting Utility r Agricultural Lien r Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                          Lessee/Lessor      r   Consignee/Consignor        P Seller/Buyer     Bailee/Bailor   Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
  [169161957]

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                                                                                    EXHIBIT H004 - Page 9
               Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                              Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                         Desc Main
                                                                   Document     Page 25 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
    Lien Solutions
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                     FILING NUMBER: 19-0043956542
    **CT Lien Solutions                                                                                           FILING DATE: 11/20/2019     03:47 PM
    2929 Allen Parkway, Ste. 100                                                                                  DOCUMENT NUMBER: 928315280001
                                                                                                                  FILED: Texas Secretary of State
    Houston, TX 77019
                                                                                                                  IMAGE GENERATED ELECTRONICALLY FOR XML FILING
    USA                                                                                                           THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       1a. ORGANIZATION'S NAME
         High Plains Radio Network, L.L.C.
  OR
        1b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)                             SUFFIX


1c. MAILING ADDRESS                                            CITY                                                  STATE            POSTAL CODE                             COUNTRY
 3218 Quincy Street                                             Plainview                                                TX            79073-1906                             USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       2a. ORGANIZATION'S NAME

  OR
        2b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)                             SUFFIX


2c. MAILING ADDRESS                                            CITY                                                  STATE            POSTAL CODE                             COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
        3a. ORGANIZATION'S NAME
         C T Corporation System, as representative
  OR
        3b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)                             SUFFIX


3c. MAILING ADDRESS                                            CITY                                                  STATE            POSTAL CODE                             COUNTRY
330 N Brand Blvd, Suite 700;                                    Glendale                                                 CA            91203                                  USA
Attn: SPRS
4. COLLATERAL: This financing statement covers the following collateral:
All existing and hereafter arising manufacturing, material handling, healthcare,
technology, commercial, and other equipment, goods, assets, hardware, personal
property, vehicles, inventory, software, collateral, and other tangible and
intangible items leased under, financed under, subject to, or relating to Master
Equipment Agreement No. 22064 dated November 15, 2019 between Secured Party (as
represented by its agent, CT Corporation System; together herein, "Secured
Party"), as amended and supplemented from time to time ("Master Equipment
Agreement"), together with all parts, accessories, accessions, modifications,
alterations, additions, replacements, exchanges, improvements, and upgrades
thereto, and the cash, noncash, insurance, and other proceeds of all of the
foregoing (collectively, the "Collateral"). To the extent the Collateral is the
subject of a true lease between Secured Party and Debtor, this Financing
Statement is filed on an informational and precautionary basis. To the extent
the Collateral is the subject of an agreement or arrangement that is not a true
lease, Secured Party has and will have all the rights, remedies, and powers of a
secured party. Words and phrases used but not defined herein, whether or not
capitalized, have the meanings given to them in the Uniform Commercial Code as
adopted in the jurisdiction where this Financing Statement is filed.



5. Check Q!l)y if applicable and check Q!l)y one box: Collateral is r · held in a Trust (see UCC1Ad, item 17 and Instructions) r being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                          6b. Check QDJy if applicable and check QDJy one box.
r   Public-Finance Transaction     r   Manufactured-Home Transaction r            A Debtor is a Transmitting Utility r   Agricultural Lien   r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):             r   Lessee/Lessor     r     Consignee/Consignor       r   Seller/Buyer   r   Bailee/Bailor    r   Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:



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                                                                         EXHIBIT H004 - Page 10
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                      Desc Main
                                                                            Document     Page 26 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     Lien Solutions
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                              FILING NUMBER: 19-0044608678
     **CT Lien Solutions                                                                                                   FILING DATE: 11/25/2019     07:02 PM
     2929 Allen Parkway, Ste. 100                                                                                          DOCUMENT NUMBER: 929125480001
                                                                                                                           FILED: Texas Secretary of State
     Houston, TX 77019
                                                                                                                           IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       1a. ORGANIZATION'S NAME
          HIGH PLAINS RADIO NETWORK, L.L.C.
    OR
         1b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX


1c. MAILING ADDRESS                                                    CITY                                                    STATE             POSTAL CODE                         COUNTRY
    3218 Quincy St                                                     Plainview                                                   TX             79072-1906                         USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       2a. ORGANIZATION'S NAME

    OR
         2b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX


2c. MAILING ADDRESS                                                    CITY                                                    STATE             POSTAL CODE                         COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          U.S. BANK EQUIPMENT FINANCE
    OR
         3b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX


3c. MAILING ADDRESS                                                    CITY                                                    STATE             POSTAL CODE                         COUNTRY
    1310 MADRID STREET                                                 MARSHALL                                                    MN             56258                              USA
4. COLLATERAL: This financing statement covers the following collateral:
2 AUDIOCARTS ENGINEERING R-55 CONSOLE; 1 ARRAKIS AUTOMATION BRIDGE DOCKING
STATION; 1 OPTIMOD 57001 ; 1 SAGE DIGITAL ENDEE MODEL 3644; 1 MARTI MODEL
STL-10 TRANSMITTER; 1 MOSELEY PLC-6010 STL TRANSMITTER; 1 HARRIS SX 1 AM
TRANSMITTER; 1 NAUTEL VS 2.5 TRANSMITTER; 1 BROADCAST ELECTRONICS AM 1A
TRANSMITTER ; 1 NAUTEL VS 2.5 TRANSMITTER ; 1 HARRIS HT 7CD TRANSMITTER ;
TOGETHER WITH ALL REPLACEMENTS, PARTS, REPAIRS, ADDITIONS, ACCESSIONS AND
ACCESSORIES INCORPORATED THEREIN OR AFFIXED OR ATTACHED THERETO AND ANY AND ALL
PROCEEDS OF THE FOREGOING, INCLUDING, WITHOUT LIMITATION, INSURANCE RECOVERIES:




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is r    held in a Trust (see UCC1Ad, item 17 and Instructions) r  being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                           6b. Check QDJy if applicable and check QDJy one box.
r    Public-Finance Transaction r          Manufactured-Home Transaction r                 A Debtor is a Transmitting Utility r    Agricultural Lien r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                       Lessee/Lessor        r     Consignee/Consignor       r   Seller/Buyer       Bailee/Bailor      Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:



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                                                                                 EXHIBIT H004 - Page 11
         Case 24-70089-swe11                                 Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                        Desc Main
                                                                  Document     Page 27 of 76



UCC FINANCING STATEMENT                                                                                                            19-0045700985
FOLLOW INSTRUCTIONS
                                                                                                               '<-e,E/v~         ' 12/03/2019 05:00 PM                                       I
                                                                                                                                                                                             I
 A. NAME & PHONE OF CONTACT AT FILER (optional)                                                              Q;'        0
 Name: Wolters Kluwer Lien Solutions Phone: 800-331-3282 Fax: 818-662-4141                                      m:-J:l119   I                                                                i
 B. E-MAIL CONTACT AT FILER (optional)
      uccfilingreturn@wolterskluwer.com                                                                                             Illllllll 1111111111111111 ;:~:~~'~'      STATE

 C. SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                         18855- BRYN MAWR
                                                                                                                                    sos                                                      i

     jlien Solutions
       P.O. Box 29071
                                                                              72756965           7                              i ~~~~~~lm[l~l~IIII IIIII IIIII IIIII IIIII IIIII I I IIII i
       Glendale, CA 91209-9071                                              TXTX
     L                            File with: Secretarv of State, TX
                                                                                                 _J
                                                                                                            N      ??HE Asov::~:~ Is            ~o~    ~1~1N~ oFFI~: ~ s = : :
1. DEBTOR'S NAME: Provide only one Debtor name {1a or 1b) (use exact. full name: do not omit. modify, or abbreviate any part of the Debtor's name): if any part of the Individual Debtor's
  name will not fit in line 1b, leave all of item 1 blank, check here   O and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
      la. ORGANIZATION"S NAME

      HIGH PLAINS RADIO NETWORK, L.L.C.
OR    lb. INDIVIDUAL'S SURNAME                                                            FIRST PERSONAL NAME                             ADDITIONAL NAME(SYINITIAL(S)              SUFFIX



le. MAILING ADDRESS                                                                       CITY                                            STATE     POSTAL CODE                     COUNTRY

 3218 Quincv Street                                                          Plainview                                             TX        79072 I                        USA
2. DEBTOR'S NAME: Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name): 11 any part of the lnd1v1dual Debtor's
  name will not fit in line 2b, leave all of item 2 blank, check here   D and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
      2a. ORGANIZATION'S NAME


OR 2b. INDIVIDUAL'S SURNAME                                                               FIRST PERSONAL NAME                             ADDITIONAL NAME(S)/INITIAL(S)             SUFFIX



2c. MAILING ADDRESS                                                                       CITY                                            STATE    IPOSTAL CODE                     COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only one Secured Party name (3a or 3b)
      3a. ORGANIZATION'S NAME

       BRYN MAWR EQUIPMENT FINANCE, INC.
OR    3b. INDIVIDUAL'S SURNAME                                                            FIRST PERSONAL NAME                             ADDITIONAL NAME(SYINITIAL(S)              SUFFIX



 3c. MAILING ADDRESS                                                                      CITY                                            STATE    I POSTAL CODE                    COUNTRY

 801 Lancaster Avenue                                                                      Bryn Mawr                                       PA          19010                          USA
4. COLLATERAL: This financmg statement covers the followmg collateral:
See Attached Schedule A & Schedule Addendum ; "Including all replacements, parts, substitutions, modifications, accessories, additions, attachments,
accessions and tools of the debtor now or hereafter installed therein, afixed thereto or used or intended to be used in connection therewith."




5. Check 2!!!'l if applicable and check 2J1!Y.one box: Collateral is 0held in a Trust (see UCC1Ad, item 17 and Instructions) Obeing administered by a Decedent's Personal Representative
6a. Check Qill'l if applicable and check Q!!!y_ one box:                                                                           6b. Check Qill'l ii applicable and check 2!!]y one box:

     D Public-Finance Transaction D Manufactured-Home Transaction D A Debtor is a Transmitting Utility                                 D Agricultural Lien       D Noo-UCC Filing
7. ALTERNATIVE DESIGNATION (ii applicable): [8] Lessee/Lessor   D Consignee!Consignor      D Seller!Buyer                                D Bailee/Bailor           D licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA·
72756965                                     CP                                                                                                 16385RWBM

FILING OFFICE COPY - UCC FINANCING STATEMENT (Form UCC1) (Rev. 04/20/11)
                                                                         EXHIBIT H004 - Page 12                                                        Prepared by Lien Solutions. P.O. Box 29071,
                                                                                                                                                       Glendale. CA 91209-9071 Tel (800) 331-3282
                                                                                           --- - - - - -
        Case 24-70089-swe11                           Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18 Desc Main
                                                           Document     Page 28 of 76




                                                                                               801 Lancaster Avenue., Bryn Mawr, PA 19010
                                                                                       Toll Free Phone: 866-408-0308 Toll Free Fax: 866'..408-2231


                                                       Equipment Schedule A- / 0_ 3                             ~S'R i.,0b f\-C\
           To Master Equipment finance Agreement ("MEFA")# _ _ _ _ _ _ _ _ _ _ Oated: _ _ _ _ _ _ _ between Bryn Mawr
           Equipment Finance, Inc. ("Creditor')_ and High Plains Radio Network, l.l.C, ("Borrower')

           1.   Equipment Description:
           Q..y_iJ.nfil'i,_Qgscriptlon (Man_ufacturcr, MQ.del fl..Y!!tl?!l!'...£.tsl                                  Serial If




                                                       l8J
                                               See Attached Equipment Schedule Addendum(s)
           2.   Supplier/Vendor of Equipment {Name, addres~. phone, email, contact, etc.)
           Process Technologies & Services
           106l2·D Providence Rd., ff716
           Charlotte, NC 28277,0233

                                                       0 See Attached Disbursement Authorization - Multiple Suppllers
                                                       0 See Attached Dellvefy Guarantee and Oi5bursement Authorlrntlon
           3.   Equipment location: (Name, address. phone, email, contact, etc.)
           High Plains Radio Network, L.l.C.
           P.O. Box H78
           Plalnvlew, TX 79073
           806-777-8542

          4. Payment Commencem1mt Date: _ _ _ _ _ _ _ _ _ _ __
          Borrower authorizes Cr~ditor to Insert the Payment commencement Date in this; document at the time of final disbursement to
-----<upplier."-··········-·                                                                                        ·-·-····---··-·····------

           S. Initial Term of MEFA after completion of the attached Note (If appllcable):
           Total Number of Payments: 60
           Amount of Each Payment: $1,289.84

           6.   Noto and MEFA wlll !Je made Monthly.

           7. MEFA Payments/Security Deposit/Other Fees:
           Advanced Equipment Finance Agreement Payment(s):                             SI Z89.84 Applied as: First
           Security Deposit/Other Monies Paid:                                          $0.00 Applied as: _ _
           Document Processing Fee:                                                     $395.00
           Total Due:                                                                   $1 684.84

           8. Master Equipment Finance Agreement:
           All of the terms ;wd conditions of the MEFA are incorporated herein by refer~nce as if such terms and conditions were set fo,'th in
           this Equipment Sr.hednlc.

                                                                                        Accepted: Bryn Mawr Equipment Finance, Inc.

                                                                                        By:-------------------
                                                                                                 Authorized Sign..:r. Title

                                                                                        Dai..:: _ _ _ _ _ _ __




                                                                EXHIBIT H004 - Page 13
Case 24-70089-swe11              Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                     Desc Main
                                      Document     Page 29 of 76



   Bryn Mawr Funding
   A DIVISION OF BRYN MAWR TRUST           ■                  801 lancaster Avenue, Bryn Mawr1 PA 19010·
                                                      Toll Free Phone: 866-408-0308 Toll Free Fax: 866-408-2231




                                      Equipment Schedule Addendum

  To Master Equipment Finance Agreement (MEFA)#_j ~-&5:._~t!-:'__              3M
  Equipment Schedule A- _ _ _ _ _ between Bryn Mawr Equipment Finance. Lnc .. ("Creditor"') and High
  Plains Radio Network. L.L.C. ("Borrower")

   E11ui1>mc_nt Oescri1>tio11 (Manufacturer, Model number, Serial number, etc.)

  KXYK Transmitter Site
  Rural OI Radio Tower
  Gurdon. AR? I 743

        (I) Orban 2200 Optimod FM Processor. 20Hz- I 5kHz. Freq 2.0Hz-15kl-lz
        (5) Nicom BLK/5, 88-108 MHz, 50ohms, 1-2000W

  K YRC Transmitter Site
  60 I S. 71h St.
  Arkadelphia, AR 71923

        (I) Optimml-AM Orban Model 9100A. 50ohms. 50Hz-9.5k!-lz

    KAFN Trnnsmittcr Site
    600 Neeley St.
···--Bc11to11,.AR--7-201""-- - - - - - - ····-····-·------ - - - - - -

        (I) Nautcl VS! Transmitter. 2.5k W. 2800W. four power amplifiers
        (6) Nicom BLK/5. 88-108 MHz. 50ohms. l-2000W



  Accepted:
  Borrower: fligh Plains Radio Network. L.l.C.

  IJy: _      _z:27--$ ~-fi"'-
  Name; Monte rr~nl~-~--
  Titlc: Member
 '6'.itli'!      '/ - I.?- / J




                                       EXHIBIT H004 - Page 14
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                         Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                             Desc Main
                                                                              Document     Page 30 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     csc
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                             FILING NUMBER: 20-0010752522
     Corporation Service Company                                                                                          FILING DATE: 03/19/2020     10:26 AM
     251 LITTLE FALLS DRIVE                                                                                               DOCUMENT NUMBER: 957072450001
                                                                                                                          FILED: Texas Secretary of State
     Wilmington, DE 19808
                                                                                                                          IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        1a. ORGANIZATION'S NAME
          HIGH PLAINS RADIO NETWORK, L.L.C.
  OR
         1b. INDIVIDUAL'S SURNAME                                         FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


1c. MAILING ADDRESS                                                       CITY                                                    STATE        POSTAL CODE                COUNTRY
 3218 Quincy St                                                            Plainview                                              TX            79072                     USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        2a. ORGANIZATION'S NAME

  OR
         2b. INDIVIDUAL'S SURNAME                                         FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


2c. MAILING ADDRESS                                                       CITY                                                    STATE        POSTAL CODE                COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          FINANCIAL AGENT SERVICES
  OR
         3b. INDIVIDUAL'S SURNAME                                         FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)           SUFFIX


3c. MAILING ADDRESS                                                       CITY                                                    STATE        POSTAL CODE                COUNTRY
 P.O. Box 2576                                                             Springfield                                            IL            62708                         USA
4. COLLATERAL: This financing statement covers the following collateral:
"Accounts, chattel paper, general intangibles, and instruments. Secured Party
has purchased future receivables and/or sale proceeds from Debtor. The sale of
the future receivables and/or sale proceeds of the Debtor is intended to be a
sale and not an assignment for security. Debtor is prohibited from incurring any
debt, transferring future receivables or sale proceeds to any other person or
granting any security interests in its accounts receivable or other assets until
Secured Party has received all amounts due under this Agreement." The secured
party named in this record is acting in a representative capacity for purposes
of forwarding notices & inquiries regarding this record. For more information,
please contact the secured party at the address listed above or at
[UCCSPREP@CSCINFO.COM].




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is   r                           r being administered by a Decedent's Personal Representative
                                                                         held in a Trust (see UCC1Ad, item 17 and Instructions)
6a. Check QDJy if applicable and check QDJy one box:                                                6b. Check QDJy if applicable and check QDJy one box.
r Public-Finance Transaction r Manufactured-Home Transaction r A Debtor is a Transmitting Utility r Agricultural Lien r Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                          Lessee/Lessor      r   Consignee/Consignor        P Seller/Buyer     Bailee/Bailor   Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
  [179407789]

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                                                                                  EXHIBIT H004 - Page 15
                  Case 24-70089-swe11
UCC FINANCING STATEMENT AMENDMENT
                                                                   Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                                  Desc Main
                                                                        Document     Page 31 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
      csc
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                            FILING NUMBER: 20-00107566
      Corporation Service Company                                                                                        FILING DATE: 03/19/2020     10:46 AM
      251 LITTLE FALLS DRIVE                                                                                             DOCUMENT NUMBER: 957079690001
                                                                                                                         FILED: Texas Secretary of State
      Wilmington, DE 19808
                                                                                                                         IMAGE GENERATED ELECTRONICALLY FOR XML FILING
      USA                                                                                                                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1a. INITIAL FINANCING STATEMENT FILE NUMBER
                                                                 1b . r This FINANCING STATEMENT AMENDMENT is to be filed [for record] (or recorded) in the REAL ESTATE RECORDS.
 19-0032986715                                                   Filer: attach Amendment Addendum (Form UCC3Ad) and provide Debtor's name in item 13

2.   WTERMINATION: Effectiveness of the Financing Statement identified above is terminated with respect to the security interest(s) of the Secured Party authorizing this Termination Statement
3. r   ASSIGNMENT (full or partial): Provide name of Assignee in item 7a or 7b and address of Assignee in item 7c and also name of Assignor in item 9.
For partial assignment, complete item 7 and 9 and also indicate affected collateral in item 8

4. r CONTINUATION:              Effectiveness of the Financing Statement identified above with respect to the security interest(s) of Secured Party authorizing this Continuation Statement is continued for the
additional period provided by applicable law

5.   r
    PARTY INFORMATION CHANGE:
Check one of these two boxes. This Change affects Debtor Qir Secured Party of record. AND Check one of these three boxes to:
   CHANGE name and/or address: Complete item 6a or 6b; and item      ADD name: Complete item 7a or 7b,          DELETE name: Give record name
   7a or 7b and item 7c                                              and item 7c                                to be deleted in item 6a or 6b.
6. CURRENT RECORD INFORMATION: Complete for Party Information Change - provide only one name (6a or 6b)
          6a. ORGANIZATION'S NAME


     OR
          6b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                                               ADDITIONAL NAME(S)/INITIAL(S)                          SUFFIX



7. CHANGED OR ADDED IN FORMATION: Complete for Assignment or Party Information Change - provide only one name (7a or 7b) (use exact, full name; do not omit, modify, or abbreviate any
part of the Debtor's name)
          7a. ORGANIZATION'S NAME


     OR
          7b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                                               ADDITIONAL NAME(S)/INITIAL(S)                          SUFFIX


7c. MAILING ADDRESS                                              CITY                                                              STATE           POSTAL CODE                            COUNTRY



8.   r COLLATERAL CHANGE:
Indicate collateral:
                                            Also check one of these four boxes:   r   ADD collateral   r   DELETE collateral   r   RESTATE covered collateral   r   ASSIGN collateral




9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only one name (9a or 9bJ (name of Assignor, if this is an Assignment)
If this is an Amendment authorized by a DEBTOR, check here          and provide name of authorizing Debtor
           9a. ORGANIZATION'S NAME


     OR
           FINANCIAL AGENT SERVICES
          9b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                                               ADDITIONAL NAME(S)/INITIAL(S)                          SUFFIX



10. OPTIONAL FILER REFERENCE DATA:


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                                                                               EXHIBIT H004 - Page 16
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                     Desc Main
                                                                            Document     Page 32 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     Ashley 9036761900
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                             FILING NUMBER: 20-0021729184
     FIRST STATE BANK                                                                                                     FILING DATE: 06/01/2020     01 :52 PM
     POBOX471                                                                                                             DOCUMENT NUMBER: 973558860002
                                                                                                                          FILED: Texas Secretary of State
     Athens, TX 75751
                                                                                                                          IMAGE GENERATED ELECTRONICALLY FOR WEB FILING
     USA                                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       1a. ORGANIZATION'S NAME
          High Plains Radio Network LLC
    OR
         1b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)/INITIAL(S)                          SUFFIX


1c. MAILING ADDRESS                                                    CITY                                                  STATE             POSTAL CODE                          COUNTRY
    PO Box 1478                                                         Plainview                                                TX             79073-1478                          USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       2a. ORGANIZATION'S NAME

    OR
         2b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)/INITIAL(S)                          SUFFIX


2c. MAILING ADDRESS                                                    CITY                                                  STATE             POSTAL CODE                          COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          First State Bank
    OR
         3b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                   ADDITIONAL NAME(S)/INITIAL(S)                          SUFFIX


3c. MAILING ADDRESS                                                    CITY                                                  STATE             POSTAL CODE                          COUNTRY
    PO Box 471                                                          Athens                                                   TX             75751                               USA
4. COLLATERAL: This financing statement covers the following collateral:
Assignment of notes receivable i/n/o HPRN i/a/o $679,045 note balance




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is r   held in a Trust (see UCC1Ad, item 17 and Instructions) r  being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                         6b. Check QDJy if applicable and check QDJy one box.
r    Public-Finance Transaction r          Manufactured-Home Transaction r                A Debtor is a Transmitting Utility r    Agricultural Lien r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                       Lessee/Lessor       r     Consignee/Consignor       r   Seller/Buyer        Bailee/Bailor     Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
    2600225489

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                                                                                EXHIBIT H004 - Page 17
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                             Desc Main
                                                                            Document     Page 33 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     csc
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                               FILING NUMBER: 20-0036016290
     Corporation Service Company                                                                                            FILING DATE: 07/16/2020     07:29 PM
     251 LITTLE FALLS DRIVE                                                                                                 DOCUMENT NUMBER: 983668850001
                                                                                                                            FILED: Texas Secretary of State
     Wilmington, DE 19808
                                                                                                                            IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                    THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        1a. ORGANIZATION'S NAME
          High Plains Radio Network, LLC
  OR
         1b. INDIVIDUAL'S SURNAME                                          FIRST PERSONAL NAME                                        ADDITIONAL NAME(S)/INITIAL(S)                    SUFFIX


1c. MAILING ADDRESS                                                        CITY                                                       STATE            POSTAL CODE                     COUNTRY
 3218 Quincy Street                                                         Plainview                                                  TX               79072                          USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        2a. ORGANIZATION'S NAME

  OR
         2b. INDIVIDUAL'S SURNAME                                          FIRST PERSONAL NAME                                        ADDITIONAL NAME(S)/INITIAL(S)                    SUFFIX


2c. MAILING ADDRESS                                                        CITY                                                       STATE            POSTAL CODE                     COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          U.S. Small Business Administration
  OR
         3b. INDIVIDUAL'S SURNAME                                          FIRST PERSONAL NAME                                        ADDITIONAL NAME(S)/INITIAL(S)                    SUFFIX


3c. MAILING ADDRESS                                                        CITY                                                       STATE            POSTAL CODE                     COUNTRY
 1545 Hawkins Blvd, Suite 202                                               El Paso                                                    TX               79925                              USA
4. COLLATERAL: This financing statement covers the following collateral:
All tangible and intangible personal property, including, but not limited to:
(a) inventory, (b) equipment, (c) instruments, including promissory notes (d)
chattel paper, including tangible chattel paper and electronic chattel paper,
(e) documents, (f) letter of credit rights, (g) accounts, including health-care
insurance receivables and credit card receivables, (h) deposit accounts, (i)
commercial tort claims, U) general intangibles, including payment intangibles
and software and (k) as-extracted collateral as such terms may from time to time
be defined in the Uniform Commercial Code. The security interest Borrower
grants includes all accessions, attachments, accessories, parts, supplies and
replacements for the Collateral, all products, proceeds and collections thereof
and all records and data relating thereto. 855727 8005




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is
6a. Check QDJy if applicable and check QDJy one box:
                                                                     r   held in a Trust (see UCC1Ad, item 17 and Instructions)   r   being administered by a Decedent's Personal Representative
                                                                                                                                      6b. Check QDJy if applicable and check QDJy one box.
r   Public-Finance Transaction         r   Manufactured-Home Transaction r                  A Debtor is a Transmitting Utility        r   Agricultural Lien r     Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                          Lessee/Lessor      r     Consignee/Consignor       r   Seller/Buyer          Bailee/Bailor        Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
  [192793641]

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                                                                                  EXHIBIT H004 - Page 18
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                    Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                               Desc Main
                                                                         Document     Page 34 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     Lien Solutions
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                             FILING NUMBER: 20-0044757968
     **CT Lien Solutions                                                                                                  FILING DATE: 08/25/2020     08:36 AM
     2929 Allen Parkway, Ste. 100                                                                                         DOCUMENT NUMBER: 991994250001
                                                                                                                          FILED: Texas Secretary of State
     Houston, TX 77019
                                                                                                                          IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        1a. ORGANIZATION'S NAME
          HIGH PLAINS RADIO NETWORK, L.L.C.
    OR
         1b. INDIVIDUAL'S SURNAME                                     FIRST PERSONAL NAME                                           ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX


1c. MAILING ADDRESS                                                   CITY                                                          STATE              POSTAL CODE                        COUNTRY
    PO BOX 1478                                                        PLAINVIEW                                                        TX              79073                             USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       2a. ORGANIZATION'S NAME

    OR
         2b. INDIVIDUAL'S SURNAME                                     FIRST PERSONAL NAME                                           ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX


2c. MAILING ADDRESS                                                   CITY                                                          STATE              POSTAL CODE                        COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          C T Corporation System, as representative
    OR
         3b. INDIVIDUAL'S SURNAME                                     FIRST PERSONAL NAME                                           ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX


3c. MAILING ADDRESS                                                   CITY                                                          STATE              POSTAL CODE                        COUNTRY
330 N Brand Blvd, Suite 700,                                           Glendale                                                         CA              91203                             USA
Attn: SPRS
4. COLLATERAL: This financing statement covers the following collateral:
The equipment, personal property and other assets (collectively, "Property"),
financed under, covered by or described in the lease, rental, equipment finance
agreement or installment payment agreement designated as Agreement No. 2550304,
together with all replacements for, additions to, substitutions for and
accessions to the Property and all proceeds of any of the foregoing, including,
without limitation, proceeds of insurance. Secured party/lessor and
debtor/lessee agree that that a more detailed description of the Property being
financed shall be maintained by secured party/lessor among its books and records
in whatever more detailed description of the Property financed is received from
the supplier of such Property and, absent manifest error, such detailed
description shall be deemed dispositive and considered incorporated into the
Agreement.




5. Check Q!l)y if applicable and check Q!l)y one box: Collateral is r · held in a Trust (see UCC1Ad, item 17 and Instructions) r   being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                                6b. Check QDJy if applicable and check QDJy one box.
r    Public-Finance Transaction r         Manufactured-Home Transaction r                A Debtor is a Transmitting Utility         r   Agricultural Lien r      Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                  r   Lessee/Lessor       r     Consignee/Consignor        r   Seller/Buyer       r   Bailee/Bailor    r   Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:



FILING OFFICE COPY


                                                                               EXHIBIT H004 - Page 19
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                           Desc Main
                                                                            Document     Page 35 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
      Lien Solutions
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                              FILING NUMBER: 20-0045702555
     **CT Lien Solutions                                                                                                   FILING DATE: 08/31/2020     11 :42 AM
     2929 Allen Parkway, Ste. 100                                                                                          DOCUMENT NUMBER: 993176830001
                                                                                                                           FILED: Texas Secretary of State
     Houston, TX 77019
                                                                                                                           IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       1a. ORGANIZATION'S NAME
          HIGH PLAINS RADIO NETWORK, L.L.C.
    OR
         1b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                           ADDITIONAL NAME(S)/INITIAL(S)                     SUFFIX


1c. MAILING ADDRESS                                                    CITY                                                          STATE              POSTAL CODE                    COUNTRY
    2651 Co Rd 191                                                     LITTLEFIELD                                                       TX              79339                         USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       2a. ORGANIZATION'S NAME

    OR
         2b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                           ADDITIONAL NAME(S)/INITIAL(S)                     SUFFIX


2c. MAILING ADDRESS                                                    CITY                                                          STATE              POSTAL CODE                    COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          HITACHI CAPITAL AMERICA CORP.
    OR
         3b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                           ADDITIONAL NAME(S)/INITIAL(S)                     SUFFIX


3c. MAILING ADDRESS                                                    CITY                                                          STATE              POSTAL CODE                    COUNTRY
    7808 Creekridge Circle, Ste 250                                    Edina                                                             MN              55439                         USA
4. COLLATERAL: This financing statement covers the following collateral:
All rights to and interest in the Equipment, together with all proceeds,
attachments, accessories, parts, additions and any substitutions thereto, under
Equipment Finance Agreement No. 043-5878100-001




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is r    held in a Trust (see UCC1Ad, item 17 and Instructions) r   being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                                 6b. Check QDJy if applicable and check QDJy one box.
r    Public-Finance Transaction r          Manufactured-Home Transaction r                 A Debtor is a Transmitting Utility        r    Agricultural Lien r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                       Lessee/Lessor        r     Consignee/Consignor       r   Seller/Buyer        Bailee/Bailor       Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:



FILING OFFICE COPY




                                                                                 EXHIBIT H004 - Page 20
             Case 24-70089-swe11                              Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                                           Desc Main
                                                                   Document     Page 36 of 76


                                                                                                                                  21-00201202
UCC FINANCING STATEMENT ANIENDMENT                                                                                                05/1.4/2021 05:-00 PM
FOLLOWdNSTRUCTIONS
 A. NAME & PHONE OF.CONTACT AT FILER (optional)
 Name: Wolters Kluwer Li~n·S61uti~ns·Phone: eoo.:.331-3282 Fax; 818-662-4141
                                                                                                                             '
                                                                                                                                  Illllllll 1111111111111111 FI LED
                                                                                                                                                                  TEXAS
                                                                                                                                                                   SECRETRAT 0~ STATE
 8. E'MAIL CONTACT AT FILER(optional)                                                                                             sos
        uccfilingretum@woltel"Skli.rwer.com                                                                                  i
                                                                                                                             I
 C. SEND 'ACKNOWLEDGMENT TO: (Name and Address)
 >a                                                                                                                               Illllll lllll lllll lllll lllll lllll lllll lllll lllll lllll lllll 111111111111111111
                                                                                                                                  1051697830027
     ~ien·Solutiohs
     • P.O. Box 29071
                                                                             80462180               7                        i'
       Glendale, CA 91209-907-1                                            TXTX                                              :
                                                                                                                                               -            - - - -· -
     L                              File with:·Secretarv of State TX
                                                                                                    _J
                                                                                                                        THE ABOVE'SPACE IS FORAUNG OFFICE USE ONLY
1a. INITIAL FINANCING STATEMENT FILE NUMBER                                                                1b. □ This FINANCING STATEMENT AMENDMENT.ls to be"filed (for record]
190043956542 1112012019 SS,TX                                                                                     (or recorded) in the REAL ESTATE RECORDS
                                                                                                          1        •Filer. attach Amendment Addendum (Form UCC3Ad) and provide De~or's name in Item 13

2.   0 1'£RMINATION: Effectiveness of the Financing Statement identified above is terminated with respect to the secmity lnterest(s) of SeCtJred Party authorizing this Tennination
         Statement

3. [8] ASSIGNMENT (full or partial): Provide name of Assignee in item 7a or 7b, and address of Assignee in item 7c and name of Assignor in item 9
       For partial assignment, compk!te items 7 and 9 and also Indicate affected collateral in Item 8

4.   0 CONTINUATION: Effectiveness of the Financing Statement Identified above with-respect to the security interest(s) of Secured Party authorizing this Continuation StatE!ment is
         continued for the additionat period provided by applicable law

5. □ PARTY INFORMATION CHANGE:
                                                                        AND Check one ol these three boxes to:
     Check ooe ol these two boxes:
                             D Debtor or O Secured Party of record              CHANGE name and/or address:- Complete                 ADD name: Complete item              D DELETE   name: Give record name               =
                                                                                                                                                                                                                           =:
                                                                                                                                                                                                                            -
     This Change affects                                                        ilam6a or.6b; and item 7a or 7b and item 7c           7a or 7b, and item 7c                  lo be deteted i1 item 6a or 6b
6.-CURRENT RECORD INFORMATION: Complete for Party Information Change· provide only one name {6a or 6b)                                                                                                                     =
       6a. ORGANIZATION'S NAME
                                                                                                                                                                                                                           =
                                                                                                                                                                                                                           ""'
                                                                                                                                                                                                                           =-
                                                                                                                                                                                                                           ·==
OR 6b. lNOIVIDUAL'S SURNAME                                                                  FIRST PERSONA~ NAME                                       ADDmONAL NAME(S){NITIAL(S)                        SUFFIX



     CHANGED OR ADDEO INFORMATION· COmpleteforA$$lynmentor PilllylnfomiationChange - provideonl'j one riame{7aor7b) (usae,cac:t fullname·donotOfflil.•modify or.tibrevialeany pa,toflheOeblor'soame)
                                                                                                                                                                                                                            ""'
7

                                                                                                                                                                                                                           =""'
       7a. ORGANIZATION'S NAME
        Midland States'Bank                                                                                                                                                                                                =·
                                                                                                                                                                                                                           =·
                                                                                                                                                                                                                           =
OR·     7b.1NDIVIDUAL'S SURNAME
                                                                                                                                                                                                                           =
                                                                                                                                                                                                                           =·
           INDMDUAL'$ FIRST PERSONAL NAME
                                                                                                                                                                                                                           =

                                                                                                                                                                                                                           ·=--=
                                                                                                                                                                                                                           ~·

           INDIVIDUAL'S ADDITIONAL NAME(S){INITIAl(S)                                                                                                                                                    SUFFIX



 7c. MAILING ADDRESS                                                                         CITY                                                      STATE    IPOSTALCOOE                              COUNTRY

     1801 P.ark-270!Drive, Suite.200                                                     I   St.,Louis                                                 MO          63146                                  USA
8.   C8J: COLLATERAL CHANGE:            Also check one oflhesefourboxes: DADD collateral                  LJ'DELETEcollateral              0 RESTATE covered collateral                       ~ ASSIGN collateral
         lrn:licate collateral:                                                                                                                    '
All of the equipment:and;personal property and all modification and-additions.thereto and replacements and substitutions:therefor, in.whole or in part
including the insurance and-proceeds·thereof,-under.Schedule·No. 22064-002:to·Master Equipment AgreementNo.·22064 dated November 15, 2019
between Secured Party and Debtor.




9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS.AMENDMENT: f'.rollide only QM_.name (9a or 9b) (name of Assignor, if this is an Assignment)
   If this is an Amendment authorized by a DEBTOR. check here and J)fovide name of authorizing Debtor
        9a. ORGANIZATION'S NAME

        C T Corporation System; as representative
OR 9b. lNDNIDUAL'S SURNAME                                                                   ARST PERSONAL NAME                                        AODrTIONAL NAME(S)IINITIAL(S)                     SUFFIX



10. OPTIONAL FILER REFERENCE DATA: Debtor Name: HiQh Pl3iiis Radio Network, L.l.C.
80462180
                                                                          EXHIBIT H004 - Page 21                                                                     Prepared by Lien Solutions. P.O. Box 29071,
FILING OFflCE COPY -                UCC FINANCING STATEMENT AMENDMENT (Fann UCC3) (Rev. 04/20111)                                                                    Glendale, CA 91209-9071 Tel (800) 331-3282
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                      Desc Main
                                                                            Document     Page 37 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     Lien Solutions
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                              FILING NUMBER: 21-0050185870
     **CT Lien Solutions                                                                                                   FILING DATE: 11/10/2021     07:02 PM
     2929 Allen Parkway, Ste. 3300                                                                                         DOCUMENT NUMBER: 1093303830001
                                                                                                                           FILED: Texas Secretary of State
     Houston, TX 77019
                                                                                                                           IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       1a. ORGANIZATION'S NAME
          HIGH PLAINS RADIO NETWORK, L.L.C.
    OR
         1b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX


1c. MAILING ADDRESS                                                    CITY                                                    STATE             POSTAL CODE                         COUNTRY
    3218 Quincy St                                                     Plainview                                                   TX             79072-1906                         USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       2a. ORGANIZATION'S NAME

    OR
         2b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX


2c. MAILING ADDRESS                                                    CITY                                                    STATE             POSTAL CODE                         COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          U.S. BANK EQUIPMENT FINANCE
    OR
         3b. INDIVIDUAL'S SURNAME                                      FIRST PERSONAL NAME                                     ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX


3c. MAILING ADDRESS                                                    CITY                                                    STATE             POSTAL CODE                         COUNTRY
    1310 MADRID STREET                                                 MARSHALL                                                    MN             56258                              USA
4. COLLATERAL: This financing statement covers the following collateral:
1 HARRIS FM 35KWATT TRANSMITTER; 490 AUDIO FEED LINE HJ8-50B; 1 PTEK
EXCITER; 1 NAUTEL TRANSMITTER 5-L T; 1 HARRIS DIGITAL CD EXCITER; 1 ORBAN
8200 AUDIO PROCESSOR; 1 TFT 884 FM MODULATION MONITOR; 1 BIRD RF
MONITORING SYSTEM ; TOGETHER WITH ALL REPLACEMENTS, PARTS, REPAIRS, ADDITIONS,
ACCESSIONS AND ACCESSORIES INCORPORATED THEREIN OR AFFIXED OR ATTACHED THERETO
AND ANY AND ALL PROCEEDS OF THE FOREGOING, INCLUDING, WITHOUT LIMITATION,
INSURANCE RECOVERIES:




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is r    held in a Trust (see UCC1Ad, item 17 and Instructions) r  being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                           6b. Check QDJy if applicable and check QDJy one box.
r    Public-Finance Transaction r          Manufactured-Home Transaction r                 A Debtor is a Transmitting Utility r    Agricultural Lien r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                       Lessee/Lessor        r     Consignee/Consignor       r   Seller/Buyer       Bailee/Bailor      Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:



FILING OFFICE COPY




                                                                                 EXHIBIT H004 - Page 22
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                    Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                              Desc Main
                                                                         Document     Page 38 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     Lien Solutions
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                             FILING NUMBER: 21-0052429500
     **CT Lien Solutions                                                                                                  FILING DATE: 11/24/2021     02:57 PM
     2929 Allen Parkway, Ste. 3300                                                                                        DOCUMENT NUMBER: 1096864240001
                                                                                                                          FILED: Texas Secretary of State
     Houston, TX 77019
                                                                                                                          IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        1a. ORGANIZATION'S NAME
          HIGH PLAINS RADIO NETWORK, L.L.C.
    OR
         1b. INDIVIDUAL'S SURNAME                                       FIRST PERSONAL NAME                                        ADDITIONAL NAME(S)/INITIAL(S)                      SUFFIX


1c. MAILING ADDRESS                                                     CITY                                                       STATE             POSTAL CODE                      COUNTRY
    2300 COUNTRY RD 40                                                   Plainview                                                     TX             79072                           USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        2a. ORGANIZATION'S NAME

    OR
         2b. INDIVIDUAL'S SURNAME                                       FIRST PERSONAL NAME                                        ADDITIONAL NAME(S)/INITIAL(S)                      SUFFIX


2c. MAILING ADDRESS                                                     CITY                                                       STATE             POSTAL CODE                      COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          C T Corporation System, As Representative
    OR
         3b. INDIVIDUAL'S SURNAME                                       FIRST PERSONAL NAME                                        ADDITIONAL NAME(S)/INITIAL(S)                      SUFFIX


3c. MAILING ADDRESS                                                     CITY                                                       STATE             POSTAL CODE                      COUNTRY
330 N Brand Blvd, Suite 700, Attn: Glendale                                                                                            CA             91203                               USA
SPRS
4. COLLATERAL: This financing statement covers the following collateral:
All equipment subject to that certain Agreement Number LA# B382863-000 dated
11/24/2021, between Secured Party as Lessor/Creditor and Debtor as
Lessee/Debtor, and subject to any and all existing and future schedules entered
into pursuant to and incorporating said Agreement, together with all
accessories, parts, attachments and appurtenances appertaining or attached to
any of the Equipment, and all substitutions, trade-ins, proceeds, renewals and
replacements of, and improvements and accessions to the Equipment. LA#
B382863-000




5. Check Q!l)y if applicable and check Q!l)y one box: Collateral is r · held in a Trust (see UCC1Ad, item 17 and Instructions) r   being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                               6b. Check QDJy if applicable and check QDJy one box.
r    Public-Finance Transaction r         Manufactured-Home Transaction r                A Debtor is a Transmitting Utility        r   Agricultural Lien r      Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                  r   Lessee/Lessor       r     Consignee/Consignor        r   Seller/Buyer      r   Bailee/Bailor     r   Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:



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                                                                               EXHIBIT H004 - Page 23
                  Case 24-70089-swe11
UCC FINANCING STATEMENT AMENDMENT
                                                                   Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                                  Desc Main
                                                                        Document     Page 39 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
      csc
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                            FILING NUMBER: 21-00531746
      Corporation Service Company                                                                                        FILING DATE: 12/01/2021     10:33 AM
      251 LITTLE FALLS DRIVE                                                                                             DOCUMENT NUMBER: 1098241440001
                                                                                                                         FILED: Texas Secretary of State
      Wilmington, DE 19808
                                                                                                                         IMAGE GENERATED ELECTRONICALLY FOR XML FILING
      USA                                                                                                                THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1a. INITIAL FINANCING STATEMENT FILE NUMBER
                                                                 1b . r This FINANCING STATEMENT AMENDMENT is to be filed [for record] (or recorded) in the REAL ESTATE RECORDS.
 20-0010752522                                                   Filer: attach Amendment Addendum (Form UCC3Ad) and provide Debtor's name in item 13

2.   WTERMINATION: Effectiveness of the Financing Statement identified above is terminated with respect to the security interest(s) of the Secured Party authorizing this Termination Statement
3. r   ASSIGNMENT (full or partial): Provide name of Assignee in item 7a or 7b and address of Assignee in item 7c and also name of Assignor in item 9.
For partial assignment, complete item 7 and 9 and also indicate affected collateral in item 8

4. r CONTINUATION:              Effectiveness of the Financing Statement identified above with respect to the security interest(s) of Secured Party authorizing this Continuation Statement is continued for the
additional period provided by applicable law

5.   r
    PARTY INFORMATION CHANGE:
Check one of these two boxes. This Change affects Debtor Qir Secured Party of record. AND Check one of these three boxes to:
   CHANGE name and/or address: Complete item 6a or 6b; and item      ADD name: Complete item 7a or 7b,          DELETE name: Give record name
   7a or 7b and item 7c                                              and item 7c                                to be deleted in item 6a or 6b.
6. CURRENT RECORD INFORMATION: Complete for Party Information Change - provide only one name (6a or 6b)
          6a. ORGANIZATION'S NAME


     OR
          6b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                                               ADDITIONAL NAME(S)/INITIAL(S)                          SUFFIX



7. CHANGED OR ADDED IN FORMATION: Complete for Assignment or Party Information Change - provide only one name (7a or 7b) (use exact, full name; do not omit, modify, or abbreviate any
part of the Debtor's name)
          7a. ORGANIZATION'S NAME


     OR
          7b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                                               ADDITIONAL NAME(S)/INITIAL(S)                          SUFFIX


7c. MAILING ADDRESS                                              CITY                                                              STATE           POSTAL CODE                            COUNTRY



8.   r COLLATERAL CHANGE:
Indicate collateral:
                                            Also check one of these four boxes:   r   ADD collateral   r   DELETE collateral   r   RESTATE covered collateral   r   ASSIGN collateral




9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only one name (9a or 9bJ (name of Assignor, if this is an Assignment)
If this is an Amendment authorized by a DEBTOR, check here          and provide name of authorizing Debtor
           9a. ORGANIZATION'S NAME


     OR
           FINANCIAL AGENT SERVICES
          9b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                                               ADDITIONAL NAME(S)/INITIAL(S)                          SUFFIX



10. OPTIONAL FILER REFERENCE DATA:


FILING OFFICE COPY




                                                                               EXHIBIT H004 - Page 24
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                    Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                        Desc Main
                                                                         Document     Page 40 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     csc
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                            FILING NUMBER: 21-0053337519
     Corporation Service Company                                                                                         FILING DATE: 12/01/2021     03:15 PM
     251 LITTLE FALLS DRIVE                                                                                              DOCUMENT NUMBER: 1098419890001
                                                                                                                         FILED: Texas Secretary of State
     Wilmington, DE 19808
                                                                                                                         IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                 THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
         1a. ORGANIZATION'S NAME
           HIGH PLAINS RADIO NETWORK, L.L.C.
    OR
          1b. INDIVIDUAL'S SURNAME                                                FIRST PERSONAL NAME                                 ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX


1c. MAILING ADDRESS                                                               CITY                                                STATE         POSTAL CODE                    COUNTRY
    PO Box 1478                                                                    Plainview                                           TX            79073-1478                    USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
         2a. ORGANIZATION'S NAME

    OR
          2b. INDIVIDUAL'S SURNAME                                                FIRST PERSONAL NAME                                 ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX


2c. MAILING ADDRESS                                                               CITY                                                STATE         POSTAL CODE                    COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
          3a. ORGANIZATION'S NAME
           CORPORATION SERVICE COMPANY, AS REPRESENTATIVE
    OR
          3b. INDIVIDUAL'S SURNAME                                                FIRST PERSONAL NAME                                 ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX


3c. MAILING ADDRESS                                                               CITY                                                STATE         POSTAL CODE                    COUNTRY
PO BOX2576                                                                          Springfield                                        IL            62708                          USA
U CCSPREP@cscinfo.com
4. COLLATERAL: This financing statement covers the following collateral:
(1) RVR TRANSMITTER Serial Number:TX1 0KPS/G-0139 (1) ORBAN 2200 Serial
Number:808122-011 (468) Audio Feed Line The equipment financed under Contract
1053897 listed above, whether now owned or hereafter acquired, together with all
personal property installed in, affixed to or used in connection therewith and
all present or future: (i) additions, accessories, accessions, attachments,
parts, supplies, related software, intellectual property, rights, licenses and
improvements thereto; (ii) substitutions, renewals, replacements and purchase
options thereof; (iii) insurance, warranty, and other third-party claims; (iv)
Debtor's rights in connection with a third-party's use of such equipment under a
sublease, rental or similar agreement; (v) proceeds and product in any form
(including but not limited to insurance and sale proceeds) of each of the
foregoing, whether it be cash, non-cash or in any other form; and (vi) to the
extent the equipment identified herein is construed as or deemed inventory, that
inventory and all accounts, accounts receivable, cash proceeds and all other
proceeds related thereto or derived therefrom.




5. Check Q!l)y if applicable and check Q!l)y one box: Collateral is r · held in a Trust (see UCC1Ad, item 17 and Instructions) r   being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                                   6b. Check QDJy if applicable and check QDJy one box.
r                        r Manufactured-Home Transaction r A Debtor is a Transmitting Utility
     Public-Finance Transaction                                                                r Agricultural Lien r Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable): r Lessee/Lessor r Consignee/Consignor r Seller/Buyer r Bailee/Bailor r Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
    [222610896]

FILING OFFICE COPY


                                                                               EXHIBIT H004 - Page 25
         Case 24-70089-swe11                                 Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                                     Desc Main
                                                                  Document     Page 41 of 76




UCC FINANCING STATEMENT
FOLLOW INSTRUCTIONS                                                                                                    i 21-,0053543376
                                                                                                                         11/29/2021 05 ,,00 PM


                                                                                                                                                            ;:~~~~<
 A. NAME & PHOt-.,IE OF CONTACT AT FILE~ (optiona!)
 Name: Wolters Kluwer lien Solutions Phone: 800-331-3282 Fax: 818-662-4141
 B. E-MAIL CONTACT AT FILER (optional)                                                                                iI 1111111111111111111111111
                                                                                                                         sos
                                                                                                                                                                                 >mE
     uccfilingretum@wolterskluwer.com
 C. SEND ACKNOWLEDGMENT TO: (Name and Address)
                                                                                                                      I IIIIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIIIIIIII IIIII IIII IIII
   f""i:ien,Solufions
       P.O. Box 29071
                                                                             83619833           7        I
                                                                                                                            1098780580010
       Glendale, CA 91209-9071                                             TXTX                                       I




   L                                                                                            _J'          2--- ' - -                                  - --~-- --- --- ----
                                  File with:,Secretarv of State, TX                                                THE ABOVE SPACE IS FOR Fll:ING OFFICE.USE ONLY
1. DEBTOR'S NAME: Provide only Q!!!!. Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); If any part o1the Individual Debtor's
   name will not fit In line 1b, leave aD of item 1 bb3nk, c:heck here D
                                                                       and provide the Individual Debtot information in Item 10 of the Fmandng Statement Addendum (Form UCC1Ad)
       1a. ORGANIZATION'S NAME

       High Plains Radio Network, L.L.C.
OR 1b. lNOMDUAL'S SURNAME
                                                                                         FIRST PERSONAi.: NAME                                  ADDffiONAL NAME(S)/INITIAL(S)                      SUFFIX


   '
1C: MAILING ADDRESS                                                                      CITY                                                                                                      COUNTRY
                                                                                                                                                STATE      IPOSTALCOOE

 72S·fM,2013                                                                              Friona.                                                   TX        79035                                 USA
2. DEBTOR'S NAME: Provide only one Debtor name {2a or 2b) {use exact, fuU name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual Debtor's
  name win not fit in line 2b, leave an of item 2 blank, check here    Q and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
       2a. ORGANIZATION'S NAME



ORI    2b. lNDMOUAL'S SURNAME                                                            FIRST PERSONAL NAME                                    ADDmONAL NAME(Sp'INITIAL.(S)                       SUFAX



2c. MAILING ADDRESS                                                                      CITY                                                   STATE      I POSTAL CODE                           COUNTRY




3 SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY)· Provide only one Secured Party name (3a or 3b)
       3a. ORGANIZATIOfofS NAME

       CT CORPORATION SYSTEM, AS REPRESEN:rATIVE
OR     Jb. lNDNIOUAL'S SURNAME                                                           ARST PERSONAL NAME                                     AOOITIOHAL NAME(S)/INITIAL(S)                      SUFAX



 Jc. MAIUNG ADDRESS

 330 N'Brand Blvd, Suite 700; Attn: SPRS
                                                                                         CHY

                                                                                          Glendale
                                                                                                                                                '
                                                                                                                                                ,STATE

                                                                                                                                                • CA
                                                                                                                                                           I POSTAL CODE

                                                                                                                                                              91203
                                                                                                                                                                                                   COUNTRY

                                                                                                                                                                                                    USA
4. COLLATERAL: This financing statement covers the following coDateral:
This filing covers the following properties, assets and rights of:Debtor, 'v'f~ether no~ ov,med or he~after acquifed (collectiye_ly t~~ "Collateral':): (a) all
personal'property d8scribedjbe!0w or.on,any ex~ibit attached hereto, w_hich exhibit"is·incorporated by reference.herein·(•Specified ltems");Jb} any and.all
~dditions, replacements, parts,_or accessories to the Sp~_cified ltems;.(c) any,rental, chattel paper, accounts, ~curity:depostts, relating,to the Specified
Items or the Agreement; and (d) all proceeds.of any and all.of the foregoing. In the event serial;numbers, vehlde identification numbers or similar
information is induded below, on.an-exhibit attached 1hereto or otherwise in-the description of.CoHateral, such information 1has been added by Secured
Party to the best of its infonnation in-an effort to avoid confusion but is not intended to, and shall nc:it. limit the above description of Collateral.

Collateral Equipment Exhibit attached
             1




5. Checf< !?nil if applicable and ·check !?nllone box: Collateral is     held in a Trust (see UCC1Ad, Item 17 and Instructions) Obeing administered by a Decedent's Personal Representative
6a. Check .Q!!!Y if applicable and check 2!!ll'.. one box:                                                                            6b. Check Qllil if applicati,e and check 2!lb: one box:
                                  D Manufactured:tiome Transaction D .A Debtor is a.Transmitting utility
          Pu bric-Finance Transaction                                                                      O Agric:ulttiral Lien                                             O    Non-UCC Filing
7. ALTERNATIVE D€SlGNATION (if applicable): q Lessee/Lessor      D Consigneti!Consignor     q Seller/Buyer   p BaileeJBaiior                                                       D Licensee/licensor
8. OPTIONAL FILER REFERENCE DATA:
83619833                                                               EXHIBIT H004 - Page 26
                                                                                                                                                                Prepared by Lien Solutlolls, P.O. Bo. 29071,
Fll:ING OFACE COPY -              UCC FINANCING STATEMENT (Form UCC1) (Rev. 04120111)                                                                           Glendale, CA 91209-9071 Tel (800) 331·3282
Case 24-70089-swe11            Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                          Desc Main
                                    Document     Page 42 of 76




                                              EFA Schedule "A"                                    Conlrad #:

           1
           1           -model#1lC30DI..CD FM - -
                       ~ Eloclronic82S¥.W modelllFCC ~
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                                      EXHIBIT H004 - Page 27
        Case 24-70089-swe11                                  Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                                          Desc Main
                                                                  Document     Page 43 of 76




UCC FINANCING STATEMENT
                                                                                                                       21-0058331679
                                                                                                                       12/28/2021 05 :•00 PM
·FOLLOW,INSTRUCTIONS
 A. NM!E & PHONE OF CONTACT AT FILER (optional)
 Name: Wrilters'Klui,ver,Lie~ Solutions Phone: 800-331-3282 Fax: 818-662-4141
                                                                                                                                               \\\tILED
                                                                                                                           \\\\\\\\\\\\\\\\\\\\\ T::;:.,..,          0
                                                                                                                                                                         ,   sm•                            '
 8. E-MAIL CONTACT.AT FILER (optional)
      uccfilingreturn@wolterskl~er.com
 c: SEND 'ACKNOWLEDGMENT TO: (Name and Address) 23372 - BLUE BRIDGE
                                                                                                                           ii~\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\\
     ji:ien .Solutions
        P:O .. Box 29071
                                                                               84073345           7                I         1101148590020
                                                                                                                                                                                                                \
        Glendale, CA •91209-9071                                             TXTX                                                                                                                           /
                                                                                                                                                                                  -    --     -
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     L
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                                                                                                                       '
                                                                                                  _J                                '




                                  FiI8 with: secretarv of State, TX                                           '2--         ~HE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME: Provide only .Qlli!.•Oebtor name (ta Of 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Oeb1or·s name); if any part of the Individual Debtor's
  name will not fit in line 1b, leave afl of item ,1 blank, check here   D and provide the Individual Debtor information in item 10 of the financing Statement Addendum (Form UCC1Ad)
      la. ORGANIZATION'S NAME

      HighPlains Radio Network, L.L.C.
OR    1b. INDIVIDUAL'S SURNAME                                                             FIRST PERSONA!.: NAME                                  ADDITIONAL NAME{S)llNITIAL(S)                   SUFFIX



1c. MAILING ADDRESS                                                                        CITY                                                   STATE       IPOSTAL CODE                        COUNTRY

 2300 Countn••Road 40                                                                       Plainview                                              TX             79072                           USA
2. DEBTOR'S NAME: Provide only Q!!g Oeb1or name (2a or 2b) (use exact, full name; do not omit. modify, or abbreviate any part of the Debtor·s name); if any part of the Individual Debtor's
  name will not fit in line 2b, leave an of item 2 blank. check here     O and provide the Individual Debtor infonnation in item 10 of the Financing Statement Addendum (Form UCC1Ad)
      2a. ORGANIZATION'S NAME


OR    2b. lNOIVIOUAL'S SURNAME                                                             FIRST PERSONAl:NAME                                    ADOITTONALNAME(S)/INmAL(S)                      SUFFIX



2c. MAILING ADDRESS                                                                        CITY                                                   STATE       IPOSTAL CODE                        COUNTRY



3 SECURED PARTY'S·NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY)· Provide only one Secured Party name (3a or 3b)
      3a. ORGANIZATION"$ NAME

       Blue Bridge'Financial,LLC
OR' 3b. INDIVIDUAL'S SURNAME
                                                                                           FIRST PERSONAL NAME                                    AODrrlONAl NAME(S)'INITIAL(S)                   SUFFIX



 Jc. MAILING ADDRESS                                                                       CITY                                                   STATE 1·POSTAL CODE                             COUNTRY

 1,1921'Freedom Dr. Suite 1130                                                              Reston                                                     VA         20190                            usA
4. COLLATERA1.: This financmg statement covers the following collateral:
All!ltems oniProcess Technologies & Service~, ti.LC lf'lvoice Number 20211105E




5. Check 2!!b'.. if applicable and check Q!J.!yone box: Coll21teral is· 0held in a Trust (see UCC1Ad, item 17 and Instructions) Obeing administered by a Decedent's Personal Representative
6a. Check~ if applicable and check Q!J.!y one box:                                                                                       ,6b. Check .Qllii'. if applicabte and check Q!!!Y one box:

         Public-Finance Transaction          O Manufactured-Home Transaction              D A Debtor is a Transmitting U@ty                    D ·Agricultural Lien               O Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):            O lessee/lessor              O Consignee/Consignor              p SeHE!r/Buy_er             O B3iiee/Bailo{                    q Licensee/licensor
8. OPTIONAL FILER REFERENCE DATA:
84073345                                      142995                      EXHIBIT H004 - Page 28                                                            142995
                                                                                                                                                                  Prepared by Lien Solutions. P.O. Box 29071.
FILING OFFICE COPY -              UCC FINANCING STATEMENT (Fonn UCC1) (Rev. 04120/11)                                                                             Glendale, CA 91209-9071 Tel (800) 331·3282
   Case 24-70089-swe11                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                    Desc Main
                                                  Document     Page 44 of 76


                                                                                                                                Invoice
  PT&f';i
 Process Tschno/ogiss & Ssrvlcss                                                    Phone#                           Date              Invoice #

I 0612-D Providence Road, #716                                                  704-817-5950                       12109/2021          202I I I05E
Charlotte, NC 28277-0233"

  Bill'To                                                                              Ship To

·High Plains Radio Network LLC                                                     High Plains Radio Network LLC
-PO Box 1478                                                                       2300 Country Rd 40
 Plainview, TX 79073                                                             • _Plain\'iew, TX·79072
.USA                                                                               USA




      P.O.No.                    Payment               Rep          '    Ship Date           Ship Via                       lncoterm

                            Due on receipt              PV                12103/2021

         Item                                 Description                                    Qty            Rate(USD)                  Amount
Equip.                •Harris,fM,25K                                                                    I          95,31lU.00             95;31lU,0U
                       ID kW to 25-k\V. Freq 87.5 to !08 MHz, DCFM, RF
                      ·50.;hms
                       SN 85-8593°012
Equip,                :Feed Line-·HJ8-50B                                                           510                47.00              23,970.00
                      , Air.Dielectric Coaxial Cable. corr copper. 3 in. black PE
                      jaCket
Equip.                •Air Dielectric Coaxial Cable, corr copper, 3 iri,:black PE                       I           2,835.00               2,835.00
                      jacket. Model #719-00
                      -AES3 digital; sampling rates 32kHz. 44.lkllz, 4RkHz,
                       96kHz
                       SN 166
Equip.                :comrex Brick link Model #BLII 1937                                               I           1,850.00               1.850.00
                      1
                       Ballanced·audio in/output Odbu, tri'color displays
Equip.                :QEI Quantum·M FM EXCITER                                                         I           3,995:00               3;995:00
                      ·30W FM· exciter, I..ZkW to 9.6kW.-50 Ohms
                      :sN 20Ml40
Equip.                :comrex Brick I.::ink                                                             I           1,850.00               1,850.00
                       Model #BL--3587
                       Ballanced audio:in/output OdbU, tri' COlor-displa)'s
Shipping Charge        Shipping                                                                         I           1,000.00               !;ODO.OD




'J1iank you for your business:
                                                                                                   Subtotal USO                        $130,800.00

Bank Info:
Bank of America, NC2-I 08'° I'° I                                                                  Sales Tax (0.0%)                           $0.00
79 M Providence Road
Charlone,iliiiiiillll
Account#:                                                                                          Total USO                           $l30;800.00
Swiftcode:                                                    Pierre vanDongen
Wire Routing# (                                              Celt: 704-907-6505                    Payments/Credits
ACH,Routing #                                                                                                                                 $0.00
                                                        pierre@processtechgroup.com
*Ctistorner Must Pay Wire Trarifer Fees*
                                                  Website: www:processtechgroup.com                Balance Due                         $130,800.00


                                                     EXHIBIT H004 - Page 29
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                         Desc Main
                                                                            Document     Page 45 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     Lien Solutions
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                             FILING NUMBER: 22-0009168432
     **CT Lien Solutions                                                                                                  FILING DATE: 02/24/2022     06:39 AM
     2929 Allen Parkway, Ste. 3300                                                                                        DOCUMENT NUMBER: 1123345870001
                                                                                                                          FILED: Texas Secretary of State
     Houston, TX 77019
                                                                                                                          IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        1a. ORGANIZATION'S NAME
          High Plains Radio Network, L.L.C.
    OR
         1b. INDIVIDUAL'S SURNAME                                        FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)                    SUFFIX


1c. MAILING ADDRESS                                                      CITY                                                     STATE            POSTAL CODE                     COUNTRY
    PO Box 1478                                                           Plainview                                                   TX            79073                          USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        2a. ORGANIZATION'S NAME

    OR
         2b. INDIVIDUAL'S SURNAME                                        FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)                    SUFFIX


2c. MAILING ADDRESS                                                      CITY                                                     STATE            POSTAL CODE                     COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          Meridian Equipment Finance LLC
    OR
         3b. INDIVIDUAL'S SURNAME                                        FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)                    SUFFIX


3c. MAILING ADDRESS                                                      CITY                                                     STATE            POSTAL CODE                     COUNTRY
    9 Old Lincoln Highway                                                 Malvern                                                     PA            19355                              USA
4. COLLATERAL: This financing statement covers the following collateral:
1 - FMQ-3500 7500W 87.5 to 108Mhz; 1 - FMQ-1000 30000W; 1 - Transparent Plus
695 FM Exciter; 1 - 675FM Exciter; 2 - 816R-4C Transmitter 42kW Nominal; 1 -
STL Receiver RSL 900 1-Plus-X Dual IP-8 Adapter




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is r   held in a Trust (see UCC1Ad, item 17 and Instructions) r   being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                              6b. Check QDJy if applicable and check QDJy one box.
r    Public-Finance Transaction r          Manufactured-Home Transaction r                A Debtor is a Transmitting Utility      r   Agricultural Lien r     Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                       Lessee/Lessor       r     Consignee/Consignor       r   Seller/Buyer        Bailee/Bailor        Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:



FILING OFFICE COPY




                                                                                EXHIBIT H004 - Page 30
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                         Desc Main
                                                                            Document     Page 46 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     csc
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                               FILING NUMBER: 22-0010082055
     Corporation Service Company                                                                                            FILING DATE: 02/27/2022     09:39 PM
     251 LITTLE FALLS DRIVE                                                                                                 DOCUMENT NUMBER: 1124328640001
                                                                                                                            FILED: Texas Secretary of State
     Wilmington, DE 19808
                                                                                                                            IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                    THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
         1a. ORGANIZATION'S NAME
           High Plains Radio Network, L.L.C.
    OR
          1b. INDIVIDUAL'S SURNAME                                                     FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX


1c. MAILING ADDRESS                                                                    CITY                                                 STATE          POSTAL CODE                  COUNTRY
 PO Box 1478                                                                            Plainview                                            TX             79073                       USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
         2a. ORGANIZATION'S NAME

    OR
          2b. INDIVIDUAL'S SURNAME                                                     FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX


2c. MAILING ADDRESS                                                                    CITY                                                 STATE          POSTAL CODE                  COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
          3a. ORGANIZATION'S NAME
           CORPORATION SERVICE COMPANY, AS REPRESENTATIVE
    OR
          3b. INDIVIDUAL'S SURNAME                                                     FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX


3c. MAILING ADDRESS                                                                    CITY                                                 STATE          POSTAL CODE                  COUNTRY
 PO BOX 2576 UCCSPREP@cscinfo.com Springfield                                                                                                IL             62708                       USA
4. COLLATERAL: This financing statement covers the following collateral:
KVWC Harris Z 3.5 FM Transmitter, Harris Micromax 30 w Exciter, Broadcast
Electronics 1A AM Transmitter, Gates Air BC 1G AM Transmitter, Harris Gates
Modulation Monitor, Belar Modulation Monitor FMS-1, Belar Stereo Monitor
FMS-1,Orban 81 00A FM Processor, ESI SOL Phone System Server, Autogram Peacemaker
1032 Console, Infinity Wall Speakers, XDS Pro-4 Sat ReceiverWafener IPump Sat
Receiver 6420, Sage EAS System, Arrakis Automation System, Arrakis Broadcast
Bridge, Marti RR-50 Receiver, Yamaha MG124CX Stereo Mixer, lnovonics AM Audo
Processor 222, LPB Monograham II Console, Shure Microphone SM7B, Shure
Microphone #267, Electro Voice 635A Microphone, Shipping The equipment
financed under Contract #1067515 listed above, whether now owned or hereafter
acquired, together with all personal property installed in, affixed to or used
in connection therewith and all present or future: (i) additions, accessories,
accessions, attachments, parts, supplies, related software, intellectual
property, rights, licenses and improvements thereto; (ii) substitutions,
renewals, replacements and purchase options thereof; (iii) insurance, warranty,
and other third-party claims; (iv) Debtor's rights in connection with a
third-party's use of such equipment under a sublease, rental or similar
agreement; (v) proceeds and product in any form (including but not limited to
insurance and sale proceeds) of each of the foregoing, whether it be cash,
non-cash or in any other form; and (vi) to the extent the equipment identified

5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is
6a. Check QDJy if applicable and check QDJy one box:
                                                                     r   held in a Trust (see UCC1Ad, item 17 and Instructions)   r   being administered by a Decedent's Personal Representative
                                                                                                                                             6b. Check QDJy if applicable and check QDJy one box.
r   Public-Finance Transaction         r   Manufactured-Home Transaction r                  A Debtor is a Transmitting Utility              r·Agricultural Lien r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                          Lessee/Lessor      r     Consignee/Consignor       r   Seller/Buyer        Bailee/Bailor       Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
  [227505028]




                                                                                  EXHIBIT H004 - Page 31
             Case 24-70089-swe11                        Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                Desc Main
page 2
                                                             Document     Page 47 of 76
UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS
9: NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line 1b was left
blank because Individual Debtor name did not fit, check here

         9a. ORGANIZATION'S NAME
         High Plains Radio Network, L.L.C.
   OR
         9b. INDIVIDUAL'S SURNAME

         FIRST PERSONAL NAME

         ADDITIONAL NAME(S)/INITIAL(S)                                         SUFFIX
                                                                                                       THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

10. DEBTOR'S NAME: Provide (10a or 10b) only one additional Debtor name or Debtor name that did not fit in line 1b or 2b of the Financing Statement (Form UCC1) (use exact, full
name; do not omit, modify, or abbreviate any part of the Debtor's name) and enter the mailing address in line 10c
       10a. ORGANIZATION'S NAME
  OR

         10b. INDIVIDUAL'S SURNAME


        INDIVIDUAL'S FIRST PERSONAL NAME


        INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                             SUFFIX


10c. MAILING ADDRESS                                                CITY                                        STATE          POSTAL CODE                     COUNTRY


11. r   ADDITIONAL SECURED PARTY'S NAME QI r           ASSIGNOR SECURED PARTY'S NAME: Provide only one name (11a or 11b)
         11a. ORGANIZATION'S NAME

  OR
         11 b. INDIVIDUAL'S SURNAME                                 FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)                  SUFFIX


11c. MAILING ADDRESS                                                CITY                                        STATE          POSTAL CODE                     COUNTRY


12. ADDITIONAL SPACE FOR ITEM 4 (Collateral)


herein is construed as or deemed inventory, that inventory and all accounts,
accounts receivable, cash proceeds and all other proceeds related thereto or
derived therefrom.




13. rThis FINANCING STATEMENT is to be filed [for record] (or       14 - This FINANCING STATEMENT
recorded) in the REAL ESTATE RECORDS (if applicable)                r covers timber to be cut r covers as-extracted collateral ris filed as a fixture filing
15. Name and address of a RECORD OWNER of real estate               16. Description of real estate:
described in item 16 (if Debtor does not have a record interest):




17. MISCELLANEOUS:


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                                                                    EXHIBIT H004 - Page 32
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                       Desc Main
                                                                            Document     Page 48 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     Ailco Equipment Finance Group, Inc. 262-549-6640
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                             FILING NUMBER: 22-0011706382
     Ailco Equipment Finance Group, Inc.                                                                                  FILING DATE: 03/09/2022     08:30 AM
     W222N833 Cheaney Rd.                                                                                                 DOCUMENT NUMBER: 1127502770002
                                                                                                                          FILED: Texas Secretary of State
     Waukesha, WI 53186
                                                                                                                          IMAGE GENERATED ELECTRONICALLY FOR WEB FILING
     USA                                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        1a. ORGANIZATION'S NAME
          High Plains Radio Network, L.L.C.
    OR
         1b. INDIVIDUAL'S SURNAME                                        FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)                      SUFFIX


1c. MAILING ADDRESS                                                     CITY                                                      STATE             POSTAL CODE                      COUNTRY
    808 Main Street                                                       Altus                                                       OK             73522                           USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        2a. ORGANIZATION'S NAME

    OR
         2b. INDIVIDUAL'S SURNAME                                        FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)                      SUFFIX


2c. MAILING ADDRESS                                                     CITY                                                      STATE             POSTAL CODE                      COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          Aiko Equipment Finance Group, Inc.
    OR
         3b. INDIVIDUAL'S SURNAME                                        FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)                      SUFFIX


3c. MAILING ADDRESS                                                     CITY                                                      STATE             POSTAL CODE                      COUNTRY
    W222N833 Cheaney Road                                                 Waukesha                                                    WI             53186                           USA
4. COLLATERAL: This financing statement covers the following collateral:
Communications Broadcasting Equipment described as follows:
(1) XDS Pro Satelite receiver
(1) XDS Pro 4Q Satelite receiver
(1) Wegener Ipump 6420 Audio Server
(1) Sage Digital ENDEC Model 3644
(1) Ni Com STL Transmitter TSL 91 0
(1) TFT STL Transmitter 1.3-2.5 GHz
(1) Standard TVM 450 A/V Modulator
(2) Arrakis ARC-8 Board
(1) Mackie DFX6 Studio Board
(1) ADTEC MPEG Commercial Inserter "Duet"
(1) Advanced Media Technologies MPEG Commercial "Soloist 2"
(1) Coverage Media System 3550 M4




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is r   held in a Trust (see UCC1Ad, item 17 and Instructions) r   being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                              6b. Check QDJy if applicable and check QDJy one box.
r    Public-Finance Transaction r          Manufactured-Home Transaction r                A Debtor is a Transmitting Utility      r   Agricultural Lien r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                       Lessee/Lessor       r     Consignee/Consignor       r   Seller/Buyer        Bailee/Bailor      Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
    EFA #03901-001 L

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                                                                                EXHIBIT H004 - Page 33
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                         Desc Main
                                                                            Document     Page 49 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     csc
B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                               FILING NUMBER: 22-0013152440
     Corporation Service Company                                                                                            FILING DATE: 03/16/2022     09:59 AM
     251 LITTLE FALLS DRIVE                                                                                                 DOCUMENT NUMBER: 1129966420001
                                                                                                                            FILED: Texas Secretary of State
     Wilmington, DE 19808
                                                                                                                            IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                    THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
         1a. ORGANIZATION'S NAME
           High Plains Radio Network, L.L.C.
    OR
          1b. INDIVIDUAL'S SURNAME                                                     FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX


1c. MAILING ADDRESS                                                                    CITY                                                 STATE          POSTAL CODE                  COUNTRY
 PO Box 1478                                                                            Plainview                                            TX             79073                       USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
         2a. ORGANIZATION'S NAME

    OR
          2b. INDIVIDUAL'S SURNAME                                                     FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX


2c. MAILING ADDRESS                                                                    CITY                                                 STATE          POSTAL CODE                  COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
          3a. ORGANIZATION'S NAME
           CORPORATION SERVICE COMPANY, AS REPRESENTATIVE
    OR
          3b. INDIVIDUAL'S SURNAME                                                     FIRST PERSONAL NAME                                  ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX


3c. MAILING ADDRESS                                                                    CITY                                                 STATE          POSTAL CODE                  COUNTRY
 PO BOX 2576 UCCSPREP@cscinfo.com Springfield                                                                                                IL             62708                       USA
4. COLLATERAL: This financing statement covers the following collateral:
(1) HT 5CD Transmitter; (1) 10Watt Exiter; (1 )STL Receiver SR-20C; (1) Sicon-8
RemoteController; (1) ARC-16 Remote Control Unit; The equipment financed under
Contract 1069481 listed above, whether now owned or hereafter acquired, together
with all personal property installed in, affixed to or used in connection
therewith and all present or future: (i) additions, accessories, accessions,
attachments, parts, supplies, related software, intellectual property, rights,
licenses and improvements thereto; (ii) substitutions, renewals, replacements
and purchase options thereof; (iii) insurance, warranty, and other third-party
claims; (iv) Debtor's rights in connection with a third-party's use of such
equipment under a sublease, rental or similar agreement; (v) proceeds and
product in any form (including but not limited to insurance and sale proceeds)
of each of the foregoing, whether it be cash, non-cash or in any other form; and
(vi) to the extent the equipment identified herein is construed as or deemed
inventory, that inventory and all accounts, accounts receivable, cash proceeds
and all other proceeds related thereto or derived therefrom.




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is
6a. Check QDJy if applicable and check QDJy one box:
                                                                     r   held in a Trust (see UCC1Ad, item 17 and Instructions)   r   being administered by a Decedent's Personal Representative
                                                                                                                                             6b. Check QDJy if applicable and check QDJy one box.
r   Public-Finance Transaction         r   Manufactured-Home Transaction r                  A Debtor is a Transmitting Utility              r·Agricultural Lien r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                          Lessee/Lessor      r     Consignee/Consignor       r   Seller/Buyer        Bailee/Bailor       Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
  [22857611 0]

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                                                                                  EXHIBIT H004 - Page 34
     Case 24-70089-swe11                                     Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                                                        Desc Main
                                                                  Document     Page 50 of 76


                                                                                                                                   22-0014189754
                                                                                                                                   03/22/2022 05:00 PM
 UCC FINANCING•STATEMENT
 FOLLOW INSTRUCTIONS
  A. NAME & PHONE OF CONTACT_AT FILER (optional)                                                                                   IIIIIIIII IIIII IIIII II IIII FI LED
                                                                                                                                                                    TEXAS
                                                                                                                                                                    SECRETARY OF STATE
     csc          1-800-858-5294                                                                                                   sos
  B. E-MAIL CONTACT AT FILER (optional)
      SPRFiiing@cscglobal.com
  C. SEND ACKNOWl£DGMENT TO: (Name and AddresS)
                                                                                                                                   IIIIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIII IIII
                                                                                                                           '       1132039250016
    [228787559
      csc
                                                                                                          7       '
      801 Adlai Stevenson Drive
                                                                                                                               -                                                         .-
      Springfield, IL 62703                                                              FilecMn: Texas

    L                                                                                          (S.O.:!J

' 1. DEBTOR'S·NAME: Provide only gca Debtor name (1a or 1b) (use exact, full name; do not omit,' modify,•or abbreviate any part of the Debtor's name): if any part of the Individual Debtor's
                                                                                                  J_THE'ABOVE SPACE IS FOR FILING OFFICE USE ONLY

    name will not fit in line 1b, leave aU of Item 1 blank, check. here o.and provide the Individual Debtor infonnation In item 10 of the Financing Statement Addendum {Form UCC1Ad)

      "· ORGANIZATION'S NAME HIGH PLAINS RADIO NEl'WORK, L.L.C,
 OR 1b. INDIVIDUAL'S SURNAME                                                                    FIRST PERSONAL NAME                                             ADDITIONAL NAME(S)/INITIAL(S)                        SUFFIX



 1c. MAILINGADDREss20, w_est.Grand Avenue                                                       CITY                                                            STATE        !POSTAL CODE                            COUNTRY
                                                                                                Frederick                                                        OK            73542                                  USA
 2. •DEBTOR'S NAME: Provide only QD1. Debtor name (2a or 2b) (usa axact, full name; do not omiL modify, or abbra'liate any part of the DebtOf's name); if any part of the lndMdual Debtor's
     name will not fit in line 2b, leave a11 ·ot item 2 blank, chac:k here   D and 'provide tha Individual Debtor lnfo.rmation in item 10 of the Financing Statement Addendum (Form UCC1Ad)
      2a. ORGANIZATION'S NAME


 OR 2b.' INDIVIDUAL'S SURNAME                                                                   FIRST, PERSONAL NAME                                            ADDITIONAL NAME(S)/INITIAL(S)                        SUFFIX


 2c. MAILING ADDRESS                                                                            CITY                                                            STATE        IPOSTAL CODE                            COUNTRY



 3 SECURED PARTY'S NAME·(or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY)· Provide only mm. Secured Party Mme f3a o, 3b)
      3a. ORGANIZATION'S NAME          MARLIN !.:EASING CORP
 OR 3b. lNDlVIDUAL'S SURNAME                                                                     FIRST PERSONAL NAME                                            ADDITIONAL NAME(S)/INITIAL{S)                        SUFFIX



 ,,. MAILINGADDRESS300,FELLOWSHIP RD                                                             CITY                                                           ST ATE       IPOSTAL CODE                            COUNTRY
                                                                                                 MOUNT LAUREL                                                    NJ            08054                                  USA

  viia6t"l'E'<f~ip%'e"nf.'§g~'§!'.!\Wat~~~ffl'e'HED,
  AND ALL REPLACEMENTS, SUBSTITUTIONS, ACCESSORIES, ACCESSIONS; ADD-ONS; AND ALL PROCEEDS
  AND ACCOl:iNTS'OF THE DEBTOR ARISING•OUT OF OR RELATEDTO THE·FOREGOING. THIS FINANCING
  STAliEMENT RELATESTO AN EQUIPMENTFINANCE AGREEMENT BETWEENTHE DEBTOR•(AS CUSTOMER)
  AND THE SECURED PARTY (AS FINANCE COMPANY). THIS FINANCING STATEMENT IS FILED TO GIVE NOTICE
  OFSECURED PARTY'S FIRST'PRIORITY, PURCHASE MONEY SECURITY INTEREST IN THE:COLLATERAL.




  5: Check m if applicabl& and chei:k .cmll one box: •Collateral .ls           held tn a :Trust (see ucC 1Ad," Item .17 ·and Instructions)              being administered by a Decedent's Pereonal Representative
  6a. Chect   m if applicable and check !Xllx one bO,c                                                                                                 Sb. Check l2lltt if applicable and d'leck l2llll one box:

          !PubliC:.Financa Transaction                Manufactured-Homa Transaction                    A Debtor is a .Transmitting UtiUty                          Agricultural Lien

  7. ALTERNATIVE DESIGNATION (if applicable):                   LeSS&e/lassor                  cons!gnee/ConsiQnor.                     Sauer/Buyer                      Bailee/Bailor                    _Licensee/Licensor

  8. OPTIONAL FILER REFERENCE DATA,:~ 509019
                                                                                                                                                                                                                  2287 87559

 FIUNG·OFFICE COPY,- UCC FINANCING STATEMENT (Form UCC1) (Rev.. 04/20/11)
                                                                         EXHIBIT H004 - Page 35
              Case 24-70089-swe11                    Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                 Desc Main
_ _ DocuSign,Envelope ID:-F9D76187"ABEe-te!l64leC3"C8E09B805208
                                                          Document     Page 51 of 76
                                                                                            Schedule "A" to Agreement- Products Description
           ~marlin                                                  rwe- Of -Us"):
                                                                    Marlin Leasing Col'poratiOn I 500 Fellawship Road.: Mt. Laurel. NJ 08054 I p; 888'."4179-9111 1·t: B88-479-1100
                       capital solutions·                          •mar11ncapl_talsol~tlons.com




          Agreement App #:                         1509019

          Customer:                                High P.lains Radio. Network LLC

          Vendor Name:                             Process-Technologies & Services


          This Schedule "A" is.attached:to; incorporated In, and made a part ofthe agreement ("Agreement'') by and between the
          above Customer and Marlin.Leasing Corporation ("Marlin"). Thefollowlng is a full and,complete description.of the
          Products:

          Quantity                   Products Type                          Make&Nladel                                                          Serial#
           (1)                         DFX 6 Audio Board                     Makie
           (1)                          ARC-8 Audio.Board                     Arrakis
           (1)                          ARC-8 BLUE.Audio Board                Amikis
           (2)                          Automation Doding Stations            Arrakis
           (2)                           Pro4Q Satelite Reciever              XDS
           (2)                           PRO,Satelite Reciever                XDS
           (1)                           Digital ENDEC                        Sage
           (1)                           Audio Server 18640                   Wegener
           (1)                           Model sn-10                          Marti
           (1)                           Optimod,fM Model                     8100A - ORBAN
           (1)                           AM Audio Processor                   Model 222 - lnovonics
           (1)                           Pro:FX-12 Board                      Mackie
                                         and Related Accessories




          The Agreement and this Schedule "A" also covers any and all present and future replacement Products, substituted
          Products, additional Products, trade-ups·and add-ons without requiring.a separate-agreement. (However,the.Customer
          understands:that Marlin's:consent will-be required for any of these.)

          The Customer agreenhat a facsimile, scanned copy or·electronic version of this Schedule "A" or the signatures shall be
          as valid and'binding:as·the original and will be,admissible-in court as conclusive evidence of this Schedule "A".

         ~~-
        'fai4i,JL~~                                                                                   Accepted by Marlin

          3/18/2022
          Date                                                                                        Date




          0122-01.2022 SchedijeA-ProduclsOesoipb


                                                              EXHIBIT H004 - Page 36
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                      Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                            Desc Main
                                                                           Document     Page 52 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
     csc
 B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                              FILING NUMBER: 22-0044368019
     Corporation Service Company                                                                                           FILING DATE: 09/08/2022     10:47 AM
     251 LITTLE FALLS DRIVE                                                                                                DOCUMENT NUMBER: 1176343830001
                                                                                                                           FILED: Texas Secretary of State
     Wilmington, DE 19808                                                                                                  IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
          1a. ORGANIZATION'S NAME
             High Plains Radio Network, L.L.C.
     OR
            1b. INDIVIDUAL'S SURNAME                                                    FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX


1c. MAILING ADDRESS                                                                     CITY                                               STATE             POSTAL CODE                COUNTRY
    PO Box 1478                                                                          Plainview                                              TX            79073                     USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
          2a. ORGANIZATION'S NAME

     OR
            2b. INDIVIDUAL'S SURNAME                                                    FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX


2c. MAILING ADDRESS                                                                     CITY                                               STATE             POSTAL CODE                COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
            3a. ORGANIZATION'S NAME
              CORPORATION SERVICE COMPANY, AS REPRESENTATIVE
     OR
            3b. INDIVIDUAL'S SURNAME                                                    FIRST PERSONAL NAME                                ADDITIONAL NAME(S)/INITIAL(S)                SUFFIX


3c. MAILING ADDRESS                                                                     CITY                                               STATE             POSTAL CODE                COUNTRY
    PO BOX 2576 UCCSPREP@cscinfo.com                                                     Springfield                                            IL            62708                     USA
4. COLLATERAL: This financing statement covers the following collateral:
(1) Harris Gates One 1 kw AM Transmitter; (1) BW TX 1000 FM Transmitter; (320)
320 Ft. 7/8 INCH Coax Transmission Line; (150) 150 Ft. 1 1507/8 INCH Coax
Transmission Line; (1) Shivley CPOL one bay FM Antenna; (1) Kintronic AM/FM 30w
lsoCoupler; (1) Orban Optimod 9400 AM Audio Processor; (1 )Orban Optimod 5700i FM
Audio Processor; (1 )Orban Optimod 1101 PC Audio Processor; (1 )Sage Digital EAS
Encoder The equipment financed under Contract #1098766 listed above, whether
now owned or hereafter acquired, together with all personal property installed
in, affixed to or used in connection therewith and all present or future: (i)
additions, accessories, accessions, attachments, parts, supplies, related
software, intellectual property, rights, licenses and improvements thereto; (ii)
substitutions, renewals, replacements and purchase options thereof; (iii)
insurance, warranty, and other third-party claims; (iv) Debtor's rights in
connection with a third-party's use of such equipment under a sublease, rental
or similar agreement; (v) proceeds and product in any form (including but not
limited to insurance and sale proceeds) of each of the foregoing, whether it be
cash, non-cash or in any other form; and (vi) to the extent the equipment
identified herein is construed as or deemed inventory, that inventory and all
accounts, accounts receivable, cash proceeds and all other proceeds related
thereto or derived therefrom.


5. Check Q!l)y if applicable and check Q!l)y one box: Collateral is   r   held in a Trust (see UCC1Ad, item 17 and Instructions) r   being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                                        6b. Check QDJy if applicable and check QDJy one box.
r    Public-Finance Transaction rManufactured-Home Transaction r                          A Debtor is a Transmitting Utility                r    Agricultural Lien r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                    r Lessee/Lessor r Consignee/Consignor r Seller/Buyer r Bailee/Bailor r _icensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
    [239138461]

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                                                                                  EXHIBIT H004 - Page 37
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                      Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                            Desc Main
                                                                           Document     Page 53 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT FILER (optional)
   JOHN JAMES
 B. E-MAIL CONTACT AT FILER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)                                                                              FILING NUMBER: 23-0020445070
     **CT Lien Solutions                                                                                                   FILING DATE: 05/10/2023     08:30 AM
     2929 Allen Parkway, Ste. 3300                                                                                         DOCUMENT NUMBER: 1245290640001
                                                                                                                           FILED: Texas Secretary of State
     Houston, TX 77019
                                                                                                                           IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     USA                                                                                                                   THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        1a. ORGANIZATION'S NAME
          HIGH PLAINS RADIO NETWORK, L.L.C.
    OR   1b. INDIVIDUAL'S SURNAME                                         FIRST PERSONAL NAME                                        ADDITIONAL NAME(S)/INITIAL(S)                  SUFFIX


1c. MAILING ADDRESS                                                       CITY                                                       STATE               POSTAL CODE                COUNTRY
    3218 QUINCY ST                                                         PLAINVIEW                                                      TX              79072                     USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here rand provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
       2a. ORGANIZATION'S NAME


    OR   2b. INDIVIDUAL'S SURNAME                                         FIRST PERSONAL NAME                                        ADDITIONAL NAME(S)/INITIAL(S)                  SUFFIX


2c. MAILING ADDRESS                                                       CITY                                                       STATE               POSTAL CODE                COUNTRY



3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          Channel Partners Capital
    OR   3b. INDIVIDUAL'S SURNAME                                         FIRST PERSONAL NAME                                        ADDITIONAL NAME(S)/INITIAL(S)                  SUFFIX


3c. MAILING ADDRESS                                                       CITY                                                       STATE               POSTAL CODE                COUNTRY
    11100 Wayzata Blvd                                                     Minnetonka                                                     MN              55305                     USA
4. COLLATERAL: This financing statement covers the following collateral:
All assets of the Debtor now owned or hereafter acquired




5. Check Q!l)y if applicable and check Q!l)y one box: Collateral is   r   held in a Trust (see UCC1Ad, item 17 and Instructions) r   being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                                  6b. Check QDJy if applicable and check QDJy one box.
r    Public-Finance Transaction rManufactured-Home Transaction r                          A Debtor is a Transmitting Utility          r   Agricultural Lien r   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                    r Lessee/Lessor r Consignee/Consignor r Seller/Buyer r Bailee/Bailor r _icensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:



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                                                                                  EXHIBIT H004 - Page 38
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                      Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                 Desc Main
                                                                           Document     Page 54 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT SUBMITTER (optional)
     csc
B. E-MAIL CONTACT AT SUBMITTER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)
     Corporation Service Company                                                                                    FILING NUMBER: 24-0003254767
     251 LITTLE FALLS DRIVE                                                                                         FILING DATE: 01/24/2024     02:57 PM
     Wilmington, DE 19808                                                                                           DOCUMENT NUMBER: 1325326020001
                                                                                                                    FILED: Texas Secretary of State
     USA                                                                                                            IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     SEE BELOW FOR SECURED PARTY CONTACT INFORMATION                                                         I      THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here          I and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
           1a. ORGANIZATION'S NAME
              HIGH PLAINS RADIO NETWORK, L.L.C.
    OR
             1b. INDIVIDUAL'S SURNAME                                                   FIRST PERSONAL NAME                            ADDITIONAL NAME(S)/INITIAL(S)            SUFFIX


1c. MAILING ADDRESS                                                                     CITY                                           STATE         POSTAL CODE                COUNTRY
 3218 QUINCY                                                                             PLAINVIEW                                      TX            79072                     USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here land provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
           2a. ORGANIZATION'S NAME
              ZULA COM, LLC
    OR
             2b. INDIVIDUAL'S SURNAME                                                   FIRST PERSONAL NAME                            ADDITIONAL NAME(S)/INITIAL(S)            SUFFIX


2c. MAILING ADDRESS                                                                     CITY                                           STATE         POSTAL CODE                COUNTRY
 205 SOUTH 25 MILE A VENUE                                                               HEREFORD                                       TX            79045                     USA
3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
             3a. ORGANIZATION'S NAME
              CORPORATION SERVICE COMPANY, AS REPRESENTATIVE
    OR
             3b. INDIVIDUAL'S SURNAME                                                   FIRST PERSONAL NAME                            ADDITIONAL NAME(S)/INITIAL(S)            SUFFIX


3c. MAILING ADDRESS                                                                     CITY                                           STATE         POSTAL CODE                COUNTRY
P.O. Box 2576                                                                            Springfield                                    IL            62708                      USA
UCCSPREP@CSCINFO.COM
4. COLLATERAL: This financing statement covers the following collateral:
All assets now or hereafter acquired and wherever located, including but not
limited to, the following subcategories of assets: a) Accounts, including but
not limited to, credit card receivables b) chattel paper c) inventory d)
equipment e) instruments, including but not limited to, promissory notes; f)
investment property; g) documents h) deposit accounts; I) letter of credit
rights; j) general intangibles; k) supporting obligations; proceeds of products
of the foregoing. NOTICE PURSUANT TO AN AGREEMENT BETWEEN DEBTOR AND SECURED
PARTY, DEBTOR HAS AGREED NOT TO FURTHER ENCUMBER THE COLLATERAL DESCRIBED
HEREIN, THE FURTHER ENCUMBERING OF WHICH MAY CONSTITUTE THE TORTUOUS
INTERFERENCE WITH THE SECURED PARTY'S RIGHT BY SUCH ENCUMBRANCE IN THE EVENT
THAT ANY ENTITY IS GRANTED A SECURITY INTEREST IN DEBTOR'S ACCOUNTS, CHATTEL,
PAPER OR GENERAL INTANGIBLES CONTRARY TO THE ABOVE, THE SECURED PARTY'S ASSERTS
A CLAIM TO ANY PROCEEDS THEREOF RECEIVED BY SUCH ENTITY.




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is   I held in a Trust (see UCC1Ad, item 17 and Instructions) I being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                                   6b. Check QDJy if applicable and check QDJy one box.
I Public-Finance Transaction !Manufactured-Home Transaction I A Debtor is a Transmitting Utility   !Agricultural Lien I Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable): I Lessee/Lessor I Consignee/Consignor I Seller/Buyer I Bailee/Bailor I _icensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
  [274487008]



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page 2                                                         Document     Page 55 of 76
UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS
9: NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line 1b was left
blank because Individual Debtor name did not fit, check here




        FIRST PERSONAL NAME

        ADDITIONAL NAME(S)/INITIAL(S)                                            SUFFIX
                                                                                                        THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

10. DEBTOR'S NAME: Provide (10a or 10b) only one additional Debtor name or Debtor name that did not fit in line 1b or 2b of the Financing Statement (Form UCC1) (use exact, full
name; do not omit, modify, or abbreviate any part of the Debtor's name) and enter the mailing address in line 10c
       10a. ORGANIZATION'S NAME
  OR
         SPEARMAN LAND AND DEVELOPMENT LLC
        10b. INDIVIDUAL'S SURNAME


        INDIVIDUAL'S FIRST PERSONAL NAME


        INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                                SUFFIX


10c. MAILING ADDRESS                                                CITY                                           STATE           POSTAL CODE                    COUNTRY
 PO BOX 1478                                                        PLAINVIEW                                       TX             79073                          USA
11. r   ADDITIONAL SECURED PARTY'S NAME QI rASSIGNOR SECURED PARTY'S NAME: Provide only one name (11a or 11b)
         11a. ORGANIZATION'S NAME


  OR    11 b. INDIVIDUAL'S SURNAME                                  FIRST PERSONAL NAME                            ADDITIONAL NAME(S)/INITIAL(S)                  SUFFIX


11c. MAILING ADDRESS                                                CITY                                           STATE           POSTAL CODE                    COUNTRY


12. ADDITIONAL SPACE FOR ITEM 4 (Collateral)




13. r This FINANCING STATEMENT is to be filed [for record]          14. This FINANCING STATEMENT
(or recorded) in the REAL ESTATE RECORDS (if applicable)            r covers timber to be cut r covers as-extracted collateral r   is filed as a fixture filing
15. Name and address of a RECORD OWNER of real estate               16. Description of real estate:
described in item 16 (if Debtor does not have a record interest):




17. MISCELLANEOUS:


FILING OFFICE COPY




                                                                    EXHIBIT H004 - Page 40
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                        Desc Main
                                                                            Document     Page 56 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT SUBMITTER (optional)
   JOHN JAMES
    B. E-MAIL CONTACT AT SUBMITTER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)
      **CT Lien Solutions                                                                                                 FILING NUMBER: 24-0012016773
      2929 Allen Parkway, Ste. 3300                                                                                       FILING DATE: 02/14/2024     05:08 PM
      Houston, TX 77019                                                                                                   DOCUMENT NUMBER: 1332870150001
                                                                                                                          FILED: Texas Secretary of State
      USA
                                                                                                                          IMAGE GENERATED ELECTRONICALLY FOR XML FILING
      SEE BELOW FOR SECURED PARTY CONTACT INFORMATION                                                            I        THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here I              and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        1a. ORGANIZATION'S NAME
          High Plains Radio Network, LLC
    OR   1b. INDIVIDUAL'S SURNAME                                        FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)                        SUFFIX


1c. MAILING ADDRESS                                                      CITY                                                     STATE              POSTAL CODE                       COUNTRY
    3218 QUINCY ST PO Box 1478                                            Plainview                                                   TX              79073                            USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here land provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
        2a. ORGANIZATION'S NAME
          PROFIT PROGRAMMING OF NORTHERN TEXAS, LLC
    OR   2b. INDIVIDUAL'S SURNAME                                        FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)                        SUFFIX


2c. MAILING ADDRESS                                                      CITY                                                     STATE              POSTAL CODE                       COUNTRY
    PO BOX 1928                                                           LYONS,                                                      co              80540                            USA
3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
         3a. ORGANIZATION'S NAME
          C T Corporation System, as representative
    OR   3b. INDIVIDUAL'S SURNAME                                        FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)                        SUFFIX


3c. MAILING ADDRESS                                                      CITY                                                     STATE              POSTAL CODE                       COUNTRY
330 N Brand Blvd, Suite 700; Attn: Glendale                                                                                           CA              91203                            USA
SPRS
4. COLLATERAL: This financing statement covers the following collateral:
All personal property of every kind and nature, including, without limitation,
all accounts, contract rights, rights to the payment of money, insurance claims
and proceeds, chattel paper, electric chattel paper, documents, instruments,
securities and other investment property, deposit accounts, supporting
obligations of every nature, and general intangibles, including without
limitation, customer lists, and all books and records related thereto, and all
recorded data of any kind and any nature, regardless of the medium of recording;
together with, to the extent not listed above as the original collateral, all
substitutions and replacements for and products of any of the foregoing
property, and together with proceeds of any and all of the foregoing property.




5. CheckQ!l)y if applicable and check Q!l)y one box: Collateral is I   held in a Trust (see UCC1Ad, item 17 and Instructions) I   being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                              6b. Check QDJy if applicable and check QDJy one box.
I    Public-Finance Transaction I.Manufactured-Home Transaction I                         A Debtor is a Transmitting Utility      I   Agricultural Lien I   Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                   I   Lessee/Lessor       I     Consignee/Consignor       I   Seller/Buyer     I   Bailee/Bailor   I   _icensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:




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UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS
9: NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line 1b was left
blank because Individual Debtor name did not fit, check here

         9a. ORGANIZATION'S NAME
   OR     High Plains Radio Network, LLC
         9b. INDIVIDUAL'S SURNAME

         FIRST PERSONAL NAME

         ADDITIONAL NAME(S)/INITIAL(S)                                          SUFFIX
                                                                                                       THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

10. DEBTOR'S NAME: Provide (10a or 10b) only one additional Debtor name or Debtor name that did not fit in line 1b or 2b of the Financing Statement (Form UCC1) (use exact, full
name; do not omit, modify, or abbreviate any part of the Debtor's name) and enter the mailing address in line 10c
       10a. ORGANIZATION'S NAME
  OR
         PROFIT PROGRAMMING, LLC
         10b. INDIVIDUAL'S SURNAME


         INDIVIDUAL'S FIRST PERSONAL NAME


         INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                            SUFFIX


10c. MAILING ADDRESS                                                CITY                                        STATE           POSTAL CODE                    COUNTRY
P.O. BOX 2690                                                        ESTES PARK                                  co              80517                         USA
11. r   ADDITIONAL SECURED PARTY'S NAME QI rASSIGNOR SECURED PARTY'S NAME: Provide only one name (11a or 11b)
         11a. ORGANIZATION'S NAME


  OR     11 b. INDIVIDUAL'S SURNAME                                 FIRST PERSONAL NAME                         ADDITIONAL NAME(S)/INITIAL(S)                  SUFFIX


11c. MAILING ADDRESS                                                CITY                                        STATE           POSTAL CODE                    COUNTRY


12. ADDITIONAL SPACE FOR ITEM 4 (Collateral)




13. r This FINANCING STATEMENT is to be filed [for record] (or      14 - This FINANCING STATEMENT
recorded) in the REAL ESTATE RECORDS (if applicable)                r covers timber to be cut r covers as-extracted collateral ris filed as a fixture filing
15. Name and address of a RECORD OWNER of real estate               16. Description of real estate:
described in item 16 (if Debtor does not have a record interest):




17. MISCELLANEOUS:




                                                                    EXHIBIT H004 - Page 42
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UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS
9: NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line 1b was left
blank because Individual Debtor name did not fit, check here

        9a. ORGANIZATION'S NAME
  OR     High Plains Radio Network, LLC
        9b. INDIVIDUAL'S SURNAME

        FIRST PERSONAL NAME

        ADDITIONAL NAME(S)/INITIAL(S)                                       SUFFIX
                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       HIGH PLAINS RADIO NETWORK, L.L.C.
 OR    10b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                           ADDITIONAL NAME(S)/INITIAL(S)              SUFFIX


10c. MAILING ADDRESS                                           CITY                                          STATE         POSTAL CODE                  COUNTRY
PO BOX 1478                                                    PLAINVIEW                                      TX            79073                       USA
10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       SPEARMAN LAND AND DEVELOPMENT LLC
 OR    10b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                           ADDITIONAL NAME(S)/INITIAL(S)              SUFFIX


10c. MAILING ADDRESS                                           CITY                                          STATE         POSTAL CODE                  COUNTRY
PO BOX 1478                                                    PLAINVIEW                                      TX            79073                       USA
10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       MK,INC.
 OR    10b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                           ADDITIONAL NAME(S)/INITIAL(S)              SUFFIX


10c. MAILING ADDRESS                                           CITY                                          STATE         POSTAL CODE                  COUNTRY
P.O. BOX 2690                                                  ESTES PARK                                     co            80517                       USA
10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       SPEARMAN PROPERTIES, LLC
 OR    10b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                           ADDITIONAL NAME(S)/INITIAL(S)              SUFFIX


10c. MAILING ADDRESS                                           CITY                                          STATE         POSTAL CODE                  COUNTRY
P.O. BOX 2690                                                  ESTES PARK                                     co            80517                       USA
10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       SPEARMAN COMPANY
 OR    10b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                           ADDITIONAL NAME(S)/INITIAL(S)              SUFFIX


10c. MAILING ADDRESS                                           CITY                                          STATE         POSTAL CODE                  COUNTRY
P.O. BOX 2690                                                  ESTES PARK                                     co            80517                       USA
10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       ZULA COM, LLC
 OR    10b. INDIVIDUAL'S SURNAME                               FIRST PERSONAL NAME                           ADDITIONAL NAME(S)/INITIAL(S)              SUFFIX


10c. MAILING ADDRESS                                           CITY                                          STATE         POSTAL CODE                  COUNTRY
PO BOX 1655                                                    HEREFORD                                       TX            79045                       USA




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UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS
9: NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line 1b was left
blank because Individual Debtor name did not fit, check here

        9a. ORGANIZATION'S NAME
  OR     High Plains Radio Network, LLC
        9b. INDIVIDUAL'S SURNAME

        FIRST PERSONAL NAME

        ADDITIONAL NAME(S)/INITIAL(S)                                       SUFFIX
                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       HIGH PLAINS RADIO NETWORK LLC
 OR 10b. INDIVIDUAL'S SURNAME                             FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)          SUFFIX


10c. MAILING ADDRESS                                      CITY                                                     STATE        POSTAL CODE               COUNTRY
223 RUSSELL ST                                             MOUNTAIN HOME                                           AR            72653                    USA
10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       SPEARMAN LIVESTOCK, LLC,
 OR 10b. INDIVIDUAL'S SURNAME                             FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)          SUFFIX


10c. MAILING ADDRESS                                      CITY                                                     STATE        POSTAL CODE               COUNTRY
P.O. BOX 2690                                              ESTES PARK                                               co           80517                    USA
10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       PROFIT PROGRAMMING MRB, LLC
 OR 10b. INDIVIDUAL'S SURNAME                             FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)          SUFFIX


10c. MAILING ADDRESS                                      CITY                                                     STATE        POSTAL CODE               COUNTRY
P.O. BOX 2690                                              ESTES PARK,                                              co           80517                    USA
10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       PROFIT PROGRAMMING OF NORTHERN NEVADA, LLC
 OR 10b. INDIVIDUAL'S SURNAME                             FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)          SUFFIX


10c. MAILING ADDRESS                                      CITY                                                     STATE        POSTAL CODE               COUNTRY
P.O. BOX 2690                                              ESTES PARK                                               co           80517                    USA
10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       PROFIT PROGRAMMING OF FARGO, LLC
 OR 10b. INDIVIDUAL'S SURNAME                             FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)          SUFFIX


10c. MAILING ADDRESS                                      CITY                                                     STATE        POSTAL CODE               COUNTRY
P.O. BOX 2690                                              ESTES PARK                                               co           80517                    USA
10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       HIGH PLAINS RADIO NETWORK LLC
 OR 10b. INDIVIDUAL'S SURNAME                             FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)          SUFFIX


10c. MAILING ADDRESS                                      CITY                                                     STATE        POSTAL CODE               COUNTRY
808N.MAIN                                                  ST., ALTUS                                               OK           73521                    USA




                                                                 EXHIBIT H004 - Page 44
             Case 24-70089-swe11                        Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                          Desc Main
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UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS
9: NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line 1b was left
blank because Individual Debtor name did not fit, check here

        9a. ORGANIZATION'S NAME
  OR     High Plains Radio Network, LLC
        9b. INDIVIDUAL'S SURNAME

        FIRST PERSONAL NAME

        ADDITIONAL NAME(S)/INITIAL(S)                                       SUFFIX
                                                                                                  THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME
       HIGH PLAINS RADIO NETWORK LLC
 OR 10b. INDIVIDUAL'S SURNAME                             FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)          SUFFIX


10c. MAILING ADDRESS                                      CITY                                                     STATE        POSTAL CODE               COUNTRY
223 RUSSELL ST                                             MOUNTAIN HOME                                            AR           72653                    USA
10. ADDITIONAL DEBTOR'S NAME: Provide only one Debtor name (10a or 10b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name)
      10a. ORGANIZATION'S NAME


 OR 10b. INDIVIDUAL'S SURNAME                             FIRST PERSONAL NAME                                      ADDITIONAL NAME(S)/INITIAL(S)          SUFFIX
       SPEARMAN                                            MONTE                                                    LEE
10c. MAILING ADDRESS                                      CITY                                                     STATE        POSTAL CODE               COUNTRY
4837 Silverwood Drive                                      Johnstown                                                co           80534                    USA
FILING OFFICE COPY




                                                                 EXHIBIT H004 - Page 45
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UCC FINANCING STATEMENT AMENDMENT
                                                                   Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                       Desc Main
                                                                        Document     Page 61 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT SUBMITTER (optional)
      JOHN JAMES
 B. E-MAIL CONTACT AT SUBMITTER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)
      **CT Lien Solutions                                                                                          FILING NUMBER: 24-00215084
      2929 Allen Parkway, Ste. 3300                                                                                FILING DATE: 03/08/2024     09:01 AM
      Houston, TX 77019                                                                                            DOCUMENT NUMBER: 1340912230001
                                                                                                                   FILED: Texas Secretary of State
      USA                                                                                                          IMAGE GENERATED ELECTRONICALLY FOR XML FILING
      SEE BELOW FOR SECURED PARTY CONTACT INFORMATION                                                        I     THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1a. INITIAL FINANCING STATEMENT FILE NUMBER
                                                                  1b.r This FINANCING STATEMENT AMENDMENT is to be filed [for record] (or recorded) in the REAL ESTATE RECORDS.
 23-002044507 0                                       Filer: attach Amendment Addendum (Form UCC3Ad) and provide Debtor's name in item 13

2. P" TERMINATION: Effectiveness of the Financing Statement identified above is terminated with respect to the security interest(s) of the Secured Party authorizing this Termination Statement
3. r·ASSIGNMENT (full or partial): Provide name of Assignee in item 7a or 7b and address of Assignee in item 7c and also name of Assignor in item 9.
For partial assignment, complete item 7 and 9 and also indicate affected collateral in item 8

4. r CONTINUATION: Effectiveness of the Financing Statement identified above with respect to the security interest(s) of Secured Party authorizing this Continuation Statement is continued for the
additional period provided by applicable law

5. rPARTY INFORMATION CHANGE:
Check one of these two boxes. This Change affects r Debtor Qir Secured Party of record. AND Check one of these three boxes to:
    CHANGE name and/or address: Complete item 6a or 6b; and item       ADD name: Complete item 7a or 7b,          DELETE name: Give record name
   7a or 7b and item 7c                                                and item 7c                                to be deleted in item 6a or 6b.
6. CURRENT RECORD INFORMATION: Complete for Party Information Change - provide only one name (6a or 6b)
        6a. ORGANIZATION'S NAME


 OR
        6b. INDIVIDUAL'S SURNAME                                  FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX



7. CHANGED OR ADDED IN FORMATION: Complete for Assignment or Party Information Change - provide only one name (7a or 7b) (use exact, full name; do not omit, modify, or abbreviate any
part of the Debtor's name)
         7a. ORGANIZATION'S NAME


 OR
        7b. INDIVIDUAL'S SURNAME                                  FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX


7c. MAILING ADDRESS                                               CITY                                                   STATE             POSTAL CODE                         COUNTRY




8. COLLATERAL CHANGE: rheck only one box: r                      ADD collateral r     DELETE collateral rRESTATE covered collateral r~SSIGN collateral
Indicate collateral:




9. NAME OF SECURED PARTY OF RECORD AUTHORIZING THIS AMENDMENT: Provide only one name (9a or 9bJ (name of Assignor, if this is an Assignment)
If this is an Amendment authorized by a DEBTOR, check here          and provide name of authorizing Debtor
          9a. ORGANIZATION'S NAME

         Channel Partners Capital
 OR
        9b. INDIVIDUAL'S SURNAME                                  FIRST PERSONAL NAME                                    ADDITIONAL NAME(S)/INITIAL(S)                         SUFFIX



10. OPTIONAL FILER REFERENCE DATA:


FILING OFFICE COPY



                                                                               EXHIBIT H004 - Page 46
                Case 24-70089-swe11
UCC FINANCING STATEMENT
                                                                       Doc 23 Filed 04/04/24 Entered 04/04/24 05:41:18                                                 Desc Main
                                                                            Document     Page 62 of 76
FOLLOW INSTRUCTIONS
A. NAME & PHONE OF CONTACT AT SUBMITTER (optional)
     csc
 B. E-MAIL CONTACT AT SUBMITTER (optional)

C. SEND ACKNOWLEDGMENT TO: (Name and Address)
     Corporation Service Company                                                                                     FILING NUMBER: 24-0021545386
     251 LITTLE FALLS DRIVE                                                                                          FILING DATE: 03/08/2024     10:51 AM
     Wilmington, DE 19808                                                                                            DOCUMENT NUMBER: 1340990890001
                                                                                                                     FILED: Texas Secretary of State
     USA                                                                                                             IMAGE GENERATED ELECTRONICALLY FOR XML FILING
     SEE BELOW FOR SECURED PARTY CONTACT INFORMATION                                                          I      THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
1. DEBTOR'S NAME - Provide only one Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 1b, leave all of item 1 blank, check here           I and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
          1a. ORGANIZATION'S NAME
             HIGH PLAINS RADIO NETWORK, L.L.C.
   OR
            1b. INDIVIDUAL'S SURNAME                                                 FIRST PERSONAL NAME                             ADDITIONAL NAME(S)/INITIAL(S)              SUFFIX


1c. MAILING ADDRESS                                                                  CITY                                            STATE          POSTAL CODE                 COUNTRY
 205 S 25 MILE A VE                                                                   HEREFORD                                        TX             79045                      USA
2. DEBTOR'S NAME - Provide only one Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debtor's name); if any part of the Individual
Debtor's name will not fit in line 2b, leave all of item 2 blank, check here land provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form
UCC1Ad)
          2a. ORGANIZATION'S NAME
              SPEARMAN LAND AND DEVELOPMENT LLC
   OR
            2b. INDIVIDUAL'S SURNAME                                                 FIRST PERSONAL NAME                             ADDITIONAL NAME(S)/INITIAL(S)              SUFFIX


2c. MAILING ADDRESS                                                                  CITY                                            STATE          POSTAL CODE                 COUNTRY
 205 S 25 MILE A VE                                                                   HEREFORD                                        TX             79045                      USA
3. SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY) - Provide only one Secured Party name (3a or 3b)
            3a. ORGANIZATION'S NAME
             CORPORATION SERVICE COMPANY, AS REPRESENTATIVE
   OR
            3b. INDIVIDUAL'S SURNAME                                                 FIRST PERSONAL NAME                             ADDITIONAL NAME(S)/INITIAL(S)              SUFFIX


3c. MAILING ADDRESS                                                                  CITY                                            STATE          POSTAL CODE                 COUNTRY
 PO BOX 2576 UCCSPREP@cscinfo.com Springfield                                                                                         IL             62708                       USA
4. COLLATERAL: This financing statement covers the following collateral:
All tangible and intangible personal property of Debtor, including, all
accounts, deposit accounts, chattel paper, documents, equipment, general
intangibles, instruments, inventory, investment property, letter of credit
rights, commercial tort claims and as-extracted collateral; (b) all patents,
patent applications, trademarks, trade names, service marks, logos, copyrights,
and other sources of business identifiers, and all registrations, recordings and
applications with the U.S. Patent and Trademark Office and U.S. Copyright
Office and all renewals, reissues and extensions thereof (collectively "IP"),
together with any written agreement granting any right to use any IP; and (c)
all accessions, attachments, accessories, parts, supplies and replacements,
products, proceeds and collections with respect to the items described in (a)
and (b) above and all records and data relating thereto.




5. Check Q!l)y if applicable and check Q!l)y one box: Collateral is   I held in a Trust (see UCC1Ad, item 17 and Instructions) I being administered by a Decedent's Personal Representative
6a. Check QDJy if applicable and check QDJy one box:                                                                                 6b. Check QDJy if applicable and check QDJy one box.
I Public-Finance Transaction !Manufactured-Home Transaction I A Debtor is a Transmitting Utility                                     I Agricultural Lien I Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):                    I Lessee/Lessor I Consignee/Consignor I Seller/Buyer I Bailee/Bailor I _icensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
  [277871479]




                                                                                 EXHIBIT H004 - Page 47
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UCC FINANCING STATEMENT ADDENDUM
FOLLOW INSTRUCTIONS
9: NAME OF FIRST DEBTOR: Same as line 1a or 1b on Financing Statement; if line 1b was left
blank because Individual Debtor name did not fit, check here




        FIRST PERSONAL NAME

        ADDITIONAL NAME(S)/INITIAL(S)                                             SUFFIX
                                                                                                         THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY

10. DEBTOR'S NAME: Provide (10a or 10b) only one additional Debtor name or Debtor name that did not fit in line 1b or 2b of the Financing Statement (Form UCC1) (use exact, full
name; do not omit, modify, or abbreviate any part of the Debtor's name) and enter the mailing address in line 10c
       10a. ORGANIZATION'S NAME
  OR

        10b. INDIVIDUAL'S SURNAME
         SPEARMAN
        INDIVIDUAL'S FIRST PERSONAL NAME
         MONTE
        INDIVIDUAL'S ADDITIONAL NAME(S)/INITIAL(S)                                                                                                             SUFFIX
         LEE
10c. MAILING ADDRESS                                                CITY                                             STATE          POSTAL CODE                COUNTRY
 205 S 25 MILE A VE                                                 HEREFORD                                          TX             79045                     USA
11. r   ADDITIONAL SECURED PARTY'S NAME QI rASSIGNOR SECURED PARTY'S NAME: Provide only one name (11a or 11b)
         11a. ORGANIZATION'S NAME


  OR    11 b. INDIVIDUAL'S SURNAME                                  FIRST PERSONAL NAME                              ADDITIONAL NAME(S)/INITIAL(S)             SUFFIX


11c. MAILING ADDRESS                                                CITY                                             STATE          POSTAL CODE                COUNTRY


12. ADDITIONAL SPACE FOR ITEM 4 (Collateral)




13. r This FINANCING STATEMENT is to be filed [for record]          14. This FINANCING STATEMENT
(or recorded) in the REAL ESTATE RECORDS (if applicable)            r covers timber to be cut r covers as-extracted collateral ris filed as a fixture filing
15. Name and address of a RECORD OWNER of real estate               16. Description of real estate:
described in item 16 (if Debtor does not have a record interest):




17. MISCELLANEOUS:


FILING OFFICE COPY




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                                                                  EXHIBIT H005
 1
 2            1                 2                    3                  4                5                6                  7               8
           Employee           Title           Office / Station      1099 / W2      Hourly / Salary    Hours Per        Gross Avg. Pay      Notes
  3                                                                                                  Peroid Avg.        Easch Period
  4          Staff-1        HP - Payroll         Corporate              W2              12,000.00                                500.00    Note 1
  5          Staff-2     Facilities Maint.       Corporate              W2              36,000.00                              1,500.00    Note 1
  6          Staff-3       Agency Sales          Corporate              W2              36,000.00                              1,500.00    Note 1
  7          Staff-4        Promotions           Corporate              W2              24,000.00                              1,000.00    Note 1
  8          Staff-5         Gen. Mgr.           Corporate              W2              48,000.00                              2,000.00    Note 1
  9          Staff-6        Engineering          Corporate              W2              36,000.00                              1,500.00    Note 1
 10          Staff-7       Programming          Delta Group             W2              16,200.00                                675.00    Note 1
 11          Staff-8           Traffic          Delta Group             W2              10,800.00                                450.00    Note 1
 12          Staff-9     Station Manager        Delta Group             W2              27,000.00                              1,125.00    Note 1
 13         Staff-10       Programming          Delta Group             W2              16,800.00                                700.00    Note 1
 14         Staff-11       Programming          Delta Group            1099              2,100.00                                 87.50    Note 1
 18         Staff-15       Programming       Great Plains Group        1099             27,000.00                              1,125.00    Note 1
 19         Staff-16         Sales Mgr.      Great Plains Group         W2              18,000.00                                750.00    Note 1
 20         Staff-17        Compliance       Great Plains Group         W2               7,200.00                                300.00    Note 1
 21         Staff-18            Sales        Great Plains Group         W2               9,000.00                                375.00    Note 1
 22         Staff-19   Sports Programming    Great Plains Group        1099              9,600.00                                400.00    Note 1
 23         Staff-20       Programming       Great Plains Group         W2              14,400.00                                600.00    Note 1
 24         Staff-21     Station Manager     Great Plains Group         W2              42,000.00                              1,750.00    Note 1
 25         Staff-22      Sports Director      W-Tex Group              W2               9,600.00                                400.00    Note 1
 26         Staff-23       Programming         W-Tex Group             1099             12,000.00                                500.00    Note 1
 27         Staff-24    Stations Manager       W-Tex Group              W2              24,000.00                              1,000.00    Note 1
 28         Staff-25     Station Manager        E-Tex Group             W2              42,000.00                              1,750.00    Note 1
 29         Staff-26     Station Manager        E-Tex Group             W2              60,000.00                              2,500.00    Note 1
 30         Staff-27       Sales Manger         E-Tex Group             W2              18,000.00                                750.00    Note 1
 31         Staff-28       Programming          E-Tex Group             W2              15,000.00                                625.00    Note 1
 32         Staff-29     Station Manager        E-Tex Group             W2              21,600.00                                900.00    Note 1
 33         Staff-30       Programming          E-Tex Group             W2              30,000.00                              1,250.00    Note 1
 34         Staff-31      Sports Director       E-Tex Group             W2              14,400.00                                600.00    Note 1
 35         Staff-32        Engineering      Great Plains Group        1099                 22.00         5                      110.00    Note 1
 36         Staff-33       Programming       Great Plains Group        1099                  8.00        15                      120.00    Note 1
 37         Staff-34       Programming       Great Plains Group         W2                  15.00        15                      225.00    Note 1
 38         Staff-35       Programming       Great Plains Group        1099                  8.00         5                       40.00    Note 1
 39         Staff-36       Programming          E-Tex Group            1099                  6.00         6                       36.00    Note 1
 40



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                                                                     EXHIBIT H005
 1
 2            1                     2                   3                  4                     5                 6                  7               8
           Employee               Title          Office / Station      1099 / W2           Hourly / Salary     Hours Per        Gross Avg. Pay      Notes
  3                                                                                                           Peroid Avg.        Easch Period
 41                                                                                                     TOTAL                         29,093.50
 42                                                                                                    Per Diem                         1,939.57
 43                                                                                           Est. Pre-Pet. (Mar. 16-25)              17,456.10
 44
 45
 46
 Sales Commission Pay Only
 47           1                      2                  3                             4                  5                 6                  7       8
         Employee                  Title         Office / Station      1099 / W2             Monthly         Qualifies For       Gross Pay          Notes
 48                                                                                       Commission Est.      Bonuses          Monthly Est.
 49        Sales-1                 Sales           Delta Group             W2                      500.00                               500.00      Note 2
 50        Sales-2                 Sales           Delta Group             W2                   2,500.00                              2,500.00      Note 2
 51        Sales-3                 Sales           Delta Group            1099                  1,250.00                              1,250.00      Note 2
 52        Sales-4                 Sales        Great Plains Group         W2                   3,500.00                              3,500.00      Note 2
 53        Sales-5                 Sales        Great Plains Group        1099                  1,500.00                              1,500.00      Note 2
 54        Sales-6                 Sales        Great Plains Group         W2                      500.00                               500.00      Note 2
 55        Sales-7                 Sales        Great Plains Group         W2                      500.00                               500.00      Note 2
 56        Sales-8                 Sales          W-Tex Group              W2                   2,000.00                              2,000.00      Note 2
 57        Sales-9                 Sales           E-Tex Group             W2                   2,000.00                              2,000.00      Note 2
 58       Sales-10                 Sales           E-Tex Group             W2                      500.00                               500.00      Note 2
 59       Sales-11                 Sales           E-Tex Group            1099                  1,000.00                              1,000.00      Note 2
 60                                                                                                    TOTAL                         15,750.00
 61                                                                                                   Per Diem                        1,050.00
 62                                                                                          Est. Pre-Pet. (Mar. 16-25)               9,450.00
 63
 64
 65 Sports Announcer Pay Only
 66           1                      2                  3                             4                   5                 6                 7       8
         Employee                  Title         Office / Station      1099 / W2          Paid Per Game As     Seasonal          Gross Pay          Notes
 67                                                                                            Needed          Avg. Est.        Monthly Avg.
 68       Sports-1            Sp. Announcer       W-Tex Group             1099                      100.00        5                     500.00      Note 3
 69       Sports-2            Sp. Announcer       W-Tex Group             1099                      100.00        5                     500.00      Note 3
 70       Sports-3            Sp. Announcer       W-Tex Group             1099                       50.00        5                     250.00      Note 3
 71       Sports-4            Sp. Announcer       E-Tex Group             1099                      100.00        5                     500.00      Note 3
 72       Sports-5            Sp. Announcer       E-Tex Group              W2                        75.00        5                     375.00      Note 3



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                A                           B                              C                       D                  E                   G                 H                 I

                                                                                       EXHIBIT H005
 1
 2            1                             2                             3                      4                  5                    6                  7               8
           Employee                       Title                    Office / Station          1099 / W2        Hourly / Salary        Hours Per        Gross Avg. Pay      Notes
  3                                                                                                                                 Peroid Avg.        Easch Period
 73        Sports-6                  Sp. Announcer                    E-Tex Group                  1099                     75.00        5                      375.00    Note 3
 74        Sports-7                  Sp. Announcer                    E-Tex Group                  1099                    100.00        5                      500.00    Note 3
 75        Sports-8                  Sp. Announcer                    E-Tex Group                  1099                    125.00        5                      625.00    Note 3
 76                                                                                                                            TOTAL                          3,632.00
 77                                                                                                                  Est. Pre-Pet. (Mar. 16-25)               3,632.00
 78
 79                                                                                                           Est. Total Pre-Petition                       30,538.10
 80
 81         Note 1            Payday 10th for last 16th thru LDM - Payday 25th for last 01st thru 15th.
 82         Note 2            Pay on the 25th for Collected Sales for the period of: LAST 16th through the Current 15th.
 83         Note 3            Pay on the 10th for all games aired LAST MONTH - Only One Payday Per Month.
 84
 85 C:\Users\jcarruth\ND Office Echo\VAULT-C9SL7ZTY\[HPRN Payroll Info for April 2024 032824 mls 4866-6442-1811 v.3.xlsx]HPRN Payroll Apr 2024




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                                                                  EXHIBIT H006
        Bank                                Account Holder                                                  Account ##
Guaranty Bank        High Plains Radio Network LLC                                                                  -3917
BancFirst            High Plains Radio Network, LLC dba KTAT and KYBE Radio                                         -0273
Cattlemens Bank      High Plains Radio Network LLC                                                                  -2929
                     Monte L Spearman
                     Todd Spearman
FNBC                 High Plains Radio Network LLC                                                                  -8559
First State Bank     High Plains Radio Network, LLC                                                                 -6875
                     Monte L Spearman
                     Christopher M Quinn
                     HPRN - Payables
Partners Bank        High Plains Radio Network, LLC                                                                 -6037
Waggoner National Bank
                     High Plains Radio Network, LLC                                                                 -6715

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                                                          EXHIBIT H007 - UTILITY PROVIDERS [U = IN COL. A]
    U = UTILITY        Category                          Name                              Address1                      Address2                    City              State            Zip
                                     Ailco                                W222 N833 Chaney Rd                                            Waukesha                   WI           53186
                                     Ailco Equipment Finance Group Inc.   W 222 N 833 Cheaney Road                                       Waukesha                   WI           53186
                                     American Express                     PO Box 6031                                                    Carol Stream               IL           60197-6031
                                     Amur                                 304 W. 3rd St                                                  Grand Island               NB           68801
                                     Arrakis Automations                  6604 Powell St                                                 Loveland                   Co           80537
                                     ASCAP                                250 West 57th St                                               New York                   NY           10107
                                     Ascentium                            23970 HWY 59 Nth.                                              Kingwood                   TX           77339
         U                 Gas       Atmos Energy                         PO Box 740353                                                  Cincinnati                 OH           45274-0353
                                     Balboa                               575 Anton Blvd 12th Flr.                                       Costa Mesa                 CA           92626
         U                 Gas       Black Hills Natural Gas              PO Box 6006                                                    Rapid City                 SD           57709
                                     Blue Bridge                          11921 Freedom Dr.                                              Reston VA                  VA           20190
                                     Blue Bridge Financial LLC            11921 Freedom Dr.                  Suite 1130                  Reston                     VA           20190
         U             Telephone     Bluepeak Telephone                   5100 S. Broadband Lane                                         Sioux Falls                SD           57108
                                     BMI                                  PO Box 630893                                                  Cincinnati                 OH           45263-0893
                                     Bryn Mawr Equipment Finance Inc.     801 Lancaster Avenue                                           Bryn Mawr                  PA           19010
                                     CT Corp. Sys.                        Attn: SPRS                         330 N Brand Blvd            Glendale                   CA           91203
                                     Channel Partners Capital             11100 Wayzata Blvd                                             Minnetonka                 MN           55305
         U               Services    City of Altus                        509 S Main St                                                  Altus                      OK           73521
         U               Services    City of Hereford                     PO Box 2277                                                    Hereford                   TX           79045-2277
         U               Services    City of Plainview                    202 W 5th                                                      Plainview                  TX           79072
         U               Services    City of Vernon                       1725 Wilbarger St                                              Vernon                     TX           76384-4741
                                     Crest Capitol                        PO Box 88233                                                   Atlanta                    GA           30356
         U               Electric    Entergy Utility                      PO Box 8105                                                    Baton Rouge                LA           70891-8105
         U           Electric Unergy Excel Energy                         PO Box 9477                                                    Minneapolis                MN           55484-9477
                                     Federal Communications Com.          45 L Street NE                                                 Washington                 DC           20554
                                     Financial Agent Services             PO Box 2576                                                    Springfield                IL           62708
                                     First State Bank Athens              PO Box 471                                                     Athens                     TX           75751
                                     Global Music Rights                  1801 W Olympic Blvd                                            Pasadena                   CA           91199-2280
                                     Hamni Bank                           5403 Olympic Dr. #200                                          Gig Harbor                 WA           98335
                                     Hanszen LaPorte                      14201 Memorial Dr                                              Houston                    TX           77079
                                     Hitachi Capital America Corp.        7808 Creekridge Circle             Suite 250                   Edina                      MN           55439
                                     Internal Revenue Service             Centralized Insolvency Operation   PO Box 7317                 Philadelphia               PA           19101-7317
                                     Liberty Mutual Insurance             175 Berkeley St                                                Boston                     MA           02116
                                     Litefund Solutions                   99 Wall St #2613                                               New York                   NY           10005
                                     Marlin - Peak Com.                   300 Fellowship Rd                                              Mt. Laurel                 NJ           08054
                                     Marlin Leasing Corp                  300 Fellowship Rd                                              Mount Laurel               NJ           08054
                                     Media Facilities                     1740 Dell Range Blvd. #418                                     Cheyenne                   WY           82009
                                     Meridian                             367 Eagleview Blvd.                                            Exton                      PA           19341
                                     Meridian Equipment Finance LLC       9 Old Lincoln Highway                                          Malvern                    PA           19355
                                     Midland States Bank                  1801 Park 270 Drive                Suite 200                   St. Louis                  MO           63146
                                     Mitsubishi HC                        7201 Metro Blvd. Ste 800                                       Edina                      MN           55439
                                     Monte Spearman                       PO Box 3649                                                    Palestine                  TX           80534
                                     New Lane Fin. B-M                    801 Landcaster Ave                                             Bryn Mawr                  PA           19010
         U               Electric    North Arkansas Electric              PO Box 1000                                                    Salem                      AR           72576-1000
         U             Telephone     Optimum Telephone                    1111 Stewart Ave.                                              Bethpage                   NY           11714-3581
                                     Pawnee                               3801 Automation Way #207                                       Ft Collins                 CO           80525




4/2/2024, 10:35 PM                                                                          Page 1 of 2                                         utilities list hprn 001 4871-4796-3060 v.3.xlsx, Utilities
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                                                            EXHIBIT H007 - UTILITY PROVIDERS [U = IN COL. A]
    U = UTILITY        Category                          Name                                       Address1                           Address2                    City               State            Zip
                                      SBA Covid-19 Disaster Loan                PO Box 3918                                                             Portland                   OR           97208-3918
         U           Audio Internet   SecureNet                                 101 N Federal HWY Ste 601                                               Boca Raton                 FL           33432
                                      SESAC                                     PO Box 5246                                                             New York                   NY           10008-5246
                                      Summit                                    4680 Parkway Dr #300                                                    Mason                      OH           45040
         U                Gas         Summit Natural Gas                        PO Box 676358                                                           Dallas                     TX           75267-6357
                                      The Fundworks                             299 S. Main St. #1300                                                   Salt Lake City             UT           84111
                                      Turbo Capital                             2308 N Market St                                                        Wilmington                 DE           19802
         U              Electric      TXU Utility                               PO Box 650638                                                           Dallas                     TX           75265-0638
                                      U.S. Bank Equipment Finance               1310 Madrid Street                                                      Marshall                   MN           56258
                                      U.S. Small Business Administration        1545 Hawkins Blvd                            Suite 202                  El Paso                    TX           79925
                                      United First LLC                          2999 NE 191st St                                                        Miami                      FL           33180
                                      United Funding                            1835 E Hollandale Beach BLVD                                            Hollandale Beach           FL           33009
         U            Cell Phone      Verizon Cell Phone                        PO Box 660108                                                           Dallas                     TX           75266-0108
                                      Vertical Bridge                           750 Park of Commerce Dr #200                                            Boca Raton                 FL           33487
                                      Zula Com                                  PO Box 3649                                                             Palestine                  TX           75801
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                                                                                            EXHIBIT H008 - BANK BALANCE RECAP
          Bank Name                                      Account Holder                                                   Account ##            Last Statement Date   Last Statement Date      Balance Mar 26
          Guaranty Bank                                  High Plains Radio Network LLC                                                  -3917                20240229              6,444.10             441.23
                                                         High Plains Radio Network, LLC dba
          BancFirst                                      KTAT and KYBE Radio                                                             -273               20240229                 518.27           2,317.21
                                                         High Plains Radio Network LLC
          Cattlemens Bank                                Monte L Spearman                                                               -2929               20240229               13,121.15            70.87
          FNBC                                           High Plains Radio Network LLC                                                  -8559               20240229                  724.18           724.18
                                                         Monte L Spearman
          First State Bank                               HPRN - Payables                                                                -6875               20240229                1,975.36          1,975.36
          Partners Bank                                  High Plains Radio Network, LLC                                                 -6037               20240229                1,240.47          1,240.47
          Waggoner National Bank                         High Plains Radio Network, LLC                                                -16715               20240229                  717.15            717.15

                                                                                                                                                                                   24,740.68          7,486.47
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     A          B             C              D                          E                                      F                            G

                                              EXHIBIT H009 - STATION STATUS APRIL 4 2024
1
2 Lease #      Site #       Location       Call Ltr               STATION STATUS                    VERTICAL BRIDGE STATUS               VB PerMo.
3   3352    US-TX-5051    Plainview A    KVOP AM           off - temp FCC, possible sale          VB - term ended pre-petition               0
4   3353    US-TX-5052    Plainview B    KVOP AM           off - temp FCC, possible sale          VB - term ended pre-petition               0
5   3354    US-TX-5053    Plainview C    KVOP AM           off - temp FCC, possible sale          VB - term ended pre-petition               0
6   3355    US-TX-5054    Plainview D    KVOP AM           off - temp FCC, possible sale          VB - term ended pre-petition               0
7   1807    US-TX-5036      Lubbock      KDAV AM           off - temp FCC, possible sale          VB - term ended pre-petition               0
8 10007     US-TX-5578        Lariat      KICA FM          off - temp FCC, possible sale          VB - term ended pre-petition               0
9 10010     US-TX-5579       Friona      KKNM FM           off - temp FCC, possible sale          VB - term ended pre-petition               0
10 5899     US-OK-5016        Hollis      KKRE FM                  off permanent                            VB reject                        0
11 5997     US-OK-5019     Frederick     KTAT AM                   off permanent                            VB reject                        0
12 7821     US-CO-5066    Buena Vista     KSKE AM                  off permanent                            VB reject                        0
13 8683     US-TX-5494      Graham       KSWA AM                   off permanent                            VB reject                        0
14 8685     US-TX-5495   Breckenridge    KROO AM                   off permanent                            VB reject                        0
15 9867     US-TX-5577       Vernon      KVWC AM                   off permanent                            VB reject                        0
16 10006    US-TX-5578        Lariat      KICA AM                  off permanent                            VB reject                        0
17 10008    US-TX-5578        Lariat      KKYC FM                  off permanent                            VB reject                        0
18 3348     US-TX-5049     Plainview     KKYN FM                         on                                  NOT VB                          0
19 3349     US-TX-5049     Plainview      KRIA FM                        on                                  NOT VB                          0
20 5398     US-AR-5025      Emback        KRZP FM                        on                                  NOT VB                          0
21 5897     US-OK-5007        Altus       KEYB FM                        on                                  NOT VB                          0
22 5898     US-OK-5016        Hollis      KJOK FM                        on                                  NOT VB                          0
23 5996     US-OK-5017     Frederick      KYBE FM                        on                                  NOT VB                          0
24 7800     US-TX-5363     Malakoff       KCKL FM                        on                                  NOT VB                          0
25 9868     US-TX-5577       Vernon      KVWC FM                         on                                  NOT VB                          0
26 10009    US-TX-5579       Friona      KGRW FM                         on                                  NOT VB                          0
27 3351     US-TX-5050     Plainview     KREW AM                   off temporarily              VB - negotiate or trade, small AM            0
28 5527     US-TX-5163     Levelland      KLVT AM                        on                VB - negotiate or trade, small AM, disputed     1,250
29 5528     US-TX-5164     Littlefield   KZZN AM                         on                VB - negotiate or trade, small AM, disputed     1,250
30 7801     US-TX-5364       Athens      KLVQ AM                         on                VB - negotiate or trade, small AM, disputed     1,250
31 7803     US-TX-5364       Athens      KLVQ AM                         off               VB - negotiate or trade, small AM, disputed     1,250
32 5396     US-AR-5023    Calico Rock    KJMT FM                         on                    VB - potential 363 or possible reject       1,500
33 5397     US-AR-5024        Viola      KCMC FM                         on                    VB - potential 363 or possible reject       1,500
34 6612     US-MS-5036     Greenville    WDMS FM                         on                    VB - potential 363 or possible reject       1,500
35 6613     US-MS-5036     Greenville    WGVM AM                         on                    VB - potential 363 or possible reject       1,500
36 6624     US-AR-5034       Helena       KFFA FM                        on                    VB - potential 363 or possible reject       1,500
37 6625     US-AR-5035       Helena       KFFA AM                        on                    VB - potential 363 or possible reject       1,500
38 7995     US-AR-5039       Gurdon       KYXK FM                        on                    VB - potential 363 or possible reject       1,500
39 7996     US-AR-5040   Caddo Valley    KWPS FM                         on                    VB - potential 363 or possible reject       1,500
40 8338     US-AR-5036       Benton      KAFN AM                         on                    VB - potential 363 or possible reject       1,500
41 8339     US-AR-5037      Malvern       KZYP AM                        on                    VB - potential 363 or possible reject       1,500
42 8340     US-AR-5038   Arkadelphia      KDEL FM                        on                    VB - potential 363 or possible reject       1,500
43 8341     US-AR-5038   Arkadelphia     KVRC AM                         on                    VB - potential 363 or possible reject       1,500
44 8682     US-TX-5493      Graham       KWKQ FM                         on                   3P owns post-sale, VB assign. default        1,250
45 8684     US-TX-5495   Breckenridge     KLXK FM                        on                   3P owns post-sale, VB assign. default        1,250
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                                                             EXHIBIT H010
                 Operations Budget                    Altus      Month %
               1 Office - 4 FM Stations              SW Okla      Line
                   Type of Expense                    4 FM        Item
 KYEB - KVWC Tower Lease - Titan Systems                    1200     3.2%
                                                               0     0.0%
                                                               0     0.0%
 KYEB - KVWC Tower Electric - TXU                            800     2.1%
                                                               0     0.0%
                                                               0     0.0%
 Office Int-Phones - Bluepeak                                300     0.8%
 Equipment Insurance - Liberty Mutual                       1200     3.2%
 Internet Feed Service - SecureNet                           100     0.3%
 Natural Gas - Summit                                        100     0.3%
 Office Electric - Altus                                     500     1.3%
 Office Water - Trash - Sewer - Altus                        100     0.3%
 Office Lease                                               2500     6.7%
 Real Property Tax - Altus                                   300     0.8%
 Personal Property Tax - All Counties                        100     0.3%
 Leases - Utilities - Insurance - Property Tax              7200    19.3%
 Cell Services - $80 Per Station - Verizon                   320     0.9%
 Programming & Automation - Arrakis Adobe                    100     0.3%
 Sales & Sports Travel - $80 Per Station                     320     0.9%
 FCC Annual Fees - FM $2400                                  800     2.1%
 Royalties - ASCAP @ $160 Ea.                                640     1.7%
             BMI @ $160 Ea.                                  640     1.7%
             GMR @ $25 Ea.                                   100     0.3%
             SESAC @ $25 Ea.                                 100     0.3%
             Sound Exchange @ $100 Each Feed                 200     0.5%
 Programming - Travel - Broadcast - Royalties               3220     8.6%
 Sports Mgr - Kathy                                          800     2.1%
 Production Affidavits & FCC Quarterly - Jacob               300     0.8%
 MS Prod Talent - Cal - Altus                               2000     5.4%
                                                               0     0.0%
 Sports Ancers @ $100 Per Mth Per Station                    400     1.1%
 Office & Traffic Mgr - Tracie                              1750     4.7%
 Sales Mgr Local - Trudy                                    1500     4.0%
 Sales Rep #1 Altus - Niki                                   500     1.3%
 Sales Rep #2 Frederick - Jennifer                           500     1.3%
 Sales Rep #3 Vernon -                                       500     1.3%
                                                               0     0.0%
                                                               0     0.0%
 Engineering - Mike                                          750     2.0%
 Agency Sales Mgr. - Tiffany                                1000     2.7%
 Property Maint. - Gentry                                   1000     2.7%
 Promotions Mgr. - Kristi                                    500     1.3%
 Gen. Sales Mgr. - Monte                                    1000     2.7%
 Employee Tax Match 10%                                     1250     3.3%
 Payroll                                                  13750     36.8%
 Corporate Expenses                                         1250     3.3%
 Fees - Misc. - Other - ROUND OFF                           5680    15.2%
                        Monthly Total                     31100    100.0%

    Commissions Added at 20% of the Monthly Total         6220     16.7%

                Combined Monthly Total                   37320

                 Combined Annual Total                  447840




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                   Operations Budget                    Hereford    Month %
            1 Office - 4 FM & 1 AM Stations           West Texas     Line
                     Type of Expense                  4 FM - 1 AM    Item
 KKYN & KRIA Tower Lease - Lift Systems                         700     1.9%
 KGRW Tower Lease - City of Friona                              500     1.3%
 KNNK Tower Lease - South Plains Com                            750     2.0%
 KKYN & KRIA Tower Electric - Swisher Elec.                     500     1.3%
 KZZN Tower Electric - Xcel                                     300     0.8%
                                                                  0     0.0%
                                                                  0     0.0%
 Equipment Insurance - Liberty Mutual                          1500     4.0%
 Internet Feed Service - SecureNet                              100     0.3%
 Natural Gas - Atmos                                            100     0.3%
 Office Electric - Xcel                                         300     0.8%
 Office Water - Trash - Sewer - Hereford                        120     0.3%
 Office Lease                                                  2500     6.7%
 Real Property Tax - Hrfd & Ltfd                                600     1.6%
 Personal Property Tax - All Counties                           100     0.3%
 Leases - Utilities - Insurance - Property Tax                 8070    21.6%
 Cell Services - $80 Per Station - Verizon                      400     1.1%
 Programming & Automation - Arrakis Adobe                       100     0.3%
 Sales & Sports Travel - $80 Per Station                        400     1.1%
 FCC Annual Fees - FM $2400 - AM $600                           850     2.3%
 Royalties - ASCAP @ $160 Ea.                                   800     2.1%
             BMI @ $160 Ea.                                     800     2.1%
             GMR @ $25 Ea.                                      125     0.3%
             SESAC @ $25 Ea.                                    125     0.3%
             Sound Exchange @ $100 Each Feed                    200     0.5%
 Programming - Travel - Broadcast - Royalties                  3800    10.2%
 Sports Mgr - Johnny                                           1000     2.7%
 MS Prod Talent - Chris - Plainview                            1000     2.7%
 MS Prod Talent - Jeri - Hereford                              1000     2.7%
                                                                  0     0.0%
 Sports Ancers @ $200 Per Mth Per Station                      1000     2.7%
 Office & Traffic Mgr - Tracie                                 1750     4.7%
 Sales Mgr Local - Jeri                                        1000     2.7%
 Sales Rep #1 Hereford -                                        500     1.3%
 Sales Rep #2 Friona -                                          500     1.3%
 Sales Rep #3 Littlefield -                                     500     1.3%
                                                                  0     0.0%
                                                                  0     0.0%
 Engineering - Mike                                             750     2.0%
 Agency Sales Mgr. - Tiffany                                   1000     2.7%
 Property Maint. - Gentry                                      1000     2.7%
 Promotions Mgr. - Kristi                                       500     1.3%
 Gen. Sales Mgr. - Monte                                       1000     2.7%
 Employee Tax Match 10%                                        1250     3.3%
 Payroll                                                      13750    36.8%
 Corporate Expenses                                            1250     3.3%
 Fees - Misc. - Other - ROUND OFF                              4230    11.3%
                        Monthly Total                         31100   100.0%

    Commissions Added at 20% of the Monthly Total            6220     16.7%

                Combined Monthly Total                      37320

                 Combined Annual Total                     447840




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                       Operations Budget              Palestine    Month %
               1 Office - 2 FM & 3 AM Stations       East Texas     Line
                        Type of Expense             2 FM - 3 AM     Item
 KYYK Tower Lease - American                                  1600     2.9%
 KWRD Tower Lease - Titan                                      700     1.3%
 KCKL & KLVQ Tower Lease - Titan                              1500     2.7%
 KYYK & KNET Utility - Reliant                                 300     0.5%
 KCKL & KLVQ Utility - TXU                                     500     0.9%
 Office Apartment Expense                                     1000     1.8%
 Office Int-Phones - Optimum & Etex & BrtSpd                   900     1.6%
 Equipment Insurance - Liberty Mutual                         1500     2.7%
 Internet Feed Service - SecureNet                             100     0.2%
 Natural Gas - None                                              0     0.0%
 Office Electric - Reliant & SWEPC                            1000     1.8%
 Office Water - Trash - Sewer - Pal & Hend                     200     0.4%
 Office Lease - 2 Offices                                     5000     9.0%
 Real Property Tax - Palestine & Henderson                     700     1.3%
 Personal Property Tax - All Counties                          100     0.2%
 Leases - Utilities - Insurance - Property Tax              15100     27.3%
 Cell Services - $80 Per Station - Verizon                     400     0.7%
 Programming & Automation - Arrakis Adobe                      100     0.2%
 Sales & Sports Travel - $80 Per Station                       400     0.7%
 FCC Annual Fees - FM $2400 - AM $600                          550     1.0%
 Royalties - ASCAP @ $160 Ea.                                  800     1.4%
             BMI @ $160 Ea.                                    800     1.4%
             GMR @ $25 Ea.                                     125     0.2%
             SESAC @ $25 Ea.                                   125     0.2%
             Sound Exchange @ $100 Each Feed                   200     0.4%
 Programming - Travel - Broadcast - Royalties                 3500     6.3%
 Sports Mgr - Paul                                            1200     2.2%
 MS Prod Talent - Stephanie - Athens                          2500     4.5%
 MS Prod Talent - Mark - Henderson                            1250     2.3%
 MS Prod Talent - Kat - Palestine                             2500     4.5%
 Sports Ancers @ $200 Per Mth Per Station                     1000     1.8%
 Office & Traffic Mgr - Tasha                                 1750     3.2%
 Sales Mgr Local - Stephanie - Athens                         3000     5.4%
 Sales Mgr Local - Kenny - Henderson                          2000     3.6%
 Sales Mgr Local - Thor - Palestine                           1000     1.8%
 Sales Rep #1 -            - Athens                            500     0.9%
 Sales Rep #2 - Erminia - Henderson                            500     0.9%
 Sales Rep #3 -            - Palestine                         500     0.9%
 Engineering - Mike                                            750     1.4%
 Agency Sales Mgr. - Tiffany                                  1000     1.8%
 Property Maint. - Gentry                                     1000     1.8%
 Promotions Mgr. - Kristi                                      500     0.9%
 Gen. Sales Mgr. - Monte                                      1000     1.8%
 Employee Tax Match 10%                                       2195     4.0%
 Payroll                                                    24145     43.6%
 Corporate Expenses                                           1250     2.3%
 Fees - Misc. - Other - ROUND OFF                             2105     3.8%
                         Monthly Total                      46100    100.0%

    Commissions Added at 20% of the Monthly Total          9220      16.7%

                Combined Monthly Total                    55320

                 Combined Annual Total                   663840




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                   Operations Budget                  Helena      Month %
                      1 Office - 3 FM               KJMT - KFFA    Line
                    Type of Expense                 WDMS 3 FM      Item
 KFFA Tower Rent - Titan Tower All Exp                      1200      3.2%
 Mtn. Home Tower & Office Lease                              600      1.6%
                                                                0     0.0%
                                                                0     0.0%
                                                                0     0.0%
                                                                0     0.0%
 Office Int-Phones - Optimum                                 900      2.4%
 Property & Equipment Ins GNVL - SouthGroup                  900      2.4%
 Internet Feed Service - SecureNet                           100      0.3%
 Natural Gas - Black Hills Gas                               100      0.3%
 Office Electric - NAEC - Entergy - Entergy                 1400      3.8%
 Office Water - Trash - Sewer - Helena & GNVL                160      0.4%
 Office Lease                                               2500      6.7%
 Real Property Tax - Helena                                  300      0.8%
 Personal Property Tax - All Counties                        100      0.3%
 Leases - Utilities - Insurance - Property Tax              8260     22.1%
 Cell Services - $80 Per Station - Verizon                   240      0.6%
 Programming & Automation - Arrakis Adobe                    300      0.8%
 Sales & Sports Travel - $80 Per Station                     240      0.6%
 FCC Annual Fees - FM $2400                                  600      1.6%
 Royalties - ASCAP @ $160 Ea.                                480      1.3%
             BMI @ $160 Ea.                                  480      1.3%
             GMR @ $25 Ea.                                    75      0.2%
             SESAC @ $25 Ea.                                  75      0.2%
             Sound Exchange @ $100 Each Feed                 300      0.8%
 Programming - Travel - Broadcast - Royalties               2790      7.5%
 MS Prod Talent - Scott - Mtn Hm                            1500      4.0%
 MS Prod Talent - Leon - Helena                             1500      4.0%
 MS Prod Talent - Johnny - Greenville                       1000      2.7%
                                                                0     0.0%
 Sports Ancers @ $200 Per Mth Per Station                    600      1.6%
 Office & Traffic Mgr - Tasha                               1750      4.7%
 Sales Mgr Local - Johnny - Greenville                      2000      5.4%
 Sales Mgr Local - Deward - Helena                          1000      2.7%
 Sales Mgr Local -        - Mtn. Hm.                        1000      2.7%
                                                                0     0.0%
                                                                0     0.0%
                                                                0     0.0%
 Engineering - Mike                                          750      2.0%
 Agency Sales Mgr. - Tiffany                                1000      2.7%
 Property Maint. - Gentry                                   1000      2.7%
 Promotions Mgr. - Kristi                                    500      1.3%
 Gen. Sales Mgr. - Monte                                    1000      2.7%
 Employee Tax Match 10%                                     1460      3.9%
 Payroll                                                   16060     43.0%
 Corporate Expenses                                         1250      3.3%
 Fees - Misc. - Other - ROUND OFF                           2740      7.3%
                        Monthly Total                      31100    100.0%

    Commissions Added at 20% of the Monthly Total          6220     16.7%

                Combined Monthly Total                    37320

                 Combined Annual Total                   447840




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                                                                                                 EXHIBIT H011 - BUDGET 13 WEEK
High Plains Radio Network                            13-week budget. No admission of liability.
                            Calendar Start of Week       4/5/2024     4/12/2024      4/19/2024     4/26/2024     5/3/2024      5/10/2024       5/17/2024    5/24/2024    5/31/2024     6/7/2024     6/14/2024   6/21/2024    6/28/2024
                                             Week:        1              2              3             4           5               6               7            8           9            10            11          12           13
Start Cash                                                 10,289     24,075         34,848        41,794       7,008          22,217          34,413       22,782       5,419        14,628       (4,599)      12,347       13,561

Receipts
                 Operating income                          20,000        60,000         60,000       30,000         20,000          60,000       40,000       40,000       20,000       30,000        70,000      60,000       30,000
Total Cash Receipts                                        20,000        60,000         60,000       30,000         20,000          60,000       40,000       40,000       20,000       30,000        70,000      60,000       30,000

Operating Expenses
                Payroll                                          0       (43,013)            0       (52,572)            0          (43,013)           0      (52,572)          0       (43,013)           0      (52,572)           0
                Utilities & Leases                               0             0       (33,530)            0             0                0      (33,530)           0           0             0      (33,530)           0            0
                Programming Related                              0             0       (13,310)            0             0                0      (13,310)           0           0             0      (13,310)           0            0
                Insurance - Admin - Misc                    (6,214)       (6,214)       (6,214)       (6,214)       (4,791)          (4,791)      (4,791)      (4,791)     (4,791)       (6,214)      (6,214)      (6,214)      (6,214)
                Total OpEx                                  (6,214)      (49,227)      (53,054)      (58,786)       (4,791)         (47,804)     (51,631)     (57,363)     (4,791)      (49,227)     (53,054)     (58,786)      (6,214)

Prof. Fees/Admin. Expenses
                WKPZ                                                                                  (5,000)                                                              (5,000)                                              (5,000)
                SubV Trutsee                                                                          (1,000)                                                              (1,000)                                              (1,000)
                Total Prof. Fees/Admin. Exp,                     0             0             0        (6,000)            0                0            0            0      (6,000)            0            0            0       (6,000)
Total Disbursements                                         (6,214)      (49,227)      (53,054)      (64,786)       (4,791)         (47,804)     (51,631)     (57,363)    (10,791)      (49,227)     (53,054)     (58,786)     (12,214)

Net Cash Flow                                              13,786        10,773          6,946       (34,786)       15,209          12,196       (11,631)     (17,363)        9,209     (19,227)      16,946       1,214       17,786

End Cash                                                   24,075        34,848         41,794        7,008         22,217          34,413       22,782        5,419       14,628        (4,599)      12,347      13,561       31,347



NOTES           Projected Collections           April                170,000
                Increase Sales HS Sports        May                  180,000
                Increase Sales Graduation       June                 190,000
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